5911 TBU SI749

                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SOCIETY INSURANCE,                  )
                                    )
       Plaintiff,                   )
                                    )
v.                                  )     Case No.   21 CV 1510
                                    )
CERMAK PRODUCE NO. 11 INC.,         )
CARLA PEREZ,                        )
                                    )
       Defendants.                  )




                            EXHIBIT C
                            2020-2021 POLICY
                                                   THIS POLICY
                                               IS NON-ASSESSABLE




                   a mutual company


                  BUSINESSOWNERS
                       POLICY




                www.societyinsurance.com
BP500 (07-19)                              Exhibit C 0001
     _____________________________________________________________

THESE POLICY PROVISIONS WITH THE INFORMATION PAGE AND ENDORSEMENTS,
     IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THIS POLICY.
     _____________________________________________________________




                                   NOTICE

                The insured who is named herein is hereby
                notified that by virtue of this policy is a
                member of SOCIETY INSURANCE, a mutual
                company, and is entitled to vote either in
                person or by proxy at any and all meetings
                of the company. The annual meetings are
                held at the home office at Fond du Lac,
                Wisconsin, on the second Monday of March
                in each year at 2:00 p.m.


  In Witness Whereof, we have caused this policy to be executed and attested.




                 Secretary                                             President
                 Tom Gross                                             Rick Parks




                                                                Exhibit C 0002
                  SOCIETY INSURANCE, A MUTUAL COMPANY
                              150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                                 BUSINESSOWNERS
                                              R EN E W A L DE C L A RA TI O N

                                                                     POLICY NO: GSP 524114-10

                                                                     RENEWAL OF GSP 524114-9

 ACCOUNT NUMBER:
 NAMED INSURED AND MAILING ADDRESS                                   AGENCY AND MAILING ADDRESS 20010 000
  Cermak Produce No 11 Inc                                            CDH Total Insurance Services
  7220 S Cicero Ave                                                   3175 Commercial Ave
  Bedford Park, IL 60629-5815                                         Northbrook, IL 60062



POLICY PERIOD: FROM 06/21/2020 TO 06/21/2021 AT 12:01 AM STANDARD TIME AT YOUR MAILING ADDRESS
SHOWN ABOVE.

                                                                               See Described Premises
THE NAMED INSURED IS: Corporation                        BUSINESS DESCRIPTION: section

IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL TERMS OF THIS POLICY, WE AGREE
WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.

                                                 DESCRIBED PREMISES
Prem. Bldg.                                                                                 Construction    Protection
 No.   No. Premises Address:                       Description                                 Type           Class
  1     1   7220 S Cicero Ave,                     Grocery Store                          Masonry Non-      2
            Bedford Park, IL 60629                                                        combustible


Prem. Bldg.
  No.  No. Mortgageholder Name:                Mortgageholder Address:                         Remarks:
1       1   JP Morgan Chase Bank               10 S Dearborn St Fl 34, Chicago,
            NA Its Successors                  IL 60603-2300
            and/or Assigns

SECTION I – PROPERTY

                                        Property Coverage Limits Of Insurance**
                                                                                  Business
                                                                                  Personal
                                                                                 Property –
                                                                    Automatic     Seasonal
Prem. Bldg. Classification                              Valuation Increase Limit  Increase
 No. No.         No.            Type Of Property         Option    (Percentage) (Percentage) Limit Of Insurance*
  1     1                          Buildings          Replacement             4%            %$      5,920,477
                                                          Cost
  1      1          1         Business Personal Replacement                        4%            25% $      1,026,368
                              Property-Grocery             Cost
                            Store Under 10,000
                            Sq Ft; Over 30 Yrs
*Includes Automatic Increase Limit Percentage(if applicable)
**Business Income actual loss sustained for 12 months included subject to policy provisions.
                                                                                           Exhibit C 0003

 04-21-20                                                   aaf                                             Page 1 of 3
 BP-DECLARATION 01-15
               SOCIETY INSURANCE, A MUTUAL COMPANY
                         150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                            BUSINESSOWNERS
                                          R EN E W A L DE C L A RA TI O N

POLICY NO: GSP 524114-10                                     EFFECTIVE DATE: 06/21/2020
INSURED: Cermak Produce No 11 Inc                            AGENT: CDH Total Insurance Services



                                Deductibles (Apply Per Location, Per Occurrence)
                                                                                     Windstorm Or Hail
         Prem. No.                       Property Deductible                       Percentage Deductible
  (Location 1, Building         $                               10,000                                 N/A     %
            1)




                                  Crime Coverages – Optional Higher Limits
        Coverage                Additional Premium         Limit Of Insurance                  Deductible
Computer Fraud           $                            $                    50,000 $                         10,000
Funds Transfer Fraud     $                            $                    50,000 $                         10,000
Extortion                $                            $                    50,000 $                         10,000
Forgery or Alteration    $                            $                    50,000 $                         10,000
Money and Security       $                            $ 50,000        Inside the $                          10,000
(Location 1)                                                             Premises
                                                      $ 50,000       Outside  the
                                                                         Premises
Money Orders and         $                            $                    50,000 $                         10,000
Counterfeit Money


                             Equipment Breakdown Protection Coverage Deductibles
  Prem.         Bldg.                                            Deductible
    No.          No.
     1              1     $                                                                                 10,000




            Additional Coverages – Optional Higher Limits/Extended Number Of Days (Per Policy)
                                                           Limit Of Insurance/Extended      Deductible
          Coverage                Additional Premium             Number Of Days
Extended Business Income –    $                                        60
Extended Number Of Days


                         Additional Coverage – Optional Higher Limits (Per Premises)
                                                                                    Exhibit C 0004

04-21-20                                               aaf                                           Page 2 of 3
BP-DECLARATION 01-15
                 SOCIETY INSURANCE, A MUTUAL COMPANY
                             150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                                BUSINESSOWNERS
                                             R EN E W A L DE C L A RA TI O N

 POLICY NO: GSP 524114-10                                        EFFECTIVE DATE: 06/21/2020
 INSURED: Cermak Produce No 11 Inc                               AGENT: CDH Total Insurance Services

                                  Prem.                                                   Limit Of
        Coverage                   No.                  Additional Premium               Insurance      Deductible
Outdoor Signs                 (Location      1) $                                    $         70,000 $     10,000




SECTION II – LIABILITY AND MEDICAL EXPENSES
Each paid claim for the following coverages reduces the amount of insurance we provide during the applicable annual period.
Please refer to the Businessowners Liability Coverage Form and any attached endorsements.


                    Coverage                                                 Limit Of Insurance
 Liability And Medical Expenses                     $                       1,000,000 Per Occurrence


 Medical Expenses                                   $                            5,000    Per Person

 Damage To Premises Rented To You                   $                          100,000    Any One Premises


 Other Than Products/Completed Operations           $                       2,000,000
 Aggregate


 Products/Completed Operations Aggregate            $                       2,000,000




                                         TOTAL BUSINESSOWNERS POLICY PREMIUM                 $



                                                                        TOTAL PREMIUM        $


 FORMS AND ENDORSEMENTS
 APPLYING TO THIS COVERAGE PART AND MADE PART OF THIS POLICY AT TIME OF ISSUE:
 See Forms Schedule
 NOTE: IF NO ENTRY APPEARS ON THE ABOVE ENDORSEMENTS, INFORMATION REQUIRED TO COMPLETE
 THE FORM WILL BE SHOWN ON THE SUPPLEMENTAL FORM DECLARATION IMMEDIATELY FOLLOWING THE
 APPLICABLE ENDORSEMENT.




                                                                                         Exhibit C 0005

 04-21-20                                                  aaf                                               Page 3 of 3
 BP-DECLARATION 01-15
            SOCIETY INSURANCE, A MUTUAL COMPANY
                       150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                  BUSINESSOWNERS LIABILITY
                                       RENEWAL DECLARATION


LOCATION OF ALL PREMISES YOU OWN, RENT OR OCCUPY:
1 7220 S Cicero Ave, Bedford Park, IL 60629 5815

                                        PREMIUM                          PMS         PDTS    OTHER PD DED
LOC     CLASSIFICATION        CODE       BASIS          EXPOSURE         RATE        RATE    RATE APPLIES
 1    Supermarkets (area      18501   Gross Sales
      over 10,000 sq.
      feet)
  1   Gro-Sure; Off           59211   Gross Sales
      Premises



                                      TOTAL BUSINESSOWNERS LIABILITY PREMIUM             $

                                                                    TOTAL PREMIUM        $




FORMS AND ENDORSEMENTS
APPLYING TO THIS COVERAGE PART AND MADE PART OF THIS POLICY AT TIME OF ISSUE:
See Forms Schedule

NOTE: IF NO ENTRY APPEARS ON THE ABOVE ENDORSEMENTS, INFORMATION REQUIRED TO COMPLETE
THE FORM WILL BE SHOWN ON THE SUPPLEMENTAL FORM DECLARATION IMMEDIATELY FOLLOWING THE
APPLICABLE ENDORSEMENT.




04-21-20                                          aaf                           Exhibit C 0006   Page 1 of 1
GL-DECLARATION 12-18
            SOCIETY INSURANCE, A MUTUAL COMPANY
                     150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                           BUSINESSOWNERS PACKAGE POLICY
                                  PREMIUM SUMMARY


                                         TOTAL BUSINESSOWNERS PREMIUM              $

                               TOTAL BUSINESSOWNERS LIABILITY PREMIUM              $

                                             BALANCE TO MINIMUM PREMIUM            $


                                                          TOTAL SURCHARGE          $



                       TOTAL BUSINESSOWNERS PACKAGE POLICY PREMIUM                 $




THESE DECLARATIONS AND THE COMMON POLICY DECLARATIONS, IF APPLICABLE, TOGETHER WITH THE
COMMON POLICY CONDITIONS, COVERAGE FORM(S) AND ENDORSEMENTS, AND SUPPLEMENTAL FORM
DECLARATION(S), IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY




                                                                             Exhibit C 0007
04-21-20                                         aaf                                          Page 1 of 1
SB-PREMIUM-SUMMARY 01-15
                   Society Insurance, a mutual company
                           BUSINESSOWNERS PACKAGE POLICY
                                   E X TE N DE D NA M E SC HE D UL E
                                                     POLICY NO: GSP 524114-10

                                                   RENEWAL OF GSP 524114-9

ACCOUNT NUMBER:
NAMED INSURED AND MAILING ADDRESS                  AGENCY AND MAILING ADDRESS                20010 000
Cermak Produce No 11 Inc                           CDH TOTAL INSURANCE SERVICES
7220 S CICERO AVE                                  3175 COMMERCIAL AVE
BEDFORD PARK, IL 60629                             NORTHBROOK, IL 60062

                                                   8475620707

POLICY PERIOD: FROM 06/21/2020 TO 06/21/2021 AT 12:01 AM STANDARD TIME AT YOUR MAILING ADDRESS
SHOWN ABOVE.


                              E X T E N D E D   N A M E D   I N S U R E D




7 2 2 0 S C ice ro - ET LLC



7 2 2 0 S C ice ro - JB LLC




04-21-20                                          aaf                                        Page 1 of 1
                                                                            Exhibit C 0008
SB-EXT-NAME-SCHEDULE (01-15)
              SOCIETY INSURANCE, A MUTUAL COMPANY
                       150 Camelot Drive P.O. Box 1029, Fond du Lac, WI 54936-1029
                                        FORMS SCHEDULE

                                                     POLICY NO: GSP 524114-10

                                                     RENEWAL OF     GSP 524114-9

ACCOUNT NUMBER:                                                                                 20010
NAMED INSURED AND MAILING ADDRESS                     AGENCY AND MAILING ADDRESS                  000
Cermak Produce No 11 Inc                             CDH Total Insurance Services
7220 S Cicero Ave                                    3175 Commercial Ave
Bedford Park, IL 60629-5815                          Northbrook, IL 60062


POLICY PERIOD: FROM 06/21/2020 TO 06/21/2021 AT 12:01 AM STANDARD TIME AT YOUR MAILING
ADDRESS SHOWN ABOVE.

NOTE: IF NO ENTRY APPEARS ON THE FOLLOWING ENDORSEMENTS, INFORMATION REQUIRED TO
COMPLETE THE FORM WILL BE SHOWN ON THE SUPPLEMENTAL FORM DECLARATION IMMEDIATELY
FOLLOWING THE APPLICABLE ENDORSEMENT.

BUSINESSOWNERS POLICY FORMS
BP0154 01-18       Illinois Changes
BP0503 01-06       Illinois Liquor Liability Coverage
BP0643 04-06       Illinois Changes - Defense Costs
BP0695 01-10       Illinois - Employment-Related Practices Liability
                   Endorsement
BP0416 07-13       Additional Insured - Lessor Of Leased Equipment
BP0417 01-10       Employment-Related Practices Exclusion
BP0498 07-13       Employee Benefits Liability Coverage
BP0515 01-15       Disclosure Pursuant To Terrorism Risk Insurance Act
BP1203 01-10       Loss Payable Clauses
TBP453 11-16       Water Backup And Sump Overflow
TBP84 05-15        Property Enhancement Endorsement Green Environmental and
                   Energy Efficiency Improvements
TBP6 05-15         Businessowners Liability Coverage Form
TBP440 08-17       Asbestos - Exclusion
TBP2109 12-15      Exclusion - Unmanned Aircraft
TBP2 05-15         Businessowners Special Property Coverage Form
TBP12 05-15        Product Spoilage
GSP611 05-15       Illinois GRO-SURE Extension Endorsement
EPL120 10-08       Liability to Non-Employees
TBP9 10-08         Businessowners Common Policy Conditions
BP1505 05-14       Exclusion - Access Or Disclosure Of Confidential Or
                   Personal Information And Data-Related Liability -
                   Limited Bodily Injury Exception Not Included




                                                                             Exhibit C 0009
    04-21-20                                       aaf                                        Page 1 of 1
    SB-FORMS-SCHEDULE 01-15
                                                                                             BUSINESSOWNERS
                                                                                                 BP 01 54 01 18

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     ILLINOIS CHANGES
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM
   INFORMATION SECURITY PROTECTION ENDORSEMENT


A. The following is added to the Businessowners                           b. Materially   affected    either   our
   Coverage Form:                                                            decision to provide this insurance or
   1. If this Policy covers the following in a. and b.,                      the hazard we assumed.
      then Paragraphs 2. and 3. apply:                                    However, this condition will not serve as
      a. Real property used principally for residential                   a reason to void this Policy after the
         purposes up to and including a four family                       Policy has been in effect for one year or
         dwelling; or                                                     one policy term, whichever is less.
      b. Household or personal property that is                      2. We do not provide coverage under this
         usual or incidental to the occupancy of any                    Policy to you or any other insured who,
         premises used for residential purposes.                        at any time subsequent to the issuance
                                                                        of this insurance, commit fraud or
   2. The second paragraph of Paragraph E.2.                            intentionally conceal or misrepresent a
      Appraisal Property Loss Condition in Section                      material fact relating to:
      I Property is replaced by the following:
                                                                          a. This Policy;
      a. Each party will pay its own appraiser and
         bear the other expenses of the appraisal                         b. The Covered Property;
         and umpire equally, except as provided in                        c. Your interest     in    the   Covered
         b. below.                                                           Property; or
      b. We will pay your appraiser's fee and the                         d. A claim under this Policy.
         umpire's appraisal fee, if the following                    3. Notwithstanding the limitations stated in
         conditions exist:                                              C.1. above, we may cancel this Policy in
         (1) You demanded the appraisal; and                            accordance with the terms of Paragraph
         (2) The full amount of loss, as set by your                    A. Cancellation in Section III Common
             appraiser, is agreed to by our appraiser                   Policy Conditions.
             or by the umpire.                             B. Section I    Property is amended as follows:
   3. Paragraph         C.         Concealment,               1. Paragraph B.2.a. Electrical Apparatus is
      Misrepresentation Or Fraud in Section III                  replaced by the following:
      Common Policy Conditions is replaced by                    a. Electrical Apparatus
      the following:
                                                                     Artificially generated electrical current,
      C. Concealment, Misrepresentation Or                           including electric arcing, that disturbs
         Fraud                                                       electrical devices, appliances or wires.
         1. This Policy is void if you or any insured                But if artificially generated electrical current
            commit fraud or conceal or misrepresent                  results in fire, we will pay for the loss or
            a fact in the process leading to the                     damage caused by fire.
            issuance of this insurance, and such
            fraud, concealment or misrepresentation                  We will pay for loss or damage to
            is stated in the Policy or endorsement or                "computer(s)" due to artificially generated
            in the written application for this Policy               electrical current if such loss or damage is
            and:                                                     caused by or results from:
             a. Was made with actual intent to                      (1) An occurrence that took place within
                deceive; or                                             100 feet of the described premises; or

                                                                                       Exhibit C 00010



BP 01 54 01 18                       © Insurance Services Office, Inc., 2017                           Page 1 of 6
         (2) Interruption of electric power supply,                  2. If this Policy has been in effect for 60
             power surge, blackout or brownout if the                   days or less, except as provided in
             cause of such occurrence took place                        Paragraphs 8. and 9. below, we may
             within 100 feet of the described                           cancel this Policy by mailing written
             premises.                                                  notice of cancellation at least:
   2. The following exclusion is added to Paragraph                     a. 10 days before the effective date of
      B.2. Exclusions:                                                     cancellation if we cancel for
      a. We will not pay for loss or damage arising                        nonpayment of premium; or
         out of any act committed:                                      b. 30 days before the effective date of
         (1) By or at the direction of any insured; and                    cancellation if we cancel for any
                                                                           other reason.
         (2) With the intent to cause a loss.
                                                                     3. If this Policy has been in effect for more
      b. However, this exclusion will not apply to                      than 60 days, except as provided in
         deny payment to an innocent co-insured                         Paragraphs 8. and 9. below, we may
         who did not cooperate in or contribute to                      cancel this Policy only for one or more
         the creation of the loss if:                                   of the following reasons:
         (1) The loss arose out of a pattern of                         a. Nonpayment of premium;
             criminal domestic violence; and
                                                                        b. The Policy was obtained through a
         (2) The perpetrator of the loss is criminally                     material misrepresentation;
             prosecuted for the act causing the loss.
                                                                        c. You have violated any of the terms
      c. If we pay a claim pursuant to Paragraph                           and conditions of the Policy;
         B.2.b., our payment to the insured is limited
         to that insured's insurable interest in the                    d. The risk originally accepted has
         property less any payments we first made                          measurably increased;
         to a mortgagee or other party with a legal                     e. Certification to the Director of
         secured interest in the property. In no event                     Insurance of the loss of reinsurance
         will we pay more than the Limit of                                by the insurer which provided
         Insurance.                                                        coverage to us for all or a substantial
   3. The following is added to Paragraph E.4. Legal                       part of the underlying risk insured; or
      Action Against Us Property Loss Condition:                         f. A determination by the Director of
      The two-year period for legal action against us                       Insurance that the continuation of the
      is extended by the number of days between                             Policy could place us in violation of
      the date the proof of loss is filed with us and                       the insurance laws of this State.
      the date we deny the claim in whole or in part.                   If we cancel this Policy based on one or
C. Section II   Liability is amended as follows:                        more of the above reasons except for
                                                                        nonpayment of premium, we will mail
   The term "spouse" is replaced by the following:                      written notice at least 60 days before the
   Spouse or party to a civil union recognized under                    effective date of cancellation. When
   Illinois law.                                                        cancellation is for nonpayment of
                                                                        premium, we will mail written notice at
D. Section III    Common Policy Conditions is
                                                                        least 10 days before the effective date of
   amended as follows:
                                                                        cancellation.
   1. The Paragraph A. Cancellation Common
      Policy Condition is replaced by the following:                 4. We will mail our notice to you, together
                                                                        with our reason for cancellation, at your
      A. Cancellation                                                   last mailing address known to us. Proof
         1. The first Named Insured shown in the                        of mailing will be sufficient proof of
            Declarations may cancel this Policy by                      notice.
            mailing to us advance written notice of
            cancellation.




                                                                                     Exhibit C 00011



Page 2 of 6                          © Insurance Services Office, Inc., 2017                     BP 01 54 01 18
         5. Notification of cancellation will also be                    The Policy will terminate 10 days
            sent to your broker, if known, or agent of                   following receipt of the written notice by
            record, if known, and to the mortgagee                       the Named Insured(s).
            or lienholder listed on the Policy.                       9. Residential Properties Occupied By
         6. Notice of cancellation will state the                        Four Families Or Less
            effective date of cancellation. The policy                   The following applies if this Policy
            period will end on that date.                                covers residential properties occupied
         7. If this Policy is cancelled, we will send                    by four families or less:
            the first Named Insured any premium                          If this Policy has been in effect for 60
            refund due. If we cancel, the refund will                    days, or if this is a renewal policy, we
            be pro rata. If the first Named Insured                      may only cancel this Policy for one or
            cancels, the refund may be less than                         more of the following reasons:
            pro rata. The cancellation will be
            effective even if we have not made or                        a. Nonpayment of premium;
            offered a refund.                                            b. The Policy was obtained             by
         8. Real Property Other Than Residential                            misrepresentation or fraud; or
            Properties Occupied By Four                                  c. Any act that measurably increases
            Families Or Less                                                the risk originally accepted.
            The following applies only if this Policy                    If we cancel this Policy based on one or
            covers real property other than                              more of the above reasons except for
            residential property occupied by four                        nonpayment of premium, we will mail
            families or less:                                            written notice at least 30 days before the
            If any one or more of the following                          effective date of cancellation. When
            conditions exists at any building that is                    cancellation is for nonpayment of
            Covered Property in this Policy, we may                      premium, we will mail written notice at
            cancel this Policy by mailing to you                         least 10 days before the effective date of
            written notice of cancellation, by both                      cancellation.
            certified and regular mail, if:                    2. Paragraph H.1. Other Insurance is replaced
            a. After a fire loss, permanent repairs to            by the following:
               the building have not started within               H. Other Insurance
               60 days of satisfactory adjustment of
                                                                      1. You may have other insurance subject
               loss, unless the delay is due to a                        to the same plan, terms, conditions and
               labor dispute or weather conditions.
                                                                         provisions as the insurance under this
            b. The building has been unoccupied                          Coverage Form. If you do, we will pay
               60 or more consecutive days. This                         our share of the covered loss or
               does not apply to:                                        damage. Our share is the proportion
                 (1) Seasonal unoccupancy; or                            that the applicable Limit of Insurance
                                                                         under this Coverage Form bears to the
                 (2) Buildings      under      repair,                   Limits of Insurance of all insurance
                     construction or reconstruction, if                  covering on the same basis.
                     properly     secured     against
                     unauthorized entry.                              2. If there is other insurance covering the
                                                                         same loss or damage, other than that
            c. The building has:                                         described in 1. above, we will pay only
                 (1) An outstanding order to vacate;                     for the amount of covered loss or
                 (2) An outstanding demolition order;                    damage in excess of the amount due
                     or                                                  from that other insurance, whether you
                                                                         can collect on it or not. But we will not
                 (3) Been    declared     unsafe       in                pay more than the applicable Limit of
                     accordance with the law.                            Insurance of Section I Property.
            d. Heat, water, sewer service or public
               lighting have not been connected to
               the building for 30 consecutive days
               or more.



                                                                                      Exhibit C 00012



BP 01 54 01 18                        © Insurance Services Office, Inc., 2017                         Page 3 of 6
   3. The following paragraph is added to the                            b. If this Policy has been issued to you
      Common Policy Conditions:                                             and in effect with us for less than five
     M. Nonrenewal                                                          years, we may not fail to renew this
                                                                            Policy unless you received 30 days'
         1. If we decide not to renew or continue                           notice as provided in 1. above.
            this Policy, we will mail you written
            notice,     stating    the  reason for                       c. Notification of nonrenewal will also
            nonrenewal. Proof of mailing will be                            be sent to your broker, if known, or
            sufficient proof of notice.                                     agent of record, if known, and to the
                                                                            last known mortgagee or lienholder.
         2. Except as provided in Paragraph 6.
            below, we will mail you notice of                            d. The nonrenewal shall not become
            nonrenewal at least 60 days before the                          effective until at least 30 days from
            end of the policy period.                                       the proof of mailing date of the notice
                                                                            to you.
         3. If we offer to renew or continue and you
            do not accept, this Policy will terminate       E. The following changes apply only to Information
            at the end of the current policy period.           Security Protection Endorsement BP 15 07 if it is
            Failure to pay the required renewal or             attached to this Policy:
            continuation premium when due shall                1. Paragraph (2) of Insuring Agreement d.
            mean that you have not accepted our                   Security Breach Liability is replaced by the
            offer.                                                following:
         4. If we fail to mail proper written notice of              (2) We will pay for "defense expenses" as a
            nonrenewal and you obtain other                              result of a "claim" in the form of a
            insurance, this Policy will end on the                       "regulatory proceeding" first made
            effective date of that insurance.                            against the insured during the "policy
         5. The following provision applies to                           period" or during the applicable
            policies other than those described in                       Extended Reporting Period, in response
            Paragraph 6.:                                                to a "wrongful act" or a series of
                                                                         "interrelated wrongful acts" covered
              Notification of nonrenewal will also be                    under Paragraph d.(1).
              sent to your broker, if known, or agent of
              record, if known, and the mortgagee or           2. The following is added to the Defense And
              lienholder listed on the Policy.                    Settlement Provision under Paragraph E.:
         6. The following provision applies only if               3. If we initially defend an insured or pay for
            this Policy covers residential properties                an insured's defense but later determine
            occupied by four families or less:                       that the claim(s) is (are) not covered under
                                                                     this insurance, we will have the right to
              a. If this Policy has been issued to you               reimbursement for the defense costs we
                 and in effect with us for five or more              have incurred.
                 years, we may not fail to renew this
                 Policy unless:                                       The right to reimbursement for the defense
                                                                      costs under this provision will only apply to
                (1) The Policy was obtained by                        defense costs we have incurred after we
                    misrepresentation or fraud and                    notify you in writing that there may not be
                    we mail you notice of nonrenewal                  coverage, and that we are reserving our
                    at least 30 days before the end of                rights to terminate the defense and seek
                    the policy period as provided in 1.               reimbursement for defense costs.
                    above;
                                                               3. The following is added to Exclusion m. under
                (2) The risk originally accepted has              Paragraph I.:
                    measurably increased and we
                    mail you notice of nonrenewal at                  However, Paragraphs (1), (2) and (3) shall
                    least 30 days before the end of                   not apply to loss resulting from a "hostile
                    the policy period as provided in 1.               fire" if, and to the extent, loss resulting from
                    above; or                                         any "claim" is based upon, attributable to or
                                                                      arising out of heat, smoke or fumes.
                (3) You received 60 days' notice of
                    our intent not to renew as
                    provided in 1. above.


                                                                                       Exhibit C 00013



Page 4 of 6                           © Insurance Services Office, Inc., 2017                       BP 01 54 01 18
   4. Paragraph 2.    Supplemental    Extended                          (2) The "claim" arose out of either a
      Reporting Period under Paragraph N.                                   "wrongful act" or the first of a series
      Extended Reporting Periods is replaced by                             of "interrelated wrongful acts" which
      the following:                                                        occurred on or after the Retroactive
      2. Supplemental Extended Reporting                                    Date, if any, shown in the Schedule
         Period                                                             and before the end of the "policy
                                                                            period".
         a. You will have the right to purchase a
            Supplemental       Extended  Reporting                    d. You must give us a written request for
            Period from us if:                                           the Supplemental Extended Reporting
                                                                         Period within 30 days after the end of
           (1) This Endorsement is cancelled or                          the "policy period" or the effective date
               nonrenewed for any reason; or                             of cancellation, whichever comes first.
           (2) We    renew    or    replace     this                  e. The Supplemental Extended Reporting
               Endorsement with insurance that:                          Period will not go into effect unless you
                 (a) Has a Retroactive Date later than                   pay the additional premium in full within
                     the date shown in the Schedule                      30 days of tendering your request for
                     of this Endorsement for either                      the Supplemental Extended Reporting
                     Insuring Agreement d. Security                      Period to us. Once in effect, the
                     Breach Liability or g. Web Site                     Supplemental      Extended      Reporting
                     Publishing Liability. However, the                  Period may not be cancelled.
                     Supplemental             Extended                f. We will determine the additional
                     Reporting Period will only be                       premium in accordance with our rules
                     provided    for     the   insuring                  and rates. In doing so, we may take into
                     agreement for which our renewal                     account the following:
                     or replacement endorsement has
                     a Retroactive Date later than the                  (1) The exposures insured;
                     date shown in the Schedule of                      (2) Previous types and amounts of
                     this Endorsement; or                                   insurance;
                 (b) Does not apply to "wrongful acts"                  (3) Limit of Insurance available under
                     on a claims-made basis for either                      this Endorsement for future payment
                     Insuring Agreement d. Security                         of damages; and
                     Breach Liability or g. Web Site                    (4) Other related factors.
                     Publishing Liability. However, the
                     Supplemental             Extended                   The additional premium may not exceed
                     Reporting Period will only be                       200% of the annual premium for this
                     provided    for     the   insuring                  Endorsement. The premium for the
                     agreement for which our renewal                     Supplemental       Extended    Reporting
                     or replacement endorsement                          Period will be deemed fully earned as of
                     does not apply to "wrongful acts"                   the date it is purchased.
                     on a claims-made basis.                   5. Paragraph H. Other Insurance under
         b. A Supplemental Extended Reporting                     Paragraph O. is replaced by the following:
            Period, as specified in Paragraph a.,                 H. Other Insurance
            lasts one year and is available only for
                                                                      If any "loss" resulting from any "claim" is
            an additional premium.
                                                                      insured by any other valid policy, we shall
         c. The Supplemental Extended Reporting                       not be liable under this Endorsement for a
            Period starts with the end of the Basic                   greater proportion of such "loss" than the
            Extended Reporting Period set forth in                    Information Security Protection Aggregate
            Paragraph 1. It does not extend the                       Limit Of Insurance stated in the Schedule
            "policy period" or change the scope of                    bears to the total applicable limit of liability
            the coverage provided. It applies only to                 of all valid and collectible insurance against
            "claims" to which the following applies:                  such "loss", unless such other insurance is
           (1) The "claim" is first made and                          purchased specifically to apply in excess of
               reported    to us   during  the                        the     Information     Security    Protection
               Supplemental Extended Reporting                        Aggregate Limit Of Insurance stated in the
               Period; and                                            Schedule of this Endorsement.


                                                                                       Exhibit C 00014



BP 01 54 01 18                        © Insurance Services Office, Inc., 2017                           Page 5 of 6
   6. The definition of "defense expenses"          in              "Defense expenses" does not include
      Paragraph V. is replaced by the following:                    salaries and expenses of our "employees"
      5. "Defense expenses" means payments                          or an insured's "employees" (other than
         allocated to a specific "claim" we                         those described in Paragraph d. above).
         investigate, settle or defend, for its              7. Paragraph d. of the definition of "loss" in
         investigation, settlement or defense,                  Paragraph V. is replaced by the following:
         including:                                             d. With respect to Insuring Agreements d.
         a. Fees and salaries of attorneys and                     Security Breach Liability and g. Web Site
            paralegals we retain.                                  Publishing Liability:
         b. Fees of attorneys an insured retains                    Compensatory       damages, settlement
            when, by our mutual agreement or court                  amounts and costs awarded pursuant to
            order    (or    when    required    by                  judgments or settlements.
            administrative hearing or proceeding),                  "Loss" does not include:
            an insured is given the right to retain
            defense counsel to defend against a                    (1) Civil or criminal fines or penalties
            "claim".                                                   imposed by law;
         c. All other litigation or administrative                 (2) Punitive or exemplary damages;
            hearing expenses, including fees or                    (3) The multiplied portion of multiplied
            expenses of expert witnesses hired                         damages;
            either by us or by the defense attorney
                                                                   (4) Taxes;
            retained by an insured.
                                                                   (5) Royalties;
         d. Reasonable expenses incurred by an
            insured at our request to assist us in the             (6) The amount of any disgorged profits; or
            investigation or defense of the "claim",               (7) Matters that are uninsurable pursuant to
            including actual loss of earnings up to                    law.
            $250 a day because of time off from
            work.
         e. Costs taxed against an insured in the
            "suit".




                                                                                    Exhibit C 00015



Page 6 of 6                         © Insurance Services Office, Inc., 2017                    BP 01 54 01 18
POLICY NUMBER: GSP 524114-10                                                                 BUSINESSOWNERS
                                                                                                 BP 05 03 01 06




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                  ILLINOIS LIQUOR LIABILITY COVERAGE
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

                                                      SCHEDULE

                     Coverage                                                Limits Of Insurance
Each Person Bodily Injury Limit                                         Per statute 235 ILCS 5/6-21

Each Person Property Damage Limit                                       Per statute 235 ILCS 5/6-21

Loss Of Means Of Support Or Loss Of Society Limit                       Per statute 235 ILCS 5/6-21


Aggregate Limit                                                         $    1,000,000

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


With respect to Illinois locations, Section II – Liability          b. "Bodily injury" or "property damage" arising
is amended as follows:                                                 out of "your product". This exclusion does
A. The insurance provided under Paragraph A.1.                         not apply to "bodily injury" or "property dam-
   Business Liability, also applies to all "bodily in-                 age" for which the insured or the insured's
   jury" or "property damage" arising out of the sell-                 indemnitees may be held liable by reason
   ing, serving or furnishing of alcoholic beverages.                  of:
B. For the insurance provided by this endorsement                     (1) Causing or contributing to the intoxica-
   only, Paragraph B. Exclusions is amended as fol-                       tion of any person;
   lows:                                                              (2) The furnishing of alcoholic beverages to
   1. Paragraph 1. Applicable To Business Liabili-                        a person under the legal drinking age or
      ty Coverages, other than exclusions a. Ex-                          under the influence of alcohol; or
      pected Or Intended Injury, d. Workers' Com-                     (3) Any statute, ordinance or regulation re-
      pensation And Similar Laws and e. Employ-                           lating to the sale, gift, distribution or use
      er's Liability, does not apply.                                     of alcoholic beverages.
   2. The following exclusions are added:                           c. Any "bodily injury" or "property damage"
       This insurance does not apply to:                               with respect to which other insurance is af-
                                                                       forded, or would be afforded but for the ex-
       a. "Bodily injury" or "property damage" arising                 haustion of the limits of insurance.
          out of any alcoholic beverage sold, served
          or furnished while any required license is                   This exclusion does not apply if the other
          not in effect.                                               insurance responds to liability for "bodily in-
                                                                       jury" or "property damage" imposed on the
                                                                       insured by reason of the selling, serving or
                                                                       furnishing of any alcoholic beverage.

                                                                                         Exhibit C 00016


BP 05 03 01 06                               © ISO Properties, Inc., 2004                                  Page 1 of 2
C. The following are added to Paragraph D. Liability              8. Subject to the Liquor Liability Aggregate
   And Medical Expenses Limits Of Insurance:                         Limit, the Each Person Property Damage
   D. Liability And Medical Expenses Limits Of                       Limit is the most we will pay for all "property
      Insurance                                                      damage" sustained by one person or orga-
                                                                     nization as the result of the selling, serving
      5. The Liquor Liability Aggregate Limit shown                  or furnishing of any alcoholic beverage to
         in the Schedule of this endorsement is the                  any one person.
         most we will pay for all "bodily injury" and
         "property damage" as the result of the sell-            Neither the Liability And Medical Expenses
         ing, serving or furnishing of alcoholic bever-          Limit Of Insurance shown in the Declarations
         ages.                                                   nor its aggregate limits apply to damages aris-
                                                                 ing out of the selling, serving or furnishing of al-
      6. Subject to the Liquor Liability Aggregate               coholic beverages.
         Limit, the Loss Of Means Of Support Or
         Loss Of Society Limit is the most we will         D. The following paragraph is added:
         pay for all loss of means of support or soci-        CONFORMITY TO STATUTE
         ety sustained by one or more persons as              If the limitation provided under Section 235.5/6-21,
         the result of the selling, serving or furnish-       as published in the Illinois Administrative Code, is
         ing of alcoholic beverage to any one per-            raised during the policy period, the limits of insur-
         son.                                                 ance provided in the Schedule of this endorse-
      7. Subject to the Liquor Liability Aggregate            ment are hereby amended to conform to that
         Limit, the Each Person Bodily Injury Limit is        statute.
         the most we will pay for all "bodily injury"
         sustained by one person as a result of the
         selling, serving or furnishing of any alco-
         holic beverage to any one person.




                                                                                      Exhibit C 00017


Page 2 of 2                                © ISO Properties, Inc., 2004                            BP 05 03 01 06
                                                                                BUSINESSOWNERS
                                                                                    BP 06 43 04 06

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                   ILLINOIS CHANGES                            DEFENSE COSTS
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM


The following is added to Section II            Liability
Paragraph A. Coverages:
If we initially defend an insured or pay for an insured's
defense but later determine that the claim(s) is (are)
not covered under this insurance, we will have the
right to reimbursement for the defense costs we have
incurred.
The right to reimbursement for the defense costs
under this provision will only apply to defense costs
we have incurred after we notify you in writing that
there may not be coverage, and that we are reserving
our rights to terminate the defense and seek
reimbursement for defense costs.




                                                                            Exhibit C 00018



BP 06 43 04 06                               © ISO Properties, Inc., 2005                     Page 1 of 1
POLICY NUMBER: GSP 524114-10                                                                BUSINESSOWNERS
                                                                                                BP 06 95 01 10

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        ILLINOIS – EMPLOYMENT-RELATED PRACTICES
                   LIABILITY ENDORSEMENT
              THIS ENDORSEMENT PROVIDES CLAIMS-MADE AND REPORTED COVERAGE
                               PLEASE READ THE ENTIRE FORM CAREFULLY
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

                                                  SCHEDULE

 Employment-related Practices Liability Annual Aggregate                 $                           1,000,000
 Limit Of Insurance:
 Supplemental Limit:                                                     $

 Deductible Amount:                                                      $                                 5,000


 Prior Or Pending Litigation Date: 06/21/2010

     Employment-related Malicious Prosecution

 Retroactive Date: 06/21/2010

     Extended Reporting Period

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


For the purposes of the coverage provided by this en-                (1) The amount we will pay for damages
dorsement, Section II – Liability is amended as                          and "defense expenses" is limited as de-
follows:                                                                 scribed in Paragraph D.1. Employment-
A. The following is added to Paragraph A. Cover-                         related Practices Liability Annual Aggre-
   ages:                                                                 gate Limit Of Insurance and Paragraph
                                                                         D.2. Deductible of this endorsement;
   1. Insuring Agreement                                                 and
      a. We will pay those sums the insured be-                      (2) The coverage and duty to defend pro-
         comes legally obligated to pay as damages                       vided by this endorsement will end when
         resulting from a "wrongful act" to which this                   we have used the applicable Limit of In-
         insurance applies. We will have the right                       surance for "defense expenses" or the
         and duty to defend the insured against any                      payment of judgments or settlements.
         "suit" seeking those damages. However, we
         will have no duty to defend the insured                      No other obligation or liability to pay sums,
         against any "suit" seeking damages be-                       such as civil or criminal fines, imposed on
         cause of a "wrongful act" to which this in-                  you or any other insured, or to perform acts
         surance does not apply. We may, at our                       or services is covered unless explicitly pro-
         discretion, investigate any incident that may                vided for under Supplementary Payments.
         result from a "wrongful act". We may, with
         your written consent, settle any "claim" that
         may result. But:
                                                                                      Exhibit C 00019



BP 06 95 01 10                       © Insurance Services Office, Inc., 2009                          Page 1 of 8
      b. This insurance applies to "wrongful acts"               e. All "claims" for damages because of a
         only if:                                                   "wrongful act" committed against the same
        (1) The "wrongful act" takes place in the                   person, including damages claimed by any
            "coverage territory";                                   person for care, loss of services or death
                                                                    resulting at any time from the "wrongful
        (2) The "wrongful act" did not commence                     act", will be deemed to have been made at
            before the Retroactive Date, if any,                    the time the first of such "claims" is made,
            shown in the Schedule, or after the end                 regardless of the number of "claims" subse-
            of the policy period; and                               quently made.
        (3) A "claim" against any insured for dam-         B. For the purposes of the coverage provided by this
            ages because of the "wrongful act" is             endorsement, the following is added to Paragraph
            first made during the policy period or an         B. Exclusions, Subparagraph 1. Applicable To
            Extended Reporting Period provided un-            Business Liability Coverage:
            der Paragraph F. of this endorsement, in
            accordance with Paragraphs c. and d.                 This insurance does not apply to:
            below.                                               a. Criminal, Fraudulent Or Malicious Acts
      c. A "claim" will be deemed to have been                       An insured's liability arising out of criminal,
         made at the earlier of the following times:                 fraudulent or malicious acts or omissions by
        (1) When notice of such "claim" after being                  that insured.
            received by any insured is reported to                   This exclusion does not affect our duty to
            us in writing; or                                        defend, in accordance with Paragraph A.1.
        (2) When a "claim" against an insured is                     of this endorsement, an insured prior to de-
            made directly to us in writing.                          termining, through the appropriate legal
                                                                     processes, that that insured is responsible
         A "claim" received by the insured during the                for a criminal, fraudulent or malicious act or
         policy period and reported to us within 30                  omission.
         days after the end of the policy period will
         be considered to have been reported within              b. Contractual Liability
         the policy period. However, this 30-day                     Any "wrongful act" for which the insured is
         grace period does not apply to "claims" that                obligated to pay damages by reason of the
         are covered under any subsequent insuran-                   assumption of liability in a contract or
         ce you purchase, or that would have been                    agreement.
         covered but for exhaustion of the amount of             c. Violation Of Laws Applicable To
         insurance applicable to such "claims".                     Employers
      d. If during the policy period you become                      A violation of your responsibilities or duties
         aware of a "wrongful act" that may reason-                  required by any other federal, state or local
         ably be expected to give rise to a "claim"                  statutes, rules or regulations, and any rules
         against any insured, you must provide no-                   or regulations promulgated therefor or
         tice to us in accordance with the provisions                amendments thereto, except for the follow-
         of Paragraph E.2. Duties In The Event Of A                  ing, and including amendments thereto: Ti-
         Claim Or Wrongful Act That May Result In                    tle VII of the Civil Rights Act of 1964, the
         A Claim. If such notice is provided, then any               Americans With Disabilities Act, the Age
         "claim" subsequently made against any in-                   Discrimination in Employment Act, the
         sured arising out of that "wrongful act" shall              Equal Pay Act, the Pregnancy Discrimina-
         be deemed under this policy to be a "claim"                 tion Act of 1978, the Immigration Reform
         made during the policy period in which the                  Control Act of 1986 the Family and Medical
         "wrongful act" was first reported to us.                    Leave Act of 1993 and the Genetic Informa-
                                                                     tion Nondiscrimination Act of 2008 or any
                                                                     other similar state or local statutes, rules or
                                                                     regulations to the extent that they prescribe
                                                                     responsibilities or duties concerning the
                                                                     same acts or omissions.




                                                                                      Exhibit C 00020



Page 2 of 8                          © Insurance Services Office, Inc., 2009                      BP 06 95 01 10
         However, this insurance does not apply to a      D. For the purposes of the coverage provided by this
         "wrongful act" arising out of your failure to       endorsement, Paragraph D. Liability And Medi-
         comply with any of the accommodations for           cal Expenses Limits Of Insurance is replaced by
         the disabled required of you by, or any ex-         the following:
         penses incurred as the result of physical           1. Employment-related Practices Liability
         modifications made to accommodate any                  Annual Aggregate Limit Of Insurance
         person pursuant to, the Americans With
         Disabilities Act, or any amendments there-             a. The Employment-related Practices Liability
         to, or any similar state or local statutes,               Annual Aggregate Limit Of Insurance
         rules or regulations to the extent that they              shown in the Schedule of this endorsement
         prescribe responsibilities or duties concern-             is the most we will pay, regardless of the
         ing the same acts or omissions.                           number of:
         This exclusion does not apply to any "claim"              (1) Insureds;
         for retaliatory treatment by an insured                   (2) "Claims" made or "suits" brought; or
         against any person making a "claim" pursu-
                                                                   (3) Persons, organizations or government
         ant to such person's rights under any stat-                   agencies making "claims" or bringing
         utes, rules or regulations.
                                                                       "suits".
      d. Strikes And Lockouts
                                                                b. The Employment-related Practices Liability
         Any "wrongful act" committed against any                  Annual Aggregate Limit Of Insurance
         striking or locked-out "employee", or to an               shown in the Schedule of this endorsement
         "employee" who has been temporarily or                    is the most we will pay for the sum of:
         permanently replaced due to any labor dis-
                                                                   (1) All damages; and
         pute.
                                                                   (2) All "defense expenses"
      e. Prior Or Pending Litigation
                                                                    because of all "wrongful acts" to which this
         Any "claim" or "suit" against any insured
                                                                    insurance applies.
         which was pending on, or existed prior to,
         the applicable Pending Or Prior Litigation             The Employment-related Practices Liability An-
         Date shown in the Schedule, or any "claim"             nual Aggregate Limit Of Insurance applies sep-
         or "suit" arising out of the same or substan-          arately to each consecutive annual period and
         tially the same facts, circumstances or alle-          to any remaining period of less than 12
         gations which are the subject of, or the ba-           months, starting with the beginning of the pol-
         sis for, such "claim" or "suit".                       icy period shown in the Declarations, unless
                                                                the policy period is extended after issuance for
       f. Prior Notice                                          an additional period of less than 12 months. In
         Any "wrongful act" alleged or contained in             that case, the additional period will be deemed
         any "claim" which has been reported, or for            part of the last preceding period for purposes
         which, in any circumstance, notice has                 of determining the Employment-related Prac-
         been given, under any other prior insurance            tices Liability Annual Aggregate Limit Of Insur-
         policy providing essentially the same type             ance.
         of coverage.
                                                             2. Deductible
C. For the purposes of the coverage provided by this
                                                                a. We will not pay for our share of damages
   endorsement, Section II – Who Is An Insured is                  and "defense expenses" until the amount of
   amended to include as an insured:
                                                                   damages and "defense expenses" exceeds
   1. Your "employees", unless otherwise excluded                  the Deductible shown in the Schedule of
      in this endorsement.                                         this endorsement. We will then pay the
   2. Your former "employees", unless otherwise                    amount of damages and "defense expens-
      excluded in this endorsement, but only with re-              es" in excess of the Deductible, up to the
      spect to "wrongful acts" committed while in                  Employment-related Practices Liability An-
      your employ.                                                 nual Aggregate Limit Of Insurance.




                                                                                    Exhibit C 00021



BP 06 95 01 10                      © Insurance Services Office, Inc., 2009                        Page 3 of 8
         Example No. 1                                        2. Duties In The Event Of A Claim Or Wrongful
              Deductible: $5,000                                 Act That May Result In A Claim
              Limit of Insurance: $100,000                       a. If a "claim" is received by any insured, you
                                                                    must:
              Damages and "Defense           Expenses":
              $75,000                                               (1) Immediately record the specifics of the
                                                                        "claim" and the date received; and
              The Deductible will be subtracted from
              the amount of damages and "defense                    (2) Notify us, in writing, as soon as practica-
              expenses" in calculating the amount                       ble.
              payable:                                           b. You and any other involved insured must:
              $75,000 - $5,000 = $70,000 Amount                     (1) Immediately send us copies of any de-
              Payable                                                   mands, notices, summonses or legal pa-
         Example No. 2                                                  pers received in connection with the
                                                                        "claim";
              Deductible: $5,000
                                                                    (2) Authorize us to obtain records and other
              Limit of Insurance: $100,000                              information;
              Damages and "Defense           Expenses":             (3) Cooperate with us in the investigation or
              $120,000                                                  settlement of the "claim" or defense
              The Deductible will be subtracted from                    against the "suit"; and
              the amount of damages and "defense                    (4) Assist us, upon our request, in the en-
              expenses" ($120,000 - $5,000 =                            forcement of any right against any per-
              $115,000). Since the amount of the                        son or organization which may be liable
              damages and "defense expenses" mi-                        to the insured because of a "wrongful
              nus the Deductible exceeds the Limit of                   act" to which this insurance may also
              Insurance, the policy will pay the full                   apply.
              Limit of Insurance ($100,000).
                                                                 c. No insured will, except at that insured's own
      b. The Deductible amount shown in the                         cost, voluntarily make a payment, assume
         Schedule applies to all "claims" arising out               any obligation, or incur any expense without
         of:                                                        our written consent.
         (1) The same "wrongful act"; or                         d. If you become aware of a "wrongful act"
         (2) A series of "wrongful acts", circum-                   that may reasonably be expected to give
             stances or behaviors which arise from a                rise to a "claim" and for which a "claim" has
             common cause                                           not yet been received, you must notify us,
                                                                    in writing, as soon as practicable. Such no-
         regardless of the number of persons, orga-
         nizations or government agencies making                    tice must provide:
         such "claims".                                             (1) A description of the "wrongful act", in-
                                                                        cluding all relevant dates;
      c. We may pay any part or all of the Deducti-
         ble amount to effect settlement of any                     (2) The names of the persons involved in
         "claim" and, upon notification of the action                   the "wrongful act", including names of
         taken, you shall promptly reimburse us for                     the potential claimants;
         such part of the Deductible amount as has                  (3) Particulars as to the reasons why you
         been paid by us.                                               became aware of and reasonably ex-
E. For the purposes of the coverage provided by this                    pect a "claim" which may result from
   endorsement, the following are added to Para-                        such "wrongful act";
   graph E. Liability And Medical Expenses Gener-                   (4) The nature of the alleged or potential
   al Conditions:                                                       damages arising from such "wrongful
   1. Consent To Settle                                                 act"; and
      If we recommend a settlement to you which is                  (5) The circumstances by which the insured
      acceptable to the claimant, but to which you do                   first became aware of the "wrongful act".
      not consent, the most we will pay as damages
      in the event of any later settlement or judgment
      is the amount for which the "claim" could have
      been settled, to which you did not give con-
      sent, less any deductible.
                                                                                     Exhibit C 00022



Page 4 of 8                          © Insurance Services Office, Inc., 2009                      BP 06 95 01 10
   3. Representations                                             b. When the Employment-related Practices Li-
      By accepting this policy, you agree that:                      ability Annual Aggregate Limit Of Insurance
                                                                     has actually been used up in the payment
      a. The statements in the Declarations are ac-                  of judgments or settlements for damages or
         curate and complete;                                        the payment of "defense expenses", we will:
      b. Those statements are based upon repre-                      (1) Notify the first Named Insured in writing,
         sentations you made to us; and                                  as soon as practicable, that such a limit
      c. We have issued this policy in reliance upon                     has actually been used up and that our
         your representations.                                           duty to defend the insured against
   4. If You Are Permitted To Select Defense                             "suits" seeking damages subject to that
                                                                         limit has also ended;
      Counsel
                                                                     (2) Initiate, and cooperate in, the transfer of
      If, by mutual agreement or court order, the in-
                                                                         control, to any appropriate insured, of all
      sured is given the right to select defense coun-
      sel and the Limit of Insurance has not been                        "suits" for which the duty to defend has
                                                                         ended for the reason described in pre-
      used up, the following provisions apply:
                                                                         ceding Paragraph 5.b.(1) and which are
      a. We retain the right, at our discretion, to:                     reported to us before that duty to defend
        (1) Settle, approve or disapprove the settle-                    ended; and
            ment of any "claim"; and                                 (3) Take such steps, as we deem appropri-
        (2) Appeal any judgment, award or ruling at                      ate, to avoid a default in, or continue the
            our expense.                                                 defense of, such "suits" until such trans-
                                                                         fer is completed, provided the appropri-
      b. You and any other involved insured must:
                                                                         ate insured is cooperating in completing
        (1) Continue to comply with Paragraph E.2.                       such transfer.
            Duties In The Event Of A Claim Or
                                                                  c. If the circumstances described in Para-
            Wrongful Act That May Result In A                        graph 5.b.(1) have occurred, the first
            Claim Condition of this endorsement as
                                                                     Named Insured, and any other insured in-
            well as the other provisions of this pol-
                                                                     volved in a "suit" seeking damages subject
            icy; and                                                 to that limit, must:
        (2) Direct defense counsel of the insured to:                (1) Cooperate in the transfer of control of
            (a) Furnish us with the information we                       "suits"; and
                request to evaluate those "suits" for
                                                                     (2) Arrange for the defense of such "suit"
                coverage under this policy; and
                                                                         within such time period as agreed to be-
            (b) Cooperate with any counsel we may                        tween the appropriate insured and us.
                select to monitor or associate in the                    Absent any such agreement, arrange-
                defense of those "suits".                                ments for the defense of such "suit"
      c. If we defend you under a reservation of                         must be made as soon as practicable.
         rights, both your and our counsel will be re-            d. We will take no action with respect to de-
         quired to maintain records pertinent to your                fense for any "claim" if such "claim" is re-
         "defense expenses". These records will be                   ported to us after the Employment-related
         used to determine the allocation of any "de-                Practices Liability Annual Aggregate Limit
         fense expenses" for which you may be                        Of Insurance has been used up. It becomes
         solely responsible, including defense of an                 the responsibility of the first Named In-
         allegation not covered by this insurance.                   sured, and any other insured involved in
   5. Transfer Of Duties When Limit Of Insurance                     such a "claim", to arrange defense for such
      Is Used Up                                                     "claim".
      a. If we conclude that, based on "claims"                   e. The first Named Insured will reimburse us
         which have been reported to us and to                       as soon as practicable for expenses we in-
         which this insurance may apply, the Em-                     cur in taking those steps we deem appropri-
         ployment-related Practices Liability Annual                 ate in accordance with Paragraph 5.b.
         Aggregate Limit Of Insurance is likely to be
         used up in the payment of judgments or
         settlements for damages or the payment of
         "defense expenses", we will notify the first
         Named Insured, in writing, to that effect.
                                                                                      Exhibit C 00023



BP 06 95 01 10                        © Insurance Services Office, Inc., 2009                          Page 5 of 8
      f. The exhaustion of the Employment-related                  f. We will determine the additional premium in
         Practices Liability Annual Aggregate Limit                   accordance with our rules and rates. In do-
         Of Insurance and the resulting end of our                    ing so, we may take into account the follow-
         duty to defend will not be affected by our                   ing:
         failure to comply with any of the provisions                (1) The exposures insured;
         of this Condition.
                                                                     (2) Previous types and amounts of insuran-
F. Extended Reporting Period                                             ce;
   1. For the purposes of the coverage provided by                   (3) Limit of Insurance available under this
      this endorsement, the following Extended Re-                       endorsement for future payment of dam-
      porting Period provisions are added:                               ages; and
      a. You will have the right to purchase an Ex-                  (4) Other related factors.
         tended Reporting Period from us if:
                                                                      The additional premium will not exceed
        (1) This endorsement is cancelled or not re-                  200% of the annual premium for this en-
            newed for any reason; or                                  dorsement.
        (2) We renew or replace this endorsement                  g. When the Extended Reporting Period is in
            with insurance that:                                     effect, we will provide a Supplemental Limit
              (a) Has a Retroactive Date later than the              of Insurance for any "claim" first made dur-
                  date shown in the Schedule of this                 ing the Extended Reporting Period.
                  endorsement; or                                     The Supplemental Limit of Insurance will be
              (b) Does not apply to "wrongful acts" on                equal to the dollar amount shown in the
                  a claims-made basis.                                Schedule of this endorsement under the
      b. An Extended Reporting Period, as specified                   Employment-related Practices Liability An-
         in Paragraph F.1.a. above, lasts three years                 nual Aggregate Limit Of Insurance.
         and is available only for an additional pre-                 Paragraph D.1.b. of this endorsement will
         mium.                                                        be amended accordingly.
      c. The Extended Reporting Period starts with             2. If the Extended Reporting Period is chosen by
         the end of the policy period. It does not ex-            checking the appropriate box in the Schedule
         tend the policy period or change the scope               of this endorsement, the provisions of this
         of the coverage provided. It applies only to             Paragraph 2. supercede any other provisions
         "claims" to which the following applies:                 of this endorsement to the contrary.
        (1) The "claim" is first made during the Ex-              a. An Extended Reporting Period is provided,
            tended Reporting Period;                                 as described in Paragraph F. Extended Re-
        (2) The "wrongful act" occurs before the                     porting Period.
            end of the policy period; and                         b. A Supplemental Limit of Insurance applies,
        (3) The "wrongful act" did not commence                      as set forth in Paragraph F.2.c. below, to
            before the Retroactive Date.                             "claims" first made during the Extended Re-
                                                                     porting Period. The limit is equal to the Em-
      d. You must give us a written request for the                  ployment-related Practices Liability Annual
         Extended Reporting Period within 30 days                    Aggregate Limit Of Insurance entered in the
         after the end of the policy period or the ef-               Schedule.
         fective date of cancellation, whichever
         comes first.                                             c. Paragraph D.1.b. of this endorsement is re-
                                                                     placed by the following:
      e. The Extended Reporting Period will not go
         into effect unless you pay the additional                    b. The Employment-related Practices Lia-
         premium promptly when due and any pre-                          bility Annual Aggregate Limit Of In-
         mium or deductible you owe us for cover-                        surance shown in the Schedule of this
         age provided under this endorsement.                            endorsement is the most we will pay for
         Once in effect, the Extended Reporting Pe-                      the sum of:
         riod may not be cancelled.                                     (1) All damages; and
                                                                        (2) All "defense expenses"
                                                                         because of all "wrongful acts" to which
                                                                         this insurance applies.


                                                                                      Exhibit C 00024



Page 6 of 8                           © Insurance Services Office, Inc., 2009                     BP 06 95 01 10
             However, the Employment-related Prac-                d. Reasonable expenses incurred by the in-
             tices Liability Annual Aggregate Limit Of               sured at our request to assist us in the in-
             Insurance does not apply to "claims" to                 vestigation or defense of the "claim", includ-
             which the Supplemental Limit Of Insur-                  ing actual loss of earnings up to $250 a day
             ance applies.                                           because of time off from work.
      d. The following is added to Paragraph D.1. of              e. Costs taxed against the insured in a "suit".
         this endorsement:                                        "Defense expenses" does not include salaries
          c. The Supplemental Limit Of Insurance is               and expenses of our "employees" or the in-
             the most we will pay for the sum of:                 sured's "employees" (other than those de-
            (1) All damages; and                                  scribed in Paragraph d. of this definition).
            (2) All "defense expenses"                         3. "Discrimination" means violation of a person's
                                                                  civil rights with respect to such person's race,
             because of all "wrongful acts" for                   color, national origin, religion, gender, marital
             "claims" first made during the Extended              status, age, sexual orientation or preference,
             Reporting Period.                                    physical or mental condition, or any other pro-
      e. Paragraph D.1. Employment-related Prac-                  tected class or characteristic established by
         tices Liability Annual Aggregate Limit Of                any federal, state or local statutes, rules or
         Insurance, as amended by Paragraphs                      regulations.
         F.2.c. and F.2.d., is otherwise unchanged             4. "Wrongful act" means one or more of the fol-
         and applies in its entirety.                             lowing offenses, but only when they are em-
       f. The Extended Reporting Period will not                  ployment-related:
          take effect unless the additional premium               a. Wrongful demotion or failure to promote,
          for it, as set forth in Paragraph F. Extended              negative evaluation, reassignment, or disci-
          Reporting Period, is paid when due. If that                pline of your current "employee" or wrongful
          premium is paid when due, the Extended                     refusal to employ;
          Reporting Period may not be cancelled.
                                                                  b. Wrongful termination, meaning the actual or
G. For the purposes of the coverage provided by this                 constructive termination of an "employee":
   endorsement, the following is added to Paragraph
   F. Liability And Medical Expenses Definitions                     (1) In violation or breach of applicable law
   of the policy:                                                        or public policy; or
   1. "Claim" means a "suit" or demand made by or                    (2) Which is determined to be in violation of
      for a current, former or prospective "employee"                    a contract or agreement, other than an
      for damages because of an alleged "wrongful                        employment contract or agreement,
      act".                                                              whether written, oral or implied, which
                                                                         stipulates financial consideration if such
   2. "Defense expenses" means payments allocat-                         financial consideration is due as the re-
      ed to a specific "claim" we investigate, settle or                 sult of a breach of the contract;
      defend, for its investigation, settlement or de-
      fense, including:                                           c. Wrongful denial of training, wrongful depri-
                                                                     vation of career opportunity, or breach of
      a. Fees and salaries of attorneys and parale-                  employment contract;
         gals we retain.
                                                                  d. Negligent hiring or supervision which re-
      b. Fees of attorneys the insured retains when,                 sults in any of the other offenses listed in
         by our mutual agreement or court order (or                  this definition;
         when required by administrative hearing or
         proceeding), the insured is given the right to           e. Retaliatory action against an "employee"
         retain defense counsel to defend against a                  because the "employee" has:
         "claim".                                                    (1) Declined to perform an illegal or unethi-
      c. All other litigation or administrative hearing                  cal act;
         expenses, including fees or expenses of ex-                 (2) Filed a complaint with a governmental
         pert witnesses hired either by us or by the                     authority or a "suit" against you or any
         defense attorney retained by an insured.                        other insured in which damages are
                                                                         claimed;
                                                                     (3) Testified against you or any other in-
                                                                         sured at a legal proceeding; or


                                                                                      Exhibit C 00025



BP 06 95 01 10                        © Insurance Services Office, Inc., 2009                         Page 7 of 8
        (4) Notified a proper authority of any aspect                 However, this exclusion does not apply to
            of your business operation which is ille-                 malicious prosecution of "employees" by
            gal;                                                      that insured. This exclusion does not affect
      f. Coercing an "employee" to commit an un-                      our duty to defend, in accordance with
         lawful act or omission within the scope of                   Paragraph A.1. of this endorsement, an in-
         that person's employment;                                    sured prior to determining, through the ap-
                                                                      propriate legal processes, that that insured
      g. Harassment;                                                  is responsible for a criminal, fraudulent or
      h. Libel, slander, invasion of privacy, defama-                 malicious act or omission.
         tion or humiliation; or                               2. The following is added to Paragraph G.4. of
       i. Verbal, physical, mental or emotional abuse             this endorsement:
          arising from "discrimination".                           j. Malicious prosecution.
H. If Employment-related Malicious Prosecution is
   chosen by checking the appropriate box in the
   Schedule of this endorsement, then the following
   provisions apply:
   1. Paragraph B.a. of this endorsement is replaced
      by the following:
      This insurance does not apply to:
      a. Criminal, Fraudulent Or Malicious Acts
         An insured's liability arising out of criminal,
         fraudulent or malicious acts or omissions by
         that insured.




                                                                                      Exhibit C 00026



Page 8 of 8                           © Insurance Services Office, Inc., 2009                     BP 06 95 01 10
POLICY NUMBER: GSP 524114-10                                                               BUSINESSOWNERS
                                                                                               BP 04 16 07 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          ADDITIONAL INSURED –
                       LESSOR OF LEASED EQUIPMENT
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

                                                  SCHEDULE

Name Of Additional Insured Person(s) Or Organization(s):
JP Morgan Chase Bank NA Its Successors and/or Assigns
10 S Dearborn St Fl 34 , Chicago, IL, 60603-2300


Description Of Leased Equipment:
Leased Equipment



Location(s) Of Leased Equipment:
7220 S Cicero Ave, Bedford Park, IL, 60629



Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


Section II – Liability is amended as follows:              B. With respect to the insurance afforded to these
A. The following is added to Paragraph C. Who Is An           additional insureds, this insurance does not apply
   Insured:                                                   to any "occurrence" which takes place after the
                                                              equipment lease expires.
   3. The person(s) or organization(s) shown in the
      Schedule is also an additional insured, but only     C. With respect to the insurance afforded to these
      with respect to liability for "bodily injury",          additional insureds, the following is added to
      "property damage" or "personal and advertising          Paragraph D. Liability And Medical Expenses
      injury" caused, in whole or in part, by your            Limits Of Insurance:
      maintenance, operation or use of equipment              If coverage provided to the additional insured is
      leased to you by such person(s) or                      required by a contract or agreement, the most we
      organization(s).                                        will pay on behalf of the additional insured is the
      However:                                                amount of insurance:
      a. The insurance afforded to such additional            1. Required by the contract or agreement; or
         insured only applies to the extent permitted         2. Available under the applicable Limits Of
         by law; and                                             Insurance shown in the Declarations;
      b. If coverage provided to the additional               whichever is less.
         insured is required by a contract or                 This endorsement shall not increase the
         agreement, the insurance afforded to such            applicable Limits Of Insurance shown in the
         additional insured will not be broader than          Declarations.
         that which you are required by the contract
         or agreement to provide for such additional
         insured.
                                                                                     Exhibit C 00027



BP 04 16 07 13                       © Insurance Services Office, Inc., 2012                         Page 1 of 1
                                                                                           BUSINESSOWNERS
                                                                                               BP 04 17 01 10

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM


The following exclusion is added to Paragraph B.1.                   (2) The spouse, child, parent, brother or
Exclusions     Applicable To Business Liability                          sister of that person as a consequence
Coverage in Section II Liability:                                        of "bodily injury" or "personal and adver-
         This insurance does not apply to "bodily in-                    tising injury" to that person at whom any
         jury" or "personal and advertising injury" to:                  of the employment-related practices de-
                                                                         scribed in Paragraph (a), (b) or (c)
         (1) A person arising out of any:                                above is directed.
            (a) Refusal to employ that person;                        This exclusion applies:
            (b) Termination of that person's em-                     (1) Whether the injury-causing event de-
                ployment; or                                             scribed in Paragraph (a), (b) or (c)
            (c) Employment-related practices, poli-                      above occurs before employment, dur-
                cies, acts or omissions, such as co-                     ing employment or after employment of
                ercion, demotion, evaluation, reas-                      that person;
                signment, discipline, defamation,                    (2) Whether the insured may be liable as an
                harassment, humiliation, discrimina-                     employer or in any other capacity; and
                tion or malicious prosecution di-
                rected at that person; or                            (3) To any obligation to share damages with
                                                                         or repay someone else who must pay
                                                                         damages because of the injury.




                                                                                      Exhibit C 00028



BP 04 17 01 10                          Insurance Services Office, Inc., 2009                           Page 1 of 1
POLICY NUMBER: GSP 524114-10                                                                BUSINESSOWNERS
                                                                                                BP 04 98 07 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            EMPLOYEE BENEFITS LIABILITY COVERAGE
                       THIS ENDORSEMENT PROVIDES CLAIMS-MADE COVERAGE.
                        PLEASE READ THE ENTIRE ENDORSEMENT CAREFULLY.


This endorsement modifies insurance provided under the following:

    BUSINESSOWNERS COVERAGE FORM

                                                   SCHEDULE

Employee Benefits Program:




                         Limit Of Insurance                         Deductible
        Each Employee                         Aggregate          (Each Employee)                 Premium
$                 1,000,000 $                          1,000,000 $         1,000 $

 Retroactive Date:
 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Section II – Liability is amended as follows:                        (b) Our right and duty to defend end
    1. The following is added to Paragraph A.                               when we have used up the
       Coverages:                                                           applicable Limit of Insurance in the
                                                                            payment      of     judgments     or
      Coverage – Employee Benefits Liability                                settlements.
      a. Insuring Agreement                                              No other obligation or liability to pay
         (1) We will pay those sums that the insured                     sums or perform acts or services is
             becomes legally obligated to pay as                         covered unless explicitly provided for
             damages because of any act, error or                        under Supplementary Payments.
             omission, of the insured, or of any other               (2) This insurance applies to damages only
             person for whose acts the insured is                        if:
             legally liable, to which this insurance
             applies. We will have the right and duty                   (a) The act, error or omission is
             to defend the insured against any "suit"                       negligently    committed   in  the
             seeking those damages. However, we                             "administration" of your "employee
             will have no duty to defend the insured                        benefit program";
             against any "suit" seeking damages to                      (b) The act, error or omission did not
             which this insurance does not apply. We                        take place before the Retroactive
             may, at our discretion, investigate any                        Date, if any, shown in the Schedule
             report of an act, error or omission and                        nor after the end of the policy period;
             settle any "claim" or "suit" that may                          and
             result. But:
            (a) The amount we will pay for damages
                is limited as described in Paragraph
                4. of this endorsement; and



                                                                                      Exhibit C 00029



BP 04 98 07 13                       © Insurance Services Office, Inc., 2012                          Page 1 of 6
              (c) A "claim" for damages, because of                  (4) Insufficiency Of Funds
                  an act, error or omission, is first                    Damages arising out of an insufficiency
                  made against any insured, in                           of funds to meet any obligations under
                  accordance with Paragraph a.(3)                        any plan included in the "employee
                  below, during the policy period or an                  benefit program".
                  Extended Reporting Period we
                  provide under Paragraph 6. of this                 (5) Inadequacy Of Performance Of
                  endorsement.                                           Investment/Advice      Given With
                                                                         Respect To Participation
        (3) A "claim" seeking damages will be
            deemed to have been made at the                              Any "claim" based upon:
            earlier of the following times:                             (a) Failure of any investment to perform;
              (a) When notice of such "claim" is                        (b) Errors in providing information on
                  received and recorded by any                              past performance of investment
                  insured or by us, whichever comes                         vehicles; or
                  first; or
                                                                        (c) Advice given to any person with
              (b) When we make settlement in                                respect to that person's decision to
                  accordance with Paragraph a.(1)                           participate or not to participate in any
                  above.                                                    plan included in the "employee
              A "claim" received and recorded by the                        benefit program".
              insured within 60 days after the end of                (6) Workers' Compensation And Similar
              the policy period will be considered to                    Laws
              have been received within the policy                       Any "claim" arising out of your failure to
              period, if no subsequent policy is
                                                                         comply with the mandatory provisions of
              available to cover the "claim".
                                                                         any       workers'          compensation,
        (4) All "claims" for damages made by an                          unemployment compensation insurance,
            "employee" because of any act, error or                      social security or disability benefits law
            omission, or a series of related acts,                       or any similar law.
            errors or omissions, including damages
                                                                     (7) ERISA
            claimed     by    such      "employee's"
            dependents and beneficiaries, will be                        Damages for which any insured is liable
            deemed to have been made at the time                         because of liability imposed on a
            the first of those "claims" is made                          fiduciary by the Employee Retirement
            against any insured.                                         Income Security Act of 1974, as now or
                                                                         hereafter amended, or by any similar
      b. Exclusions
                                                                         federal, state or local laws.
         This insurance does not apply to:
                                                                     (8) Available Benefits
        (1) Dishonest, Fraudulent, Criminal Or
                                                                         Any "claim" for benefits to the extent that
            Malicious Act
                                                                         such benefits are available, with
              Damages arising out of any intentional,                    reasonable effort and cooperation of the
              dishonest, fraudulent, criminal or                         insured, from the applicable funds
              malicious act, error or omission                           accrued or other collectible insurance.
              committed by any insured, including the
                                                                     (9) Taxes, Fines Or Penalties
              willful or reckless violation of any
              statute.                                                   Taxes, fines or penalties, including
                                                                         those imposed under the Internal
        (2) Bodily Injury, Property Damage Or
                                                                         Revenue Code or any similar state or
            Personal And Advertising Injury
                                                                         local law.
              "Bodily injury", "property damage" or
                                                                    (10) Employment-related Practices
              "personal and advertising injury".
                                                                         Damages arising out of wrongful
        (3) Failure To Perform A Contract                                termination        of   employment,
              Damages arising out of failure of                          discrimination or other employment-
              performance of contract by any insurer.                    related practices.




                                                                                      Exhibit C 00030



Page 2 of 6                           © Insurance Services Office, Inc., 2012                      BP 04 98 07 13
   2. For the purposes of the coverage provided by                  (3) Subject to the Aggregate Limit, the Each
      this endorsement:                                                 Employee Limit is the most we will pay
      a. All references to Supplementary Payments                       for all damages sustained by any one
         are replaced by Supplementary Payments                         "employee",      including     damages
         and Employee Benefits Liability.                               sustained     by   such    "employee's"
                                                                        dependents and beneficiaries, as a
      b. Paragraphs f.(1)(b), f.(2) and f.(3)                           result of:
         Coverage Extension – Supplementary
         Payments do not apply.                                        (a) An act, error or omission; or
   3. For the purposes of the coverage provided by                     (b) A series of related acts, errors or
      this endorsement, Paragraph C.2. Who Is An                           omissions;
      Insured is replaced by the following:                             negligently     committed       in   the
      2. Each of the following is also an insured:                      "administration" of your       "employee
                                                                        benefit program".
         a. Each of your "employees" who is or was
            authorized to administer your "employee                     However, the amount paid under this
            benefit program".                                           endorsement shall not exceed, and will
                                                                        be subject to, the limits and restrictions
         b. Any     persons,       organizations    or                  that apply to the payment of benefits in
            "employees" having proper temporary                         any plan included in the "employee
            authorization     to    administer    your                  benefit program".
            "employee benefit program" if you die,
            but only until your legal representative is              The Limits of Insurance of this endorsement
            appointed.                                               apply separately to each consecutive
                                                                     annual period and to any remaining period
         c. Your legal representative if you die, but                of less than 12 months, starting with the
            only with respect to duties as such. That                beginning of the policy period shown in the
            representative will have all your rights                 Declarations of the policy to which this
            and duties under this endorsement.                       endorsement is attached, unless the policy
   4. For the purposes of the coverage provided by                   period is extended after issuance for an
      this endorsement, Paragraph D. Liability And                   additional period of less than 12 months. In
      Medical Expenses Limits Of Insurance is                        that case, the additional period will be
      replaced by the following:                                     deemed part of the last preceding period for
                                                                     purposes of determining the Limits of
      a. Limits Of Insurance
                                                                     Insurance.
        (1) The Limits Of Insurance shown in the
            Schedule and the rules below fix the                 b. Deductible
            most we will pay regardless of the                      (1) Our obligation to pay damages on
            number of:                                                  behalf of the insured applies only to the
                                                                        amount of damages in excess of the
            (a) Insureds;
                                                                        deductible amount stated in the
           (b) "Claims" made or "suits" brought;                        Schedule as applicable to Each
            (c) Persons or organizations making                         Employee. The Limits of Insurance shall
                "claims" or bringing "suits";                           not be reduced by the amount of this
                                                                        deductible.
           (d) Acts, errors or omissions; or
                                                                    (2) The deductible amount stated in the
            (e) Benefits included in your "employee
                                                                        Schedule applies to all damages
                benefit program".
                                                                        sustained by any one "employee",
        (2) The Aggregate Limit is the most we will                     including such "employee's" dependents
            pay for all damages because of acts,                        and beneficiaries, because of all acts,
            errors   or    omissions      negligently                   errors or omissions to which this
            committed in the "administration" of your                   insurance applies.
            "employee benefit program".




                                                                                     Exhibit C 00031



BP 04 98 07 13                       © Insurance Services Office, Inc., 2012                         Page 3 of 6
        (3) The terms of this insurance, including                       (4) Assist us, upon our request, in the
            those with respect to:                                           enforcement of any right against any
              (a) Our right and duty to defend any                           person or organization which may be
                  "suits" seeking those damages; and                         liable to the insured because of an
                                                                             act, error or omission to which this
              (b) Your duties, and the duties of any                         insurance may also apply.
                  other involved insured, in the event
                  of an act, error or omission, or                     d. No insured will, except at that insured's
                  "claim";                                                own cost, voluntarily make a payment,
                                                                          assume any obligation or incur any
              apply irrespective of the application of                    expense without our consent.
              the deductible amount.
                                                                6. For the purposes of the coverage provided by
        (4) We may pay any part or all of the                      this endorsement, the following Extended
            deductible amount to effect settlement                 Reporting Period provisions are added:
            of any "claim" or "suit" and, upon
            notification of the action taken, you shall            Extended Reporting Period
            promptly reimburse us for such part of                 a. You will have the right to purchase an
            the deductible amount as we have paid.                    Extended Reporting Period, as described
   5. For the purposes of the coverage provided by                    below, if:
      this endorsement, Paragraph E.2. Duties In                      (1) This endorsement is canceled or not
      The Event Of Occurrence, Offense, Claim                             renewed; or
      Or Suit is replaced by the following:                           (2) We renew or replace this endorsement
      2. Duties In The Event Of An Act, Error Or                          with insurance that:
         Omission, Or Claim Or Suit                                      (a) Has a Retroactive Date later than the
         a. You must see to it that we are notified                          date shown in the Schedule of this
            as soon as practicable of an act, error or                       endorsement; or
            omission which may result in a "claim".                      (b) Does not apply to an act, error or
            To the extent possible, notice should                            omission on a claims-made basis.
            include:
                                                                   b. The Extended Reporting Period does not
              (1) What the act, error or omission was                 extend the policy period or change the
                  and when it occurred; and                           scope of coverage provided. It applies only
              (2) The names and addresses of                          to "claims" for acts, errors or omissions that
                  anyone who may suffer damages as                    were first committed before the end of the
                  a result of the act, error or omission.             policy period but not before the Retroactive
         b. If a "claim" is made or "suit" is brought                 Date, if any, shown in the Schedule. Once
            against any insured, you must:                            in effect, the Extended Reporting Period
                                                                      may not be canceled.
              (1) Immediately record the specifics of
                  the "claim" or "suit" and the date               c. An Extended Reporting Period of five years
                  received; and                                       is available, but only by an endorsement
                                                                      and for an extra charge.
              (2) Notify us as soon as practicable.
                                                                       You must give us a written request for the
              You must also see to it that we receive                  endorsement within 60 days after the end of
              written notice of the "claim" or "suit" as               the policy period. The Extended Reporting
              soon as practicable.                                     Period will not go into effect unless you pay
         c. You and any other involved insured                         the additional premium promptly when due.
            must:                                                      We will determine the additional premium in
              (1) Immediately send us copies of any                    accordance with our rules and rates. In
                  demands, notices, summonses or                       doing so, we may take into account the
                  legal papers received in connection                  following:
                  with the "claim" or "suit";                         (1) The "employee        benefit    programs"
              (2) Authorize us to obtain records and                      insured;
                  other information;                                  (2) Previous types       and     amounts    of
              (3) Cooperate      with   us    in    the                   insurance;
                  investigation or settlement of the
                  "claim" or defense against the "suit";
                  and
                                                                                       Exhibit C 00032



Page 4 of 6                            © Insurance Services Office, Inc., 2012                       BP 04 98 07 13
        (3) Limits of Insurance available under this             b. "Cafeteria plans" means plans authorized
            endorsement for future payment of                       by applicable law to allow employees to
            damages; and                                            elect to pay for certain benefits with pretax
        (4) Other related factors.                                  dollars.
         The additional premium will not exceed                  c. "Claim" means any demand, or "suit", made
         100% of the annual premium for this                        by an "employee" or an "employee's"
         endorsement.                                               dependents and beneficiaries, for damages
                                                                    as the result of an act, error or omission.
         The       Extended       Reporting      Period
         endorsement applicable to this coverage                 d. "Employee benefit program" means a
         shall set forth the terms, not inconsistent                program providing some or all of the
         with this section, applicable to the Extended              following benefits to "employees", whether
         Reporting Period, including a provision to                 provided through a "cafeteria plan" or
         the effect that the insurance afforded for                 otherwise:
         "claims" first received during such period is              (1) Group life insurance; group accident or
         excess over any other valid and collectible                    health insurance; dental, vision and
         insurance available under policies in force                    hearing plans; and flexible spending
         after the Extended Reporting Period.                           accounts, provided that no one other
      d. If the Extended Reporting Period is in                         than an "employee" may subscribe to
         effect, we will provide an Extended                            such benefits and such benefits are
         Reporting Period Aggregate Limit of                            made generally available to those
         Insurance described below, but only for                        "employees" who satisfy the plan's
         claims first received and recorded during                      eligibility requirements;
         the Extended Reporting Period.                             (2) Profit sharing plans, employee savings
         The Extended Reporting Period Aggregate                        plans, employee stock ownership plans,
         Limit of Insurance will be equal to the dollar                 pension plans and stock subscription
         amount shown in the Schedule of this                           plans, provided that no one other than
         endorsement under Limits of Insurance.                         an "employee" may subscribe to such
                                                                        benefits and such benefits are made
         Paragraph 4.a.(2) of this endorsement will                     generally available to all "employees"
         be amended accordingly. The Each                               who are eligible under the plan for such
         Employee Limit shown in the Schedule will                      benefits;
         then continue to apply as set forth in
         Paragraph 4.a.(3).                                         (3) Unemployment         insurance,   social
                                                                        security benefits, workers' compensation
   7. For the purposes of the coverage provided by                      and disability benefits;
      this endorsement, the following definitions are
      added to Paragraph F. Liability And Medical                   (4) Vacation plans, including buy and sell
      Expenses Definitions:                                             programs; leave of absence programs,
                                                                        including military, maternity, family and
      a. "Administration" means:                                        civil leave; tuition assistance plans;
        (1) Providing information to "employees",                       transportation and health club subsidies;
            including    their   dependents      and                    and
            beneficiaries, with respect to eligibility              (5) Any other similar benefits designated in
            for or scope of "employee benefit                           the Schedule or added thereto by
            programs";                                                  endorsement.
        (2) Handling records in connection with the           8. For the purposes of the coverage provided by
            "employee benefit program"; or                       this endorsement, Paragraphs F.5. and F.18.
        (3) Effecting, continuing or terminating any             Liability And Medical Expenses Definitions
            "employee's" participation in any benefit            are replaced by the following:
            included in the "employee benefit                    5. "Employee" means a person actively
            program".                                               employed, formerly employed, on leave of
         However, "administration" does not include                 absence or disabled, or retired. "Employee"
         handling payroll deductions.                               includes a "leased worker". "Employee"
                                                                    does not include a "temporary worker".




                                                                                     Exhibit C 00033



BP 04 98 07 13                       © Insurance Services Office, Inc., 2012                        Page 5 of 6
     18. "Suit" means a civil proceeding in which        B. Section III – Common Policy Conditions is
         damages because of an act, error or                amended as follows:
         omission to which this insurance applies           For the purposes of the coverage provided by this
         are alleged. "Suit" includes:                      endorsement, Paragraph 2. under H. Other
         a. An arbitration proceeding in which such         Insurance is replaced by the following:
            damages are claimed and to which the            2. This Employee Benefits Liability insurance is
            insured must submit or does submit with            excess over any of the other insurance,
            our consent; or                                    whether primary, excess, contingent or on any
         b. Any other alternative dispute resolution           other basis:
            proceeding in which such damages are               That is effective prior to the beginning of the
            claimed and to which the insured                   policy period shown in the Declarations of the
            submits with our consent.                          policy to which this endorsement is attached
                                                               and that applies to an act, error or omission on
                                                               other than a claims-made basis, if:
                                                               a. No Retroactive Date is shown in the
                                                                  Schedule of this endorsement; or
                                                               b. The other insurance has a policy period
                                                                  which continues after the Retroactive Date
                                                                  shown in the Schedule of this endorsement.




                                                                                  Exhibit C 00034



Page 6 of 6                        © Insurance Services Office, Inc., 2012                    BP 04 98 07 13
POLICY NUMBER: GSP 524114-10                                                                BUSINESSOWNERS
                                                                                                BP 05 15 01 15

    THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
    RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
   INSURANCE ACT. THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR
  CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

                       DISCLOSURE PURSUANT TO
                     TERRORISM RISK INSURANCE ACT
                                                  SCHEDULE

 SCHEDULE – PART I
 Terrorism Premium (Certified Acts)      $

 Additional information, if any, concerning the terrorism premium:




 SCHEDULE – PART II
 Federal share of terrorism losses       80 % Year: 20        20
 (Refer to Paragraph B. in this endorsement.)

 Federal share of terrorism losses            % Year: 20      21
 (Refer to Paragraph B. in this endorsement.)

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Disclosure Of Premium                                   B. Disclosure Of Federal Participation In Payment
   In accordance with the federal Terrorism Risk              Of Terrorism Losses
   Insurance Act, we are required to provide you with          The United States Government, Department of the
   a notice disclosing the portion of your premium, if         Treasury, will pay a share of terrorism losses
   any, attributable to coverage for terrorist acts            insured under the federal program. The federal
   certified under the Terrorism Risk Insurance Act.           share equals a percentage (as shown in Part II of
   The portion of your premium attributable to such            the Schedule of this endorsement or in the policy
   coverage is shown in the Schedule of this                   Declarations) of that portion of the amount of such
   endorsement or in the policy Declarations.                  insured losses that exceeds the applicable insurer
                                                               retention. However, if aggregate insured losses
                                                               attributable to terrorist acts certified under the
                                                               Terrorism Risk Insurance Act exceed $100 billion
                                                               in a calendar year, the Treasury shall not make
                                                               any payment for any portion of the amount of such
                                                               losses that exceeds $100 billion.



                                                                                      Exhibit C 00035



BP 05 15 01 15                       © Insurance Services Office, Inc., 2015                         Page 1 of 2
C. Cap On Insurer Participation In Payment Of
   Terrorism Losses
   If aggregate insured losses attributable to terrorist
   acts certified under the Terrorism Risk Insurance
   Act exceed $100 billion in a calendar year and we
   have met our insurer deductible under the
   Terrorism Risk Insurance Act, we shall not be
   liable for the payment of any portion of the amount
   of such losses that exceeds $100 billion, and in
   such case insured losses up to that amount are
   subject to pro rata allocation in accordance with
   procedures established by the Secretary of the
   Treasury.




                                                                                Exhibit C 00036



Page 2 of 2                           © Insurance Services Office, Inc., 2015              BP 05 15 01 15
POLICY NUMBER: GSP 524114-10                                                                 BUSINESSOWNERS
                                                                                                 BP 12 03 01 10

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               LOSS PAYABLE CLAUSES
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM

                                                   SCHEDULE

Premises Number:                 Building Number:         0       Applicable Clause                         B
                                                                  (Indicate Paragraph A, B, C or D):
Description Of Property: Leased Equipment

Loss Payee Name:             JP Morgan Chase Bank NA Its Successors and/or Assigns


Loss Payee Address:          10 S Dearborn St Fl 34, Chicago, IL 60603-2300


Premises Number:                 Building Number:                 Applicable Clause
                                                                  (Indicate Paragraph A, B, C or D):
Description Of Property:

Loss Payee Name:

Loss Payee Address:

Premises Number:                 Building Number:                 Applicable Clause
                                                                  (Indicate Paragraph A, B, C or D):
Description Of Property:

Loss Payee Name:

Loss Payee Address:

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


Nothing in this endorsement increases the applicable          A. Loss Payable Clause
Limit of Insurance. We will not pay any Loss Payee              For Covered Property in which both you and a
more than their financial interest in the Covered Prop-         Loss Payee shown in the Schedule or in the Dec-
erty, and we will not pay more than the applicable              larations have an insurable interest, we will:
Limit of Insurance on the Covered Property.
                                                                 1. Adjust losses with you; and 2.Pay any claim for
The following is added to the Loss Payment Property                 loss or damage jointly to you and the Loss
Loss Condition in Section I – Property, as shown in                 Payee, as interests may appear.
the Declarations or in the Schedule:




                                                                                       Exhibit C 00037



BP 12 03 01 10                        © Insurance Services Office, Inc., 2009                          Page 1 of 2
B. Lender's Loss Payable Clause                                3. If we cancel this policy, we will give written
   1. The Loss Payee shown in the Schedule or in                  notice to the Loss Payee at least:
      the Declarations is a creditor, including a mort-           a. 10 days before the effective date of cancel-
      gageholder or trustee, whose interest in that                  lation if we cancel for your nonpayment of
      Covered Property is established by such writ-                  premium; or
      ten instruments as:                                         b. 30 days before the effective date of cancel-
      a. Warehouse receipts;                                         lation if we cancel for any other reason.
      b. A contract for deed;                                  4. If we do not renew this policy, we will give
      c. Bills of lading;                                         written notice to the Loss Payee at least 10
                                                                  days before the expiration date of this policy.
      d. Financing statements; or
                                                            C. Contract Of Sale Clause
      e. Mortgages, deeds of trust, or security
         agreements.                                           1. The Loss Payee shown in the Schedule or in
                                                                  the Declarations is a person or organization
   2. For Covered Property in which both you and a                you have entered a contract with for the sale of
      Loss Payee have an insurable interest:                      Covered Property.
      a. We will pay for covered loss or damage to             2. For Covered Property in which both you and
         each Loss Payee in their order of prece-                 the Loss Payee have an insurable interest, we
         dence, as interests may appear.                          will:
      b. The Loss Payee has the right to receive                  a. Adjust losses with you; and
         loss payment even if the Loss Payee has
         started foreclosure for similar action on the            b. Pay any claim for loss or damage jointly to
         Covered Property.                                           you and the Loss Payee, as interests may
                                                                     appear.
      c. If we deny your claim because of your acts
         or because you have failed to comply with             3. The following is added to Paragraph H. Other
         the terms of this policy, the Loss Payee will            Insurance in Section III – Common Policy
         still have the right to receive loss payment if          Conditions:
         the Loss Payee:                                          For Covered Property that is the subject of a
         (1) Pays any premium due under this policy               contract of sale, the word "you" includes the
             at our request if you have failed to do              Loss Payee.
             so;                                            D. Building Owner Loss Payable Clause
         (2) Submits a signed, sworn proof of loss             1. The Loss Payee shown in the Schedule or in
             within 60 days after receiving notice                the Declarations is the owner of the described
             from us of your failure to do so; and                building, in which you are a tenant.
         (3) Has notified us of any change in owner-           2. We will adjust losses to the described building
             ship, occupancy or substantial change                with the Loss Payee. Any loss payment made
             in risk known to the Loss Payee.                     to the Loss Payee will satisfy your claims
         All of the terms of Section I – Property will            against us for the owner's property.
         then apply directly to the Loss Payee.                3. We will adjust losses to tenant's improvements
      d. If we pay the Loss Payee for any loss or                 and betterments with you, unless the lease
         damage and deny payment to you because                   provides otherwise.
         of your acts or because you have failed to
         comply with the terms of this policy:
         (1) The Loss Payee's rights will be trans-
             ferred to us to the extent of the amount
             we pay; and
         (2) The Loss Payee's right to recover the
             full amount of the Loss Payee's claim
             will not be impaired.
              At our option, we may pay to the Loss
              Payee the whole principal on the debt
              plus any accrued interest. In this event,
              you will pay your remaining debt to us.


                                                                                      Exhibit C 00038



Page 2 of 2                           © Insurance Services Office, Inc., 2009                      BP 12 03 01 10
                                                                                                BUSINESSOWNERS
                                                                                                    TBP453 (11-16)

 UNDERTHIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                WATER BACK-UP AND SUMP OVERFLOW
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM
                                                       SCHEDULE

                             Covered Property Annual Aggregate             Business Income And Extra Expense
                                     Limit Of Insurance                    Annual Aggregate Limit Of Insurance
Policy Limit                $ 25,000                                      $ 25,000



                                         OPTIONAL LOCATION SCHEDULE

                                                                            Business Income And Extra Expense
   Premises Number              Covered Property Limit Per Location           Limit Of Insurance Per Location
                            $                                              $
                            $                                              $

                            $                                              $

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


 A. We will pay for direct physical loss or damage to              after, that policy year. With respect to an occurrence
    Covered Property, covered under Businessowners                 which begins in one policy year and continues or
    Special Property Coverage Form, caused by or                   results in additional loss or damage in a subsequent
    resulting from:                                                policy year(s), all loss or damage is deemed to be
     1. Water or waterborne material which backs up                sustained in the policy year in which the occurrence
        through or overflows or is otherwise                       began.
        discharged from an interior sewer or drain; or          C. We will not pay for loss in any one occurrence until
     2. Water or waterborne material which overflows               the amount of the adjusted loss exceeds the
        or is otherwise discharged from a sump, sump               deductible shown in the Declarations. We will then
        pump or related equipment, even if the                     pay the amount of the adjusted loss in excess of the
        overflow or discharge results from mechanical              deductible, up to the applicable Limit of Insurance.
        breakdown of an interior sump pump or its               D. The following provisions apply to Businessowners
        related equipment.                                         Special Property Coverage Form and supersede
 B. The most we will pay for the coverage provided                 any provisions to the contrary:
    under this endorsement for all direct physical loss or         The most we will pay under:
    damage to Covered Property is the Covered
    Property Annual Aggregate Limit of Insurance                   1. Paragraph A.5.g. Business Income Additional
    shown in the Schedule.                                            Coverage for all loss of Business Income you
                                                                      sustain due to the necessary suspension of your
     The applicable Covered Property Annual Aggregate                 "operations" caused by direct physical loss or
     Limit of Insurance is the most we will pay under this            damage to Covered Property as described in
     endorsement for the total of all direct physical loss or         Paragraph A. of this endorsement; and
     damage at all locations sustained in any one policy
     year, regardless of the number of occurrences that            2. Paragraph A.5.h. Extra Expense Additional
     cause or result in loss or damage to Covered                     Coverage for all necessary Extra Expense you
     Property. If loss payment for the first such                     incur and that you would not have incurred if
     occurrence does not exhaust the applicable Limit of              there had been no direct physical loss or damage
     Insurance, then the balance of that Limit is available           to Covered PropertyExhibit C 00039in Paragraph
                                                                                           as described
     for subsequent loss or damage sustained in, but not              A. of this endorsement;

TBP453 (11-16)                               © Society Insurance, Inc., 2016                               Page 1 of 2
   is the Business Income And Extra Expense               E. If the optional Location Schedule is completed, the
   Annual Aggregate Limit of Insurance shown in the          most we will pay for the coverage provided under
   Schedule.                                                 this endorsement for all direct physical loss or
                                                             damage to Covered Property is the Limit per
   The applicable Business Income And Extra
                                                             Location shown in the Schedule.
   Expense Annual Aggregate Limit of Insurance is
   the most we will pay under this endorsement for        F. All exclusions under Businessowners Special
   the total of all loss of Business Income you              Property Coverage Form apply except B.1.g.(3).
   sustain and Extra Expense you incur at all
                                                          G. The following Additional Coverages do not apply
   locations in any one policy year, regardless of the
   number of occurrences that cause or result in loss        to this Water Back-Up and Sump Overflow
                                                             endorsement:
   or damage to Covered Property as described in
   Paragraph A. of this endorsement. If loss payment             A.5.a., Debris Removal,
   during an earlier "period of restoration" in the              A.5.e., Water Damage, Other Liquids, Powder
   policy year does not exhaust the applicable Limit                     or Molten Material Damage,
   of Insurance, then the balance of that Limit is
   available for loss of Business Income you sustain             A.5.j., Pollution Clean Up And Removal,
   or Extra Expense you incur during a subsequent                A.5.o., Ordinance Or Law
   "period of restoration" beginning in, but not after,          A.5.m., Contamination
   that policy year. With respect to a "period of
   restoration" which begins in one policy year and
   continues in a subsequent policy year(s), all loss
   of Business Income you sustain or Extra Expense
   you incur is deemed to be sustained or incurred in
   the policy year in which the "period of restoration"
   began.




                                                                                      Exhibit C 00040



Page 2 of 2                               © Society Insurance, Inc., 2016                        TBP453 (11-16)
                                                                                               BUSINESSOWNERS
                                                                                                     TBP-9(10-08)


      BUSINESSOWNERS COMMON POLICY CONDITIONS


All coverages of this policy are subject to the following
conditions.
A. Cancellation                                                              (a) Furnish necessary heat, water,
   1. The first Named Insured shown in the                                       sewer service or electricity for 30
      Declarations may cancel this policy by mailing                             consecutive days or more, except
      or delivering to us advance written notice of                              during a period of seasonal
      cancellation.                                                              unoccupancy; or
   2. We may cancel this policy by mailing or                                (b) Pay property taxes that are owing
      delivering to the first Named Insured written                              and have been outstanding for more
      notice of cancellation at least:                                           than one year following the date due,
                                                                                 except that this provision will not
       a. 5 days before the effective date of                                    apply where you are in a bona fide
          cancellation if any one of the following                               dispute with the taxing authority
          conditions exists at any building that is                              regarding payment of such taxes.
          Covered Property in this policy.
                                                                    b. 10 days before the effective date of
          (1) The building has been vacant or                          cancellation if we cancel for nonpayment of
              unoccupied 60 or more consecutive                        premium.
              days. This does not apply to:
                                                                    c. 30 days before the effective date of
              (a) Seasonal unoccupancy; or                             cancellation if we cancel for any other
              (b) Buildings    in   the    course      of              reason.
                  construction, renovation or addition.          3. We will mail or deliver our notice to the first
              Buildings with 65% or more of the rental              Named Insured's last mailing address known to
              units or floor area vacant or unoccupied              us.
              are considered unoccupied under this               4. Notice of cancellation will state the effective
              provision.                                            date of cancellation. The policy period will end
          (2) After damage by a covered cause of                    on that date.
              loss, permanent repairs to the building:           5. If this policy is cancelled, we will send the first
              (a) Have not started, and                             Named Insured any premium refund due. If we
              (b) Have not been contracted for,                     cancel, the refund will be pro rata. If the first
                                                                    Named Insured cancels, the refund may be
                  within 30 days of initial payment of              less than pro rata. The cancellation will be
                  loss.                                             effective even if we have not made or offered a
          (3) The building has:                                     refund.
              (a) An outstanding order to vacate;                6. If notice is mailed, proof of mailing will be
                                                                    sufficient proof of notice.
              (b) An outstanding demolition order; or
                                                             B. Changes
              (c) Been    declared        unsafe       by
                  governmental authority.                        This policy contains all the agreements between
                                                                 you and us concerning the insurance afforded. The
          (4) Fixed and salvageable items have been
                                                                 first Named Insured shown in the Declarations is
              or are being removed from the building
                                                                 authorized to make changes in the terms of this
              and are not being replaced. This does
                                                                 policy with our consent. This policy's terms can be
              not apply to such removal that is
                                                                 amended or waived only by endorsement issued
              necessary or      incidental to    any
                                                                 by us and made a part of this policy.
              renovation or remodeling.
          (5) Failure to:

                                                                                          Exhibit C 00041



TBP-9(10-08)                                    ISO Properties, Inc., 2001                                  Page 1 of 4
C. Concealment, Misrepresentation Or Fraud
   This policy is void in any case of fraud by you as it     G. Liberalization
   relates to this policy at any time. It is also void if       If we adopt any revision that would broaden the
   you or any other insured, at any time, intentionally         coverage under this policy without additional
   conceal or misrepresent a material fact                      premium within 45 days prior to or during the policy
   concerning:                                                  period, the broadened coverage will immediately
   1. This policy;                                              apply to this policy.
   2. The Covered Property;                                  H. Other Insurance
   3. Your interest in the Covered Property; or                  1. If there is other insurance covering the same
                                                                    loss or damage, we will pay only for the amount
   4. A claim under this policy.                                    of covered loss or damage in excess of the
D. Examination Of Your Books And Records                            amount due from that other insurance, whether
   We may examine and audit your books and                          you can collect on it or not. But we will not pay
   records as they relate to this policy at any time                more than the applicable Limit of Insurance of
   during the policy period and up to three years                   Section I Property.
   afterward.                                                    2. Business Liability Coverage is excess over:
E. Inspections And Surveys                                          a. Any other insurance that insures for direct
   1. We have to right to:                                             physical loss or damage; or
      a. Make inspections and surveys at any time;                  b. Any other primary insurance available to
                                                                       you covering liability for damages arising
      b. Give you reports on the conditions we find;                   out of the premises or operations for which
         and                                                           you have been added as an additional
      c. Recommend changes.                                            insured by attachment of an endorsement.
   2. We are not obligated to make any inspections,              3. When this insurance is excess, we will have no
      surveys, reports or recommendations and any                   duty under Business Liability Coverage to
      such actions we do undertake relate only to                   defend any claim or "suit" that any other insurer
      insurability and the premiums to be charged.                  has a duty to defend. If no other insurer
      We do not make safety inspections. We do not                  defends, we will undertake to do so; but we will
      undertake to perform the duty of any person or                be entitled to the insured's rights against all
      organization to provide for the health or safety              those other insurers.
      of workers or the public. And we do not warrant         I. Premiums
      that conditions:
                                                                 1. The first Named       Insured   shown    in   the
      a. Are safe and healthful; or                                 Declarations:
      b. Comply with laws, regulations, codes or                    a. Is responsible for the payment of all
         standards.                                                    premiums; and
   3. Paragraphs 1. and 2. of this condition apply not              b. Will be the payee for any return premiums
      only to us, but also to any rating, advisory, rate               we pay.
      service or similar organization which makes
      insurance inspections, surveys, reports or                 2. The premium shown in the Declarations was
      recommendations.                                              computed based on rates in effect at the time
                                                                    the policy was issued. On each renewal,
   4. Paragraph 2. of this condition does not apply to              continuation or anniversary of the effective date
      any      inspections,   surveys,    reports    or             of this policy, we will compute the premium in
      recommendations we may make relative to                       accordance with our rates and rules then in
      certification, under state or municipal statutes,             effect.
      ordinances or regulations, of boilers, pressure
      vessels or elevators.                                      3. With our consent, you may continue this policy
                                                                    in force by paying a continuation premium for
F. Insurance Under Two Or More Coverages                            each successive one-year period. The premium
   If two or more of this policy's coverages apply to               must be:
   the same loss or damage, we will not pay more                    a. Paid to us prior to the anniversary date; and
   than the actual amount of the loss or damage.
                                                                    b. Determined in accordance with Paragraph
                                                                       2. above.



                                                                                        Exhibit C 00042



Page 2 of 4                        Copyright, Insurance Services Office, Inc., 2000                   TBP-9(10-08)
     Our forms then in effect will apply. If you do not       4. Undeclared exposures or change in your
     pay the continuation premium, this policy will              business operation, acquisition or use of
     expire on the first anniversary date that we                locations may occur during the policy period
     have not received the premium.                              that are not shown in the Declarations. If so, we
                                                                 may require an additional premium. That
                                                                 premium will be determined in accordance with
                                                                 our rates and rules then in effect.
                                                          J. Premium Audit
                                                              1. This policy is subject to audit if a premium
                                                                 designated as an advance premium is shown in
                                                                 the Declarations. We will compute the final
                                                                 premium due when we determine your actual
                                                                 exposures.
                                                              2. Premium shown in this policy as advance
                                                                 premium is a deposit premium only. At the
                                                                 close of each audit period we will compute the
                                                                 earned premium for that period and send notice
                                                                 to the first Named Insured. The due date for
                                                                 audit premiums is the date shown as the due
                                                                 date on the bill. If the sum of the advance and
                                                                 audit premiums paid for the policy period is
                                                                 greater than the earned premium, we will return
                                                                 the excess to the first Named Insured.
                                                              3. The first Named Insured must keep records of
                                                                 the information we need for premium
                                                                 computation, and send us copies at such times
                                                                 as we may request.
                                                          K. Transfer Of Rights Of Recovery Against Others
                                                             To Us
                                                              1. Applicable     to     Businessowners        Property
                                                                 Coverage:
                                                                 If any person or organization to or for whom we
                                                                 make payment under this policy has rights to
                                                                 recover damages from another, those rights
                                                                 are transferred to us to the extent of our
                                                                 payment. That person or organization must do
                                                                 everything necessary to secure our rights and
                                                                 must do nothing after loss to impair them. But
                                                                 you may waive your rights against another party
                                                                 in writing:
                                                                 a. Prior to a loss to your Covered Property.
                                                                 b. After a loss to your Covered Property only if,
                                                                    at time of loss, that party is one of the
                                                                    following:
                                                                    (1) Someone insured by this insurance;
                                                                    (2) A business firm:
                                                                       (a) Owned or controlled by you; or
                                                                       (b) That owns or controls you; or
                                                                    (3) Your tenant.
                                                                 You may also accept the usual bills of lading or
                                                                 shipping receipts limiting the liability of carriers.
                                                                 This will not restrict your insurance.
                                                              2. Applicable     to     Businessowners         Liability
                                                                 Coverage:
                                                                                       Exhibit C 00043



TBP-9(10-08)                    Copyright, Insurance Services Office, Inc., 2000                          Page 3 of 4
      If the insured has rights to recover all or part of
      any payment we have made under this policy,
      those rights are transferred to us. The insured
      must do nothing after loss to impair them. At
      our request, the insured will bring "suit" or
      transfer those rights to us and help us enforce
      them. This condition does not apply to Medical
      Expenses Coverage.
L. Transfer Of Your Rights And Duties Under This
   Policy
   Your rights and duties under this policy may not be
   transferred without our written consent except in
   the case of death of an individual Named Insured.
   If you die, your rights and duties will be transferred
   to your legal representative but only while acting
   within the scope of duties as your legal
   representative. Until your legal representative is
   appointed, anyone having proper temporary
   custody of your property will have your rights and
   duties but only with respect to that property.




                                                                                     Exhibit C 00044



Page 4 of 4                       Copyright, Insurance Services Office, Inc., 2000                TBP-9(10-08)
                                                                                            BUSINESSOWNERS
                                                                                                BP 15 05 05 14

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      EXCLUSION ACCESS OR DISCLOSURE OF
    CONFIDENTIAL OR PERSONAL INFORMATION AND
   DATA-RELATED LIABILITY LIMITED BODILY INJURY
             EXCEPTION NOT INCLUDED
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS COVERAGE FORM


A. Exclusion B.1.q. of Section II         Liability is               As used in this exclusion, electronic data
   replaced by the following:                                        means information, facts or computer
      This insurance does not apply to:                              programs stored as or on, created or used
                                                                     on, or transmitted to or from computer
      q. Access Or Disclosure Of Confidential Or                     software       (including      systems     and
         Personal Information And Data-related                       applications software), on hard or floppy
         Liability                                                   disks, CD-ROMs, tapes, drives, cells, data
         (1) Damages, other than damages because                     processing       devices     or    any   other
             of "personal and advertising injury",                   repositories of computer software which are
             arising out of any access to or                         used      with      electronically   controlled
             disclosure     of    any    person's    or              equipment. The term computer programs,
             organization's confidential or personal                 referred to in the foregoing description of
             information, including patents, trade                   electronic data, means a set of related
             secrets, processing methods, customer                   electronic instructions which direct the
             lists, financial information, credit card               operations and functions of a computer or
             information, health information or any                  device connected to it, which enable the
             other type of nonpublic information; or                 computer or device to receive, process,
                                                                     store, retrieve or send data.
         (2) Damages arising out of the loss of, loss
             of use of, damage to, corruption of,
             inability to access, or inability to
             manipulate electronic data.
         This exclusion applies even if damages are
         claimed for notification costs, credit
         monitoring expenses, forensic expenses,
         public relations expenses or any other loss,
         cost or expense incurred by you or others
         arising out of that which is described in
         Paragraph (1) or (2) above.




                                                                                      Exhibit C 00045



BP 15 05 05 14                       © Insurance Services Office, Inc., 2013                          Page 1 of 2
B. The following is added to Paragraph B.1.p.                       This exclusion applies even if damages are
   Personal And Advertising Injury Exclusion of                     claimed for notification costs, credit
   Section II Liability:                                            monitoring expenses, forensic expenses,
      This insurance does not apply to:                             public relations expenses or any other loss,
                                                                    cost or expense incurred by you or others
      p. Personal And Advertising Injury                            arising out of any access to or disclosure of
         "Personal and advertising injury":                         any person's or organization's confidential
                                                                    or personal information.
         Arising out of any access to or disclosure of
         any person's or organization's confidential
         or personal information, including patents,
         trade    secrets,    processing     methods,
         customer lists, financial information, credit
         card information, health information or any
         other type of nonpublic information.




                                                                                    Exhibit C 00046



Page 2 of 2                         © Insurance Services Office, Inc., 2013                     BP 15 05 05 14
                                                                                       EPL-120 (10-08)


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                    LIABILITY TO NON-EMPLOYEES


This endorsement modifies insurance provided under the following:

   EMPLOYMENT-RELATED PRACTICES LIABILITY ENDORSEMENT




The following is added to Paragraph 4. of Section G   Definitions:


   "Injury" also means injury to any non-"employee" arising out of "discrimination" or harassment
   directed at the non-"employee" by any insured in the course of that insured's work for you.




EPL-120 (10-08)                        © ISO Properties, Inc., 2000                  Exhibit
                                                                                        Page C1
                                                                                              00047
                                                                                                of 1
                                                                                                BUSINESSOWNERS
                                                                                                      TBP2 (05-15)

                           BUSINESSOWNERS SPECIAL
                           PROPERTY COVERAGE FORM
Various provisions in this policy restrict coverage.                      (6) If not covered by other insurance:
Read the entire policy carefully to determine rights,                         (a) Additions under construction,
duties and what is and is not covered.                                            alterations and repairs to the
Throughout this policy the words "you" and "your" refer                           buildings or structures
to the Named Insured shown in the Declarations. The                           (b) Materials, equipment, supplies and
words "we", "us" and "our" refer to the Company                                   temporary structures, on or within 100
providing this insurance.                                                         feet of the described premises, used
Other words and phrases that appear in quotation                                  for making additions, alterations or
marks have special meaning. Refer to Section H                                    repairs to the buildings or structures.
Property Definitions.                                               b. Business Personal Property located in or
A. Coverage                                                            on the buildings at the described premises
                                                                       or in the open (or in a vehicle) within 100
   We will pay for direct physical loss of or damage to                feet of described premises, including:
   Covered Property at the premises described in the
   Declarations caused by or resulting from any                           (1) Property you own that is used in your
   Covered Cause of Loss.                                                     business;
   1. Covered Property                                                    (2) Property of others that is in your care,
                                                                              custody or control, except as
      Covered Property includes Buildings as described                        otherwise provided in Loss Payment
      under Paragraph a. below, Business Personal                             Property Loss Condition E.5.d.(3)(b);
      Property as described under Paragraph b. below,
      or both, depending on whether a Limit of                            (3) Tenant's improvements and betterments.
      Insurance is shown in the Declarations for that                         Improvements and betterments are
      type of property. Regardless of whether coverage                        fixtures, alterations, installations or
      is shown in the Declarations for Buildings,                             additions:
      Business Personal Property, or both, there is no                        (a) Made a part of the building or
      coverage for property described under Paragraph                             structure you occupy but do not
      2., Property Not Covered.                                                   own; and
       a. Buildings, meaning the buildings and                                (b) You acquired or made at your
          structures at the premises described in the                             expense but cannot legally remove;
          Declarations, including:                                        (4) Leased personal property which you
            (1) Completed additions;                                          have a contractual responsibility to
            (2) Fixtures, including outdoor fixtures;                         insure, unless otherwise provided for
                                                                              under Paragraph A.1.b.(2). ; and
            (3) Permanently installed:
                                                                          (5) Building Glass, if you are a tenant and
                (a) Machinery; and                                            no Limit of Insurance is shown in the
                (b) Equipment;                                                Declarations for Building property.
            (4) Your personal property in apartments,                         The glass must be owned by you or in
                rooms or common areas furnished by                            your care, custody or control.
                you as landlord;                                2. Property Not Covered
            (5) Personal property owned by you that is              Covered Property does not include:
                used to maintain or service the buildings           a.   Aircraft, automobiles, motortrucks and other
                or structures or the premises, including:                vehicles subject to motor vehicle registration;
                (a) Fire extinguishing equipment;                   b. "Money" or "securities" except as provided in
                (b) Outdoor furniture;                                 coverages:
                (c) Floor coverings; and                                  (1) Crime Optional Coverage;
                (d) Appliances used for refrigerating,                    (2) Employee Dishonesty Optional Coverage;
                    ventilating, cooking, dishwashing or            c. Contraband, or property in the course of
                    laundering;                                                         Exhibit
                                                                       illegal transportation or Ctrade;
                                                                                                    00048




TBP2 (05-15)                               © Society Insurance, Inc., 2015.                               Page 1 of 32
      d. Bridges,    roadways,      walks,    pavement,                    (2) Property that has been transferred to a
         driveways, parking lots, exterior nonstructurally                     person or to a place outside the
         attached concrete surfaces or other paved                             described premises on the basis of
         surfaces.                                                             unauthorized instructions. This limitation
      e. Land (including land on which the property                            does not apply to the Crime or
         is located), water, growing crops or lawns                            Employee       Dishonesty        Optional
         (other than lawns which are part of a                                 Coverage.
         vegetated roof);                                                  (3) The interior of any building or
      f.   Outdoor fences, radio or television                                 structure, or to personal property in
           antennas (including satellite dishes) and                           the building or structure, including
           their lead-in wiring, masts or towers, signs,                       business personal property, caused
           trees, shrubs or plants (other than lawns                           by or resulting from rain, snow, sleet,
           which are part of a vegetated roof), all                            ice, sand or dust, whether driven by
           except:                                                             wind or not, unless:
            (1) Coverage provided under the Outdoor                             (a) The building or structure first
                Property Coverage Extension; or                                     sustains damage by a Covered
                                                                                    Cause of Loss to its roof or walls
            (2) Coverage provided under the Outdoor                                 through which the rain, snow,
                Signs Optional Coverage; or                                         sleet, ice, sand or dust enters; or
            (3) Signs structurally attached to covered                          (b) The loss or damage is caused by
                buildings (wiring or cable is not                                   or results from thawing of snow,
                considered structural attachment).                                  sleet or ice on the building or
      g. Watercraft (including motors, equipment                                    structure.
         and accessories) while afloat.                               b. We will not pay for loss of or damage to
      h. Accounts, bills, food stamps, other evidences                   fragile articles such as glassware, statuary,
                                                                         marbles, chinaware and porcelains, if
                                                                         broken, unless caused by the "specified
           provided in this policy.                                      causes of loss" or building glass breakage.
      i.                                            installed            This restriction does not apply to:
           or designed to be permanently installed in any                  (1) Glass that is part of the interior or
           aircraft, watercraft, motortruck, or other vehicle                  exterior of a building or structure;
           subject to motor vehicle registration. This                     (2) Containers of property held for sale;
                                                                               or
                                                                           (3) Photographic or scientific instrument
      j.   Piers, wharves and docks                                            lenses.
      k.                      except as provided under                c. For loss or damage by theft, the following
           Additional Coverages         Electronic Data or               types of property are covered only up to
           Additional Coverage Equipment Breakdown.                      the limits shown (unless a higher Limit Of
           This Paragraph (k.) does not apply to your                    Insurance is shown in the Declarations):
           stock of prepackaged software, or to
                                         integrated in and                 (1) $2,500 for furs, fur garments and
           operates or controls a                                              garments trimmed with fur.
           lighting, heating, ventilation, air conditioning                (2) $2,500 for jewelry, watches, watch
           or security system.                                                 movements, jewels, pearls, precious and
  3. Covered Causes Of Loss                                                    semi-precious stones, bullion, gold,
                                                                               silver, platinum and other precious alloys
      Direct Physical Loss unless the loss is excluded or                      or metals. This limit does not apply to
      limited under this coverage form.                                        jewelry and watches worth $100 or less
  4. Limitations                                                               per item.
      a. We will not pay for loss of or damage to:                         (3) $2,500 for patterns, dies, molds and
            (1) Property that is missing, where the                            forms.
                only evidence of the loss or damage                   d. We will pay for loss or damage to animals
                is a shortage disclosed on taking                                                            causes
                inventory, or other instances where                      of
                there is no physical evidence to show
                what happened to the property. This
                limitation does not apply to the Crime
                or Employee Dishonesty Optional
                Coverage.                                                                 Exhibit C 00049




Page 2 of 32                                 © Society Insurance, Inc., 2015.                             TBP2 (05-15)
  5. Additional Coverages                                                  that has sustained loss or damage.
                                                                           However if no Covered Property has
      a. Debris Removal                                                    sustained direct physical loss or damage,
          (1) Subject to Paragraphs (2), (3) and (4),                      the most we will pay for removal of debris
              we will pay your expense to remove                           of other property (if such removal is
              debris of Covered Property and other                         covered under this Additional Coverage)
              debris that is on the described                              is $5,000 at each location.
              premises, when such debris is caused                    (4) Unless a higher limit is shown in the
              by or resulting from a Covered Cause                        Declarations, we will pay up to an
              of Loss that occurs during the policy                       additional $25,000 for debris removal
              period. The expenses will be paid only                      expense, for each location, in any one
              if they are reported to us in writing                       occurrence of physical loss or
              within 180 days of the date of direct                       damage to Covered Property, if one
              physical loss or damage.                                    or both of the following circumstances
          (2) Debris Removal does not apply to                            apply:
              costs to:                                                    (a) The total of the actual debris
               (a) Remove debris of property of                                removal expense plus the amount
                   yours that is not insured under                             we pay for direct physical loss or
                   this policy, or property in your                            damage exceeds the Limit of
                   possession that is not Covered                              Insurance on Covered Property that
                   Property;                                                   has sustained loss or damage.
               (b) Remove debris of property owned                         (b) The actual debris removal
                   by or leased to the landlord of the                         expense exceeds 25% of the sum
                   building where your described                               of the deductible plus the amount
                   premises are located, unless you                            that we pay for direct physical
                   have a contractual responsibility                           loss or damage to the Covered
                   to insure such property and it is                           Property that has sustained loss
                   insured under this policy.                                  or damage.
               (c) Remove any property that is                                 Therefore, if Paragraphs (4)(a)
                   Property Not Covered, Including                             and/or (4)(b) apply, our total
                   property addressed under the                                payment for direct physical loss or
                   Outdoor   Property   Coverage                               damage and debris removal
                   Extension                                                   expense may reach but will never
               (d) Remove property of others of a                              exceed the Limit of Insurance on
                   type that would not be Covered                              the Covered Property that has
                   Property under this policy                                  sustained loss or damage, plus
                                                                               $25,000.
               (e) Remove deposits of mud or earth
                   from the grounds of the described                  (4) Example #1
                   premises                                                Limit of Insurance            $200,000
               (f)                                                         Amount of Deductible          $     500
                     water
                                                                           Amount of Loss                $125,000
               (g) Remove, restore or         replace
                   polluted land or water.                                 Amount of Loss Payable $124,500
          (3) Subject to the exceptions in Paragraph                                         ($125,000-$500)
              (4), the following provisions apply:                         Debris Removal Expense         $20,000
               (a) The most that we will pay for the                       Removal Expense Payable $20,000
                   total of direct, physical loss or
                                                                                ($20,000 is 16% of $125,000)
                   damage plus debris removal
                   expense is the Limit of Insurance                       The debris removal expense is less than
                   applicable    to   the    Covered                       25% of the sum of the loss payable plus
                   Property that has sustained loss                        the deductible. The sum of the loss
                   or damage.                                              payable and the debris removal expense
          (b) Subject to Paragraph (3)(a) above,                           ($124,500 + $20,000 = $144,500) is less
              the amount we will pay for debris                            than the Limit of Insurance. Therefore the
              removal expense is limited to 25% of                         full amount of debris removal expense is
              the sum of the deductible plus the                           payable in accordance with the terms of
              amount that we pay for direct physical                       Paragraph (3).
              loss or damage to the Covered Property                                  Exhibit C 00050




TBP2 (05-15)                            © Society Insurance, Inc., 2015.                              Page 3 of 32
               Example #2                                               will pay regardless of the number of
                                                                        responding fire departments or fire units, and
               Limit of Insurance            $200,000                   regardless of the number or type of services
               Amount of Deductible          $     500                  performed. This Additional Coverage applies
               Amount of Loss                $170,000                   to your liability for fire department service
                                                                        charges:
               Amount of Loss Payable $169,500
                                                                         (1) Assumed by contract or agreement
                                 ($170,000-$500)
                                                                             prior to loss; or
               Debris Removal Expense         $60,000
                                                                         (2) Required by local ordinance.
               Removal Expense Payable
                                                                   d. Collapse
               Basic Amount            $30,500
                                                                       The coverage provided under this
               Additional Amount              $25,000                  Additional Coverage- Collapse applies only
               The basis amount payable for debris                     to an abrupt collapse as described and
               removal expense under the terms of                      limited in Paragraphs d.(1) through d.(7).
               Paragraph (3) is calculated as                            (1) For the purpose of this Additional
               follows:                                                      Coverage- Collapse, abrupt collapse
               $170,000 ($169.000 + $500) X .25 =                            means an abrupt falling down or
               $42,500; capped at $30,500.    The                            caving in of a building with the result
               cap applies because the sum of the                            that the building or part of the building
               loss payable ($169,500) and basic                             cannot be occupied for its intended
               amount payable for debris removal                             purpose
               expense ($30,500) cannot exceed the                       (2) We will pay for direct physical loss or
               Limit of Insurance ($200,000).                                damage to Covered Property, caused
               The additional amount payable for                             by abrupt collapse of a building or any
               debris removal expense is provided in                         part of a building that is insured under
               accordance with the terms of Paragraph                        this policy or that contains Covered
               (4), because the debris removal                               Property insured under this policy, if
               expense ($60,000) exceeds 25% of the                          such collapse is caused by one or
               loss payable plus the deductible                              more of the following:
               ($60,000 is 35.3% of $170,000), and                           (a) Building Decay that is hidden from
               because the sum of the loss payable                               view, unless the presence of such
               and debris removal expense ($169,500                              decay is known to an insured prior
               + $60,000 = $229,500) would exceed                                to collapse;
               the Limit of Insurance ($200,000). The
               additional amount of covered debris                           (b) Insect or vermin damage that is
               removal expense is $25,000, the                                   hidden from view, unless the
               maximum payable under Paragraph (4).                              presence of such damage is known
               Thus the total payable for debris                                 to an insured prior to collapse;
               removal expense in this example is                            (c) Use of defective material or
               $55,500; $4,500 of the debris removal                             methods        in      construction,
               expense is not covered.                                           remodeling or renovation if the
      b. Preservation Of Property                                                abrupt collapse occurs during the
                                                                                 course    of     the   construction,
          If it is necessary to move Covered Property                            remodeling or renovation.
          from the described premises to preserve it
          from loss or damage by a Covered Cause                             (d) Use of defective material or
          of Loss, we will pay for any direct physical                           methods         in      construction,
          loss of or damage to that property:                                    remodeling or renovation if the
                                                                                 abrupt collapse occurs after the
           (1) While it is being moved or while                                  construction,      remodeling      or
               temporarily stored at another location;                           renovation is complete, but only if
               and                                                               the collapse is caused in part by:
           (2) Only if the loss or damage occurs                                 (i) A cause of loss listed in
               within 30 days after the property is                                  paragraphs (2)(a) or (2)(b);
               first moved.
                                                                                 (ii) One or more of the specified
      c. Fire Department Service Charge                                               causes of loss;
          When the fire department is called to save or                          (iii) Breakage of building glass
          protect Covered Property from a Covered
          Cause of Loss, we will pay up to $5,000 for                            (iv) Weight of the people          or
          service at each premises described in the                                   personal
                                                                                        Exhibitproperty;
                                                                                                C 00051 or
          Declarations, unless a different limit is shown                        (v) Weight of rain that collects on
          in the Declarations. Such limits is the most we                            a roof

Page 4 of 32                              © Society Insurance, Inc., 2015.                             TBP2 (05-15)
          (3) This Additional Coverage- Collapse                                   Collapse of personal property does
              does not apply to:                                                   not mean cracking, bulging,
               (a) A building or any part of a building                            sagging, bending, leaning, settling,
                   that is in danger of falling down or                            shrinkage or expansion.
                   caving in                                               (6) This Additional Coverage- Collapse
               (b) A part of a building that is standing,                      does not apply to personal property that
                   even if it has separated from                               has not abruptly fallen down or caved in,
                   another part of the building; or                            even if the personal property shows
                                                                               evidence of cracking, bulging, sagging,
               (c) A building that is standing or any part                     bending, leaning, settling, shrinkage or
                   of a building that is standing even if it                   expansion
                   shows evidence of cracking, bulging,
                   sagging bending, leaning, settling,                     (7) This Additional Coverage, Collapse,
                   shrinkage or expansion                                      will not increase the Limits of
                                                                               Insurance provided in this policy.
          (4) With respect to the following property:
                                                                           (8) The term Covered Cause of Loss
               (a) Awnings;                                                    includes the Additional Coverage-
               (b) Gutters and downspouts;                                     Collapse as described and limited in
               (c) Yard fixtures;                                              paragraphs d.(1) through d.(7)
               (d) Outdoor swimming pools;                           e. Water Damage, Other Liquids, Powder
                                                                        Or Molten Material Damage
               (e) Beach or diving platforms or
                   appurtenances;                                         If loss or damage caused by or resulting
                                                                          from covered water or other liquid, powder
               (f) Retaining walls                                        or molten material occurs, we will also pay
               (g) Sewer and water lateral pipes;                         the cost to tear out and replace any part of
                                                                          the building or structure to repair damage to
               (h) Drainage tile; and
                                                                          the system or appliance from which the
               (i) Septic systems.                                        water or other substance escapes.
               if abrupt collapse is caused by a                          We will not pay the cost to repair any defect
               cause of loss listed in Paragraphs                         that caused the loss or damage.
               (2)(b) through (2)(d), we will pay for
                                                                     f.   Fire Extinguishing Equipment
               loss or damage to that property only if
               such loss or damage is a direct result                     Subject to the applicable Limit of Insurance,
               of the abrupt collapse of a building                       we will pay the cost to repair or replace
               insured under this policy and the                          damaged parts, including system recharge,
               property is Covered Property under                         of fire extinguishing equipment if the damage:
               this policy.                                                (1) Results in discharge of any substance
          (5) If personal property abruptly falls                              from an automatic fire protection
              down or caves in and such collapse is                            system; or
              not the result of collapse of a building,                    (2) Is directly caused by freezing.
              we will pay for loss or damage to
              Covered Property caused by such                        g. Business Income
              collapse of personal property only if:                       (1) Business Income
               (a) The collapse of personal property                           (a) We will pay for the actual loss of
                   was caused by a cause of loss                                   Business Income you sustain due
                   listed in Paragraphs (2)(a)                                     to the necessary suspension of
                   through (2)(d) of this Additional                               your "operations" during the "period
                   Coverage;                                                       of restoration". The suspension must
               (b) The personal property which                                     be caused by direct physical loss of
                   collapses is inside a building; and                             or damage to covered property at
                                                                                   the described premises. The loss or
               (c) The property which collapses is                                 damage must be caused by or result
                   not of a kind listed in Paragraph                               from a Covered Cause of Loss. With
                   (3) above, regardless of whether                                respect to loss of or damage to
                   that kind of property is considered                             personal property in the open or
                   to be personal property or real                                 personal property in a vehicle, the
                   property.                                                       described premises include the area
                   The coverage stated in this                                     within 100 feet of such premises.
                   Paragraph (4) does not apply to                                 With respect to the requirements set
                   personal property if marring and/or                             forth in the preceding paragraph, if
                                                                                          Exhibit
                                                                                   you occupy      C 00052
                                                                                                 only part of the site at
                   scratching is the only damage to
                   that personal property caused by                                which the described premises are
                   the collapse.                                                   located, your premises means:

TBP2 (05-15)                                © Society Insurance, Inc., 2015.                              Page 5 of 32
                   (i) The portion of the building which                         However,     Extended     Business
                       you rent, lease or occupy;                                Income does not apply to loss of
                   (ii) Any area within the building or                          Business Income incurred as a
                        at the described premises if                             result of unfavorable business
                        that area services, or is used to                        conditions caused by the impact of
                        gain access to, the portion of                           the Covered Cause of Loss in the
                        the building which you rent                              area where the described premises
                        lease or occupy.                                         are located.
               (b) We will only pay for loss of                                  Loss of Business Income must be
                   Business Income that you sustain                              caused by direct physical loss or
                   during the "period of restoration"                            damage at the described premises
                   and that occurs within 12                                     caused by or resulting from any
                   consecutive months after the date                             Covered Cause of Loss.
                   of direct physical loss or damage.                   (3) With respect to the coverage provided in
               (c) Business Income means the:                               this Additional Coverage, suspension
                                                                            means:
                   (i) Net Income (Net Profit or
                       Loss before income taxes)                             (a) The partial slowdown or complete
                       that would have been earned                               cessation      of your  business
                       or incurred if no physical loss                           activities; or
                       or damage had occurred, but                           (b) That a part or all of the described
                       not including any Net Income                              premises is rendered untenantable
                       that would likely have been                               if coverage for Business Income
                       earned as a result of an                                  applies.
                       increase in the volume of                        (4) This Additional Coverage is not
                       business due to favorable                            subject to the Limits of Insurance of
                       business conditions caused by                        Section I Property.
                       the impact of the Covered
                       Cause of Loss on customers or               h. Extra Expense
                       on other businesses; and                         (1) We will pay necessary Extra Expense
                   (ii) Continuing necessary operating                      you incur during the "period of
                        expenses incurred.                                  restoration" that you would not have
                                                                            incurred if there had been no direct
           (2) Extended Business Income                                     physical loss or damage to covered
               If the necessary suspension of your                          property at the described premises. The
               "operations" produces a Business                             loss or damage must be caused by or
               Income loss payable under this policy,                       result from a Covered Cause of Loss.
               we will pay for the actual loss of                           With respect to loss of or damage to
               Business Income you incur during the                         personal property in the open or personal
               period that:                                                 property in a vehicle, the described
               (a) Begins on the date property except                       premises include the area within 100 feet
                   finished stock is actually repaired,                     of such premises.
                   rebuilt or replaced and "operations"                      With respect to the requirements set
                   are resumed; and                                          forth in the preceding paragraph, if you
               (b) Ends on the earlier of:                                   occupy only part of the site at which the
                                                                             described premises are located, your
                   (i) The date you could restore                            premises means:
                       your      "operations",    with
                       reasonable speed, to the level                        (a) The portion of the building which
                       which would generate the                                  you rent, lease or occupy;
                       Business Income amount that                           (b) Any area within the building or at
                       would have existed if no direct                           the described premises, if that area
                       physical loss or damage had                               services, or is used to gain access
                       occurred; or                                              to, the portion of the building which
                   (ii) 60 consecutive days after the                            you rent, lease or occupy.
                        date determined in Paragraph                     (2) Extra Expense means expense incurred:
                        (2)(a) above, unless a greater                       (a) To avoid or minimize the suspension
                        number of consecutive days is                            of business and to continue
                        shown in the Declarations.                               "operations":
                                                                                 (i) At the described premises; or
                                                                                       Exhibit C 00053




Page 6 of 32                              © Society Insurance, Inc., 2015.                             TBP2 (05-15)
                      (ii) At replacement premises or at                       (b) or are interrupted by direct physical
                           temporary locations, including                          loss or damage to covered
                           relocation expenses, and costs                          property, whichever is later; and
                           to equip and operate the
                           replacement or temporary                        (2) Ending on the earliest of the following
                           locations.                                          dates:
                 (b) To minimize the suspension of                             (a) the date prearranged services or
                     business if you cannot continue                               products are scheduled to end;
                     "operations".                                             (b) the date damaged property at the
                 (c) To:                                                           described premises should be
                                                                                   repaired, rebuilt or replaced with
                      (i) Repair or replace any property;                          reasonable speed and similar
                          or                                                       quality; or
                      (ii) Research, replace or restore the                    (c) 14 days after the date determined
                           lost information on damaged                             in (1) above.
                           "valuable papers and records"
                                                                               This Additional Coverage is not
           (3) With respect to the coverage provided in                        subject to the Limits of Insurance.
               this Additional Coverage, suspension
               means:                                                j.   Pollutant Clean Up And Removal
                 (a) The partial slowdown or complete                     We will pay your expense to extract
                     cessation of your business activities;               "pollutants" from land or water at the
                                                                          described premises if the discharge,
                 or                                                       dispersal, seepage, migration, release or
                 (b) That a part or all of the described                  escape of the "pollutants" is caused by or
                     premises is rendered untenantable,                   results from a Covered Cause of Loss that
                     if coverage for Business Income                      occurs during the policy period. The
                     applies                                              expenses will be paid only if they are
           (4) We will only pay for Extra Expense that                    reported to us in writing within 180 days of
               occurs within 12 consecutive months                        the date on which the Covered Cause of
               after the data of direct physical loss or                  Loss occurs.
               damage. This Additional Coverage is not                    This Additional Coverage does not apply to
               subject to the Limits of Insurance.                        costs to test for, monitor or assess the
           We will pay for Extra Expense only to the                      existence, concentration or effects of
           extent it reduces the amount of loss that
           otherwise would have been payable under                        which is performed in the course of
           Additional Coverage g. Business Income.
                                                                          water.
      i.   Customer Expense Reimbursement
                                                                          The most we will pay for each location
           We will pay necessary costs to reimburse                       under this Additional Coverage is $25,000
           additional expenses incurred by your                           for the sum of all such expenses arising
           customers because your products or                             out of Covered Causes of Loss occurring
           services, which were ordered in advance,                       during each separate 12 month period of
           were not available due to direct physical                      this policy.
           loss or damage to covered property at the
           described premises caused by a Covered                    k. Civil Authority
           Cause of Loss.                                                 When a Covered Cause of Loss causes
           Customer expenses mean the additional cost                     damage to property other than property at
           incurred by persons for whom prearranged                       the described premises, we will pay for the
           products or services cannot be honored.                        actual loss of Business Income you sustain
           These expenses include costs to secure                         and necessary Extra Expense caused by
           alternative products or services which are                     action of civil authority that prohibits
           comparable to yours.                                           access to the described premises,
                                                                          provided that both of the following apply:
           We will pay for expenses incurred for the
           period of time:                                                     (1) Access to the area immediately
                                                                                   surrounding     the      damaged
           (1)                                                                     property is prohibited by civil
                 prearranged services or products are:                             authority as a result of the
                 (a) scheduled to be delivered but                                 damage, and the described
                     cannot;                                                       premises are within the area; and
                                                                                         Exhibit C 00054




TBP2 (05-15)                                © Society Insurance, Inc., 2015.                             Page 7 of 32
                  (2) The action of civil authority is                         The definitions of Business Income
                      taken in response to dangerous                           and Extra Expense, contained in the
                      physical conditions resulting from                       Business Income and Extra Expense
                      the damage or continuation of the                        Additional Coverages section shall
                      Covered Cause of Loss that                               also apply to the additional coverages
                      caused the damage, or the action                         under this section.
                      is taken to enable a civil authority
                      to have unimpeded access to the                     (2) Additional Definitions
                      damaged property                                         (a)
                  Civil Authority coverage for Business                              attempted, or threatened acts
                  Income will begin immediately after                                committed with malicious intent on
                  the time of the first action of civil
                  authority that prohibits access to the                             any person(s) that result in physical
                  described premises and will apply for                              injury or death to such person(s).
                  a period of up to four consecutive                                 This does not apply to actual,
                  weeks from the date on which such                                  attempted or threatened acts by
                  coverage begins.                                                   an insured.
                  Civil Authority coverage for necessary             m. Contamination
                  Extra Expense will begin immediately
                  after the time of first action of civil
                  authority that prohibits access to the                  (1) We will pay for your costs to clean and
                  described premises and will end:                            sanitize your premises, machinery and
            (1) Four consecutive weeks after the time                         equipment, and expenses you incur to
                of that action; or                                            withdraw or recall products or
            (2) When your Civil Authority coverage                            merchandise from the market. We will
                for Business Income ends; whichever                           not pay for the cost or value of the
                is later.                                                     product.
           The definitions of Business Income and                              The most we will pay for any loss or
           Extra Expense contained in the Business                             damage     under     this    Additional
           Income and Extra Expense Additional                                 Coverage arising out of the sum of all
           Coverages also apply to this Civil Authority                        such expenses occurring during each
           Additional Coverage. The Civil Authority                            separate policy period is $5,000; and
           Additional Coverage is not subject to the                      (2) We will also pay for the actual loss of
           Limits of Insurance.                                               Business Income and Extra Expense
      l.   Violent Acts                                                       you sustain caused by
            (1)                                                                (a)
                  to                 which occur on the                              action by a public health or other
                  described premises we will pay for the                             governmental      authority   that
                  actual loss of Business Income and                                 prohibits access to the described
                  Extra Expense you sustain. Coverage                                premises or production of your
                  for the actual loss of Business Income                             product.
                  under this section will begin immediately                    (b)
                  upon the suspension of your business                         (c)
                  operations and will continue for a period                          discovery     or    suspicion     of
                  not to exceed a total of three
                  consecutive weeks after coverage
                  begins.                                                            Coverage for the actual loss of
                                                                                     Business Income under this
                  Coverage for necessary Extra Expense                               section will begin immediately
                  under this section will likewise begin                             upon the suspension of your
                  immediately upon the suspension of your                            business operations and will
                  business operations and will continue                              continue for a period not to
                  only for a total of three consecutive                              exceed    a   total   of  three
                  weeks after coverage begins, or until the                          consecutive      weeks     after
                  loss of Business income coverage ends,                             coverage begins.
                  whichever is longer. The coverages
                  under this section may not be extended
                  or repeated.

                                                                                           Exhibit C 00055




Page 8 of 32                                © Society Insurance, Inc., 2015.                               TBP2 (05-15)
                     Coverage for necessary Extra
                     Expense under this section will                         coverage under this Additional
                     likewise begin immediately upon                         Coverage will not continue once the
                     the suspension of your business                         other property is repaired or replaced.
                     operations and will continue only                  (2) We will reduce the amount of your
                     for a total of three consecutive                       Business Income loss, other than
                     weeks after coverage begins, or                        Extra Expense, to the extent you can
                     until the loss of Business Income
                     coverage ends, whichever is                             part, by using any other available:
                     longer. The coverages under this
                     section may not be extended nor                         (a) Source of materials; or
                     repeated. The definitions of                            (b) Outlet for your products.
                     Business Income and Extra                          (3) The coverage for Business Income
                     Expense, contained in the                              will begin immediately after the time
                     Business Income and Extra                              of that action and will apply for a
                     Expense Additional Coverages                           period of up to three consecutive
                     section shall also apply to the                        weeks after coverage begins.
                     additional coverages under this
                     section.                                                The coverage for necessary Extra
                                                                             Expense will begin immediately after
           (3) Contamination Exclusions                                      the time of that action and ends:
               All exclusions and limitations apply                          (a) 3 consecutive weeks after the time
               except Exclusions B.2.j.(2) and                                   of that action; or
               B.2.j.(5)
                                                                             (b) When your Business Income
           (4) Additional Definitions:                                           coverage ends; whichever is later.
               (a) "Contamination" means a defect,                           The Business Income from Dependent
                   deficiency,    inadequacy   or                            Properties Additional Coverage is not
                   dangerous condition in your                               subject to the Limits of Insurance.
                   products,    merchandise    or
                   premises.                                            (4) Additional Definitions:
               (b)                                 a                         (a)
                     threat made by a third party                                  property operated by          others
                     against you to commit a                                       whom you depend on to:
                                             unless                                (i) Deliver materials or services to
                                                 for                                   you or to others for your
                     money or other consideration is                                   account            (Contributing
                     met.                                                              Locations.) With respect to
               (c)                                                                     Contributing Locations, services
                     an intentional, malicious and                                     does not mean water, supply
                     illegal altercation or adulteration                               services, wastewater removal
                     of your products                                                  services, communication supply
                                                                                       services or power supply
               (d)                    a publication or                                 services;
                     broadcast by the media, of the
                     discovery    or   suspicion    of                             (ii) Accept your products or
                     "contamination" at a described                                     services (Recipient Locations);
                     premise.                                                      (iii) Manufacture products for
      n. Business Income from Dependent Properties                                       delivery to your customers
                                                                                         under contract of sale
           (1) We will pay for the actual loss of                                        (Manufacturing Locations); or
               Business Income you sustain due to
               physical loss or damage at the                                      (iv) Attract customers to your
               premises of a dependent property or                                      business (Leader Locations).
                secondary    dependent    property                           (b) Secondary dependent property
               caused by or resulting from any                                   means an entity which is not
               Covered Cause of Loss.                                            owned or operated by a
               However, this Additional Coverage                                 dependent property, which:
               does not apply when the only loss at                                (i) Delivers materials or services to
               the premises of a         dependent                                     a dependent property which in
               property or secondary dependent                                         turn are used by the dependent
               property is loss or damage to                                           property in providing materials
                                 If the dependent                                      or Exhibit
                                                                                          servicesCto00056
                                                                                                      you or
               property or secondary dependent
               property sustains loss or damage to

TBP2 (05-15)                              © Society Insurance, Inc., 2015.                               Page 9 of 32
                     (ii) Accepts materials or services              o. Ordinance or Law
                          from a dependent property
                          which in turn accepts your                      (1) This Additional Coverage applies only
                          materials or services. A road,                      to building
                          bridge,     tunnel,    waterway,                    and betterments insured on a
                          airfield, pipeline, or any other                    replacement cost basis.
                          similar area or structure is not a              (2) If a Covered Cause of Loss occurs to
                          secondary dependent property.                       covered Building property
                          Any property which delivers any                     improvements and betterments, we will
                          of the following services is not                    pay:
                          a      secondary       dependent                     (a) For loss or damage caused by
                          property with respect to such                            enforcement of any law that:
                          services:
                                                                                   (i) Requires the demolition of
                         i. Water supply services                                      parts of the same property
                         ii. Wastewater           removal                              not damaged by a Covered
                             services                                                  Cause of Loss;
                         iii. Communication supply                                 (ii) Regulates the construction or
                              services; or                                              repair    of   buildings,   or
                           iv. Power supply services.                                   establishes zoning or land use
                   The secondary dependent property                                     requirements at the described
                   must be located in the coverage                                      premises; and
                   territory of this policy.                                       (iii) Is in force at the time of loss.
           (c)       i                                                         (b) The increased cost to repair, rebuild
                 to                                                                or construct the property caused by
                 period of time that:                                              enforcement of building, zoning or
                 (i) Begins with the date of direct                                land use law. If the property is
                     physical loss or damage caused                                repaired or rebuilt, it must be
                     by or resulting from a Covered                                intended for similar occupancy as
                     Cause of Loss at the premises of                              the    current   property,    unless
                                                   or                              otherwise required by zoning or land
                     secondary dependent property                                  use law.
                     and                                                       (c) The cost to demolish and clear the
                 (ii) Ends on the date when the property                           site of undamaged parts or the
                                                                                   property caused by enforcement of
                               or secondary dependent                              the building, zoning or land use law.
                     property should be repaired, rebuilt                 (3) We will not pay for increased
                     or replaced with reasonable speed                        construction   costs under this
                     and similar quality.                                     Additional Coverage:
           (d) The definitions of Business Income and                          (a) Until the property is actually
               suspension contained in the Business                                repaired or replaced, at the same
               Income Additional Coverage also apply                               premises or elsewhere; and
               to this Business Income From                                    (b) Unless the repairs or replacement
               Dependent       Properties     Additional                           are made as soon as reasonably
               Coverage.                                                           possible after loss or damage, not
           (5)                                                                     to exceed 2 years. We may
                 any increased period required due to                              extend this period in writing
                 the enforcement of or compliance with                             during the 2 years.
                 any ordinance or law that:                               (4) We will not pay more:
                 (a) Regulates the construction, use                           (a) If the property is repaired or
                     or repair, or requires the tearing                            replaced on the same premises,
                     down of any property; or                                      than the amount you actually
                 (b) Requires any insured or others to                             spend to:
                     test for, monitor, clean up, remove,                          (i) Demolish and clear the site;
                     treat, detoxify or neutralize, or in                              and
                     any way respond to, or assess the
                     e                                                             (ii) Repair rebuild or construct
                                                                                        the property but not for more
                     The expiration date of this policy will                            than property of the same
                                                                                          Exhibit C 00057
                                                                                        height, floor area and style on
                                                                                        the same premises.


Page 10 of 32                               © Society Insurance, Inc., 2015.                              TBP2 (05-15)
               (b) The terms of this Additional                                (ii) Expedite permanent repairs
                   Coverage apply separately to each                                or permanent replacement.
                   building listed in the Declarations.                     (b) Hazardous Substances
          (5) The most we will pay under this                                  We will pay for the additional cost
              Additional Coverage, for each described                          to repair or replace Covered
              premises insured under this Coverage                             Property         because         of
              Form, is:                                                        contamination by a
               (a) $50,000                                                                   This includes the
               (b) The Limit of Insurance for                                  additional costs to clean up or
                   Building if Applied to building; or                         dispose of such property.
               (c) The Limit of Insurance for                                  Additional costs mean those
                   Business Personal Property if                               beyond what would have been

                   and betterments.
               Whichever is less.                                              The most we will pay for loss or
                                                                               damage under this coverage,
               The amount payable under this                                   including actual loss of Business
               Additional Coverage is additional                               Income you sustain, necessary
               insurance.                                                      Extra Expense you incur is
          (6) This Additional Coverage is not                                  $100,000 or the Limit of
              subject to the terms or the Ordinance                            Insurance     for   Building   or
              or Law Exclusion to the extent that                              Business     Personal Property,
              such Exclusion would conflict with the                           whichever is less.
              provisions of this Additional Coverage.                       (c) Computer Equipment
          (7) The costs addressed in the Loss                                  We will pay for loss or damage
              Payment Property Loss Condition in                               caused by or resulting from
              this Coverage Form do not include                                                             to
              the increased cost attributable to
              enforcement of an ordinance or law.
              The amount payable under this                                 (d) Data Restoration
              Additional Coverage, as stated in                                We will pay for your cost to
              n.(5) of this Additional Coverage, is                            research, replace and restore
              not subject to such limitation.                                  data, including programs and
      p. Glass Expenses                                                        operating systems that is lost or
                                                                               corrupted due to Equipment
          (1) We will pay for expenses incurred to                             Breakdown . The most we will
              put up temporary plates or board up                              pay for loss or damage under this
              openings if repair or replacement of                             coverage is $100,000 or the Limit
              damaged glass is delayed.                                        of    Insurance    for  Business
          (2) We will pay for expenses incurred to                             Personal Property, whichever is
              remove or replace obstructions when                              less.
              repairing or replacing glass that is                          (e) CFC Refrigerants
              part of a building. This does not
              include removing or replacing window                             We will pay for the additional cost to
              displays.                                                        repair or replace Covered Property
                                                                               because of the use or presence of
      q. Equipment Breakdown                                                   a refrigerant containing CFC
          (1) We will pay for loss caused by or                                (chlorofluorocarbon) substances.
                                                                               This means the additional cost to
                                                                               do the least of the following:
          (2) The following coverages also apply to                            (i) Repair the damaged property
              loss caused by or resulting from                                     and replace any lost CFC
                                            These                                  refrigerant;
              coverages do not provide additional                              (ii) Repair the damaged property,
              amounts of insurance.                                                 retrofit the system to accept a
               (a) Expediting Expenses                                              non-CFC refrigerant and
                   With respect to your damaged                                     charge the system with a
                   Covered Property, we will pay the                                non-CFC refrigerant; or
                   reasonable extra cost to:                                   (iii) Replace the system with one
                                                                                       Exhibit
                                                                                     using     C 00058refrigerant.
                                                                                           a non-CFC
                   (i) Make temporary repairs; and



TBP2 (05-15)                             © Society Insurance, Inc., 2015.                           Page 11 of 32
                   Additional costs mean those                                   your address as shown in the
                   beyond what would have been                                   Declarations, or at the address
                   required had no CFC refrigerant                               where the equipment is located.
                   been involved.                                                Once suspended in this way, your
           (3) Equipment Breakdown Exclusions                                    insurance can be reinstated only
                                                                                 by an endorsement for that
                (a) All exclusions and limitations                               Covered Property. If we suspend
                    apply except Exclusion B.1.e.,                               your insurance, you will get a pro
                    Power Failure and B.2.m.,                                    rata refund of premium. But the
                    Electrical Disturbance.                                      suspension will be effective even
                (b) The exclusions are modified as                               if we have not yet made or
                    follows:                                                     offered a refund.
                   The following is         added      to                    (b) Jurisdictional Inspections
                   Exclusion B.1.g.(1):                                          If any property that is Covered
                   However, if electrical Covered                                Property requires inspection to
                   Property requires drying out                                  comply with state or municipal
                   because of the above, we will pay                             boiler and pressure vessel
                   for the direct expenses of such                               regulations, we agree to perform
                   drying out subject to the                                     such inspection on your behalf.
                   applicable Limit of Insurance and                         (c) Environmental,     Safety       and
                   deductible    for    Building  or                             Efficiency Improvements
                   Business     Personal Property,
                   whichever applies.                                            If Covered Property requires
                                                                                 replacement due to
                (c) Coverage      Extension      6.e.                                            we will pay your
                    Valuable Papers and Records                                  additional cost to replace with
                    does not apply to this Additional                            equipment that is better for the
                    Coverage.                                                    environment, safer or more
                (d) We will not pay for loss or                                  efficient than the equipment being
                    damage caused by or resulting                                replaced.
                    from:                                                        However, we will not pay more
                   (i) Your failure to use all                                   than 125% of what the cost would
                       reasonable means to protect                               have been to repair or replace with
                                                                                 like kind and quality. This condition
                       damage following                                          does not increase any of the
                       Breakdown                                                 applicable limits. This condition
                   (ii) Any defect, virus, loss of data                          does not apply to any property to
                        or other situation within                                which Actual Cash Value applies.
                                   data                                          The definitions of Business
                        or damage from                                           Income and Extra Expense
                        Breakdown                                                contained in the Business Income
                        pay for that resulting loss or                           and Extra Expense Additional
                        damage; or                                               Coverages also apply to this
                   (iii) Any of the following tests:                             Equipment Breakdown Additional
                                                                                 Coverage.
                       A hydrostatic, pneumatic or
                       gas pressure test of any                                  The most we will pay for loss or
                       boiler or pressure vessel; or                             damage under this Additional
                                                                                 Coverage is the applicable Limit of
                       An insulation breakdown of                                Insurance     shown      in    the
                       any   type    of   electrical                             Declarations. Coverage provided
                       equipment.                                                under this Additional Coverage
           (4) Conditions                                                        does not provide an additional
                                                                                 amount of insurance.
                (a) Suspension
                                                                   r.   Service Interruption
                   When any Covered Property is
                   found to be in, or exposed to a                      (1) We will pay for loss of Business
                   dangerous condition, any of our                          Income or Extra Expense at the
                   representatives may immediately                          described premises caused by the
                   suspend the insurance against                            interruption of service to the
                   loss from                                                described premises. The interruption
                   to that Covered Property. We can                         must result  from Cdirect
                                                                                       Exhibit  00059 physical loss
                   do this by mailing or delivering a                       or damage by a Covered Cause of
                   written notice of suspension to                          Loss to the following property:


Page 12 of 32                             © Society Insurance, Inc., 2015.                             TBP2 (05-15)
               (a) Pumping stations and water                                Business        Personal     Property,
                   mains supplying water to the                              whichever is less. If loss payment on
                   described premises.                                       the first occurrence does not exhaust
               (b) Wastewater Removal Property,                              this amount, then the balance is
                   meaning a utility system for                              available for subsequent loss or
                   removing wastewater and sewage                            damage sustained in, but not after,
                   from the described premises, other                        that policy year. With respect to an
                   than a system designed primarily                          occurrence which begins in one policy
                   for draining storm water. The utility                     year and continues or results in
                   property includes sewer mains,                            additional loss or damage in a
                   pumping stations and similar                              subsequent policy year(s), all loss or
                   equipment for moving the effluent                         damage is deemed to be sustained in
                   to a holding, treatment or disposal                       the policy year in which the
                   facility, and includes such facilities.                   occurrence began.
                   Coverage does not apply to                           (3) This Additional Coverage does not
                   interruption in service caused by or                     apply to your
                   resulting from a discharge of water                      software, or to
                   or sewage due to heavy rainfall or                       is integrated in and operates or
                   flooding.                                                controls a build            tor, lighting,
               (c) Property supplying communication                         heating, ventilation, air conditioning or
                   services including telephone, radio,                     security system.
                   microwave or television services, to            t.   Interruption Of Computer Operations
                   the described premises, such as:                     (1) Subject to all provisions of this
                        Communication transmission                          Addition al Coverage, you may extend
                        lines;                                              the insurance that applies to Business
                        Coaxial cables; and                                 Income and Extra Expense to apply to
                        Microwave radio relays except                       a suspension of "operations" caused by
                        satellites.                                         an interruption in computer operations
                                                                            due to destruction or corruption of
               (d) The following types of property                          "electronic data" due to a Covered
                   supplying electricity, steam or gas                      Cause of Loss.
                   to the described premises:
                                                                        (2) With respect to the coverage provided
                        Utility generating plants;                          under this Additional Coverage, the
                        Switching Stations;                                 Covered Causes of Loss are subject
                        Substations;                                        to the following:
                        Transformers; and                                    (a) Coverage under this Additional
                        Transmission lines.                                      Coverage, Interruption
      s. Electronic Data                                                     Of Computer Operations, is limited to
          (1) Subject to the provisions of this                                  the "specified causes of loss" and
              Additional                                                         Collapse.
               Coverage, we will pay for the cost to                         (b) If the Businessowners Coverage
                                                                                 Form is endorsed to add a
                                                                                 Covered Cause of Loss, the
               corrupted by a Covered Cause of                                   additional Covered Cause of Loss
                                                                                 does not apply to the coverage
                                                                                 provided under this Additional
               loss will be valued at the cost of                                Coverage.
               replacement of the media on which                        (3) This Additional Coverage, Interruption
                                                                            Of Computer Operations, will begin
               blank media of substantially identical                       immediately upon suspension of
               type.                                                                      and will apply for a
          (2) Unless a higher limit is shown in the                         period of up to three consecutive
              Declarations, the most we will pay                            weeks after coverage begins.
              under this Additional Coverage.                           (4) This Additional Coverage Interruption
              Electronic Data for all loss or damage                        Of Computer Operations does not
              sustained in any one policy year,                             apply to loss sustained or expense
              regardless of the number of
              occurrences of loss or damage or the
              number of premises, locations or                               stated in Exhibit
                                                                                        (3) above   has not been
                                                                                               C 00060
              computer systems involved, is                                  exhausted.
              $100,000 or the Limit of Insurance for

TBP2 (05-15)                              © Society Insurance, Inc., 2015.                            Page 13 of 32
           (5) Coverage for Business Income does                             (b) Business      Personal    Property,
               not apply when a suspension of                                    including such property that you
                                                                                 acquire located at your newly
                or                                                               constructed or acquired buildings at
                                                                                 the location described in the
                                                                                 Declarations.
                Paragraphs (1) through (4) of this                               This Extension does not apply to
                Additional Coverage.                                             personal     property    that   you
           (6) Coverage for Extra Expense does not                               temporarily acquire in the course of
               apply when action is taken to avoid or                            installing or performing work on
               minimize a suspens                                                such property or your wholesale
               caused by destruction or corruption of                            activities.
                                                                                 The most we will pay for loss or
                                                                                 damage under this Extension is
                as provided under Paragraphs (1)                                 $100,000 at each building.
                through (4) of this Additional
                Coverage.                                                (3) Period of Coverage
           (7) This Additional Coverage does not                             With respect to insurance provided
               apply when loss or damage to                                  under this Coverage Extension for
                                                                             Newly Acquired Or Constructed
                                                                             Property, coverage will end when any of
                                                                             the following first occurs:
                elevator, lighting, heating, ventilation,                    (a) This policy expires;
                air conditioning or security system.                         (b) 30 days expire after you acquire or
  6. Coverage Extensions                                                         begin construction of that part of the
      In addition to the Limits of Insurance, you may                            building that would qualify as
      extend the insurance provided by this policy as                            covered property; or
      provided below.                                                        (c) You report values to us.
      Except as otherwise provided, the following                            We will charge you additional premium
      Extensions apply to property located in or on                          for values reported from the date you
      the building described in the Declarations or in                       acquire the property or begin
      the open (or in a vehicle) within 100 feet of the                      construction of that part of the building
      described premises, unless a higher Limit of                           that would qualify as covered property.
      Insurance is shown in the Declarations.                      b. Personal Property Off Premises
      a.   Newly Acquired Or Constructed Property                      You may extend the insurance that applies
           (1) Buildings                                               to Business Personal Property to apply to
                If this policy covers Buildings, you may               covered Business Personal Property, other
                extend that insurance to apply to:                     than "money" and "securities", "valuable
                                                                       papers and records", accounts receivable
                (a) Your new buildings while being built               or items leased or rented to others, while it
                    on the described premises; and                     is in the course of transit or temporarily at
                (b) Buildings you acquire at the                       a premises you do not own, lease, or
                    premises other than the one                        operate. This coverage does not apply to
                    described, intended for:                           property at contractor job sites which you
                     (i) Similar use as the building                   do not own or lease. The most we will pay
                         described in the Declarations;                for loss or damage under this Extension is
                         or                                            $25,000.
                     (ii) Use as a warehouse.                      c. Outdoor Property
                         The most that we will pay for                  You may extend the insurance provided by
                         loss or damage under this                      this policy to apply to your outdoor fences,
                         Extension is $500,000 at each                  radio and television antennas (including
                         building.                                      satellite dishes), light poles, yard fixtures,
                                                                        decks, patios, signs (other than signs
           (2) Business Personal Property                               structurally attached to covered buildings),
                If this policy covers Business Personal                 trees, shrubs and plants (other than trees,
                Property, you may extend that                           shrubs or plant which are part of a
                insurance to apply to:                                  vegetated roof), including debris removal
                (a) Business    Personal     Property                   expense. Loss or damage must be caused
                    including such property that you                    by or resulting from   any
                                                                                         Exhibit C Covered
                                                                                                   00061    Cause of
                    newly acquire at any location you                   Loss.
                    acquire; or

Page 14 of 32                             © Society Insurance, Inc., 2015.                              TBP2 (05-15)
           The most we will pay for loss or damage                          (b) Property in storage away from the
           under this Extension is $10,000 unless a                             premises      shown     in    the
           higher Limit of Insurance for Outdoor                                Declarations;
           Property is shown in the Declarations but                  (3) The most we will pay under this
           not more than $1,000 for any one tree,                         Coverage Extension for loss or
           shrub or plant.                                                damage to "valuable papers and
           Subject to all aforementioned terms and                        records" in any one occurrence at the
           limitations of coverage, this Coverage                         described premises is $10,000,
           Extension includes the expense of                              unless a higher Limit of Insurance for
           removing from the described premises the                       "valuable papers and records" is
           debris of trees, shrubs and plants which                       shown in the Declarations.
           are the property of others, except in the                        For "valuable papers and records" not
           situation in which you are a tenant and                          at the described premises, the most
           such property is owned by the landlord of                        we will pay is $5,000.
           the described premises.
                                                                      (4)
      d. Outdoor Signs Away from Premises                                   and records" will be valued at the cost
           You may extend the insurance provided by                         of restoration or replacement of the
           this policy to apply to your outdoor signs                       lost or damaged information. To the
           away from premises described in the                              extent that the contents of the
           Declarations caused by or resulting from
           any Covered Cause of Loss.
           The most we will pay for loss or damage                                                        cost of
           under this Extension is $5,000, unless a                         replacement with blank materials of
           higher limit is shown in the Declarations.                       substantially identical type.
      e. Personal Effects                                             (5) Section B. Exclusions of this
                                                                          Coverage Form does not apply to this
           You may extend the insurance that applies                      Coverage Extension except for:
           to Business Personal Property to apply to
           personal effects owned by you, your                              (a) Paragraph     B.1.c.,    Governmental
                                                your                            Action;
                                         , including                        (b) Paragraph B.1.d., Nuclear Hazard;
           temporary or leased employees. This                              (c) Paragraph B.1.f., War And Military
           extension does not apply to:                                         Action;
            (1) Tools or equipment used in your                             (d) Paragraph B.2.d., Dishonesty;
                business;
                                                                            (e) Paragraph B.2.e., False Pretense;
            (2) Loss or damage by theft; or
                                                                            (f) Paragraph B.2.k.(2),       Errors    or
            (3) Personal effects contained      in   a                          Omissions;
                dwelling or living quarters.
                                                                            (g) Paragraph B.2.; and
           The most we will pay for loss or damage
           under this Extension is $10,000 at each                          (h) The   Accounts      Receivable      and
           described premises.
                                                                                Exclusions.
      f.   "Valuable Papers And Records"
                                                                 g. Accounts Receivable
            (1) You may extend the insurance that
                applies to Business Personal Property                 (1) You may extend the insurance that
                to apply to direct physical loss or                       applies to Business Personal Property
                damage to "valuable papers and                            to apply to accounts receivable. We
                records" that you own, or that are in                     will pay:
                your care, custody or control caused                        (a) All amounts due from your
                by or resulting from a Covered Cause                            customers that you are unable to
                of Loss. This Coverage Extension                                collect;
                includes the cost to research, replace                      (b) Interest charges on any loan
                or restore lost information on                                  required to offset amounts you
                "valuable papers and records" for                               are unable to collect pending our
                which duplicates do not exist.                                  payment of these amounts;
            (2) This Coverage Extension does not                            (c) Collection expenses in excess of
                apply to:                                                       your normal collection expenses
                (a) Property held as samples or for                             that are made necessary by loss
                    delivery after sale;                                        or damage;  and
                                                                                      Exhibit C 00062




TBP2 (05-15)                            © Society Insurance, Inc., 2015.                                Page 15 of 32
                (d) Other reasonable expenses that                      (4) Under this Extension, the most we will
                    you incur to re-establish your                          pay for the total of all loss or damage
                    records of accounts receivable;                         to Business Personal Property is
                    that result from direct physical                        $10,000 (unless a higher limit is
                    loss or damage by any Covered                           indicated in the Declarations for such
                    Cause of Loss to your records of                        Extension) regardless of the number
                    accounts receivable.                                    of storage units.
           (2) The most we will pay under this                          (5) This Extension does not apply to loss
               Coverage Extension for loss or                               or damage otherwise covered under
               damage in any one occurrence at the                          this    Coverage      Form   or   any
               described premises is $10,000,                               endorsement to this Coverage Form,
               unless a higher Limit of Insurance for                       and does not apply to loss or damage
               accounts receivable is shown in the                          to the storage unit itself.
               Declarations.
                                                            B. Exclusions
                For accounts receivable not at the
                described premises, the most we will           1. We will not pay for loss or damage caused
                pay is $5,000.                                    directly or indirectly by any of the following.
                                                                  Such loss or damage is excluded regardless of
           (3) Section B. Exclusions of this                      any other cause or event that contributes
               Coverage Form does not apply to this               concurrently or in any sequence to the loss.
               Coverage Extension except for:                     These exclusions apply whether or not the loss
                (a) Paragraph B.1.c., Governmental                event results in widespread damage or affects
                    Action;                                       a substantial area.
                (b) Paragraph B.1.d., Nuclear Hazard;              a. Ordinance Or Law
                (c) Paragraph B.1.f., War And Military                 The enforcement of or compliance with
                    Action;                                            any ordinance or law:
                (d) Paragraph B.2.d., Dishonesty;                       (1) Regulating the construction, use or
                                                                            repair of any property; or
                (e) Paragraph B.2.e., False Pretense;
                                                                        (2) Requiring the tearing down of any
                (f) Paragraph B.3.; and
                                                                            property, including the cost of
                (g) Paragraph      B.5.       Accounts                      removing its debris.
                    Receivable Exclusions.
                                                                       This exclusion, Ordinance Or Law, applies
      h. Business Personal Property                                    whether the loss results from:
         Temporarily in Portable Storage Units
                                                                        (1) An ordinance or law that is enforced
           (1) You may extend the insurance that                            even if the property has not been
               applies to Business Personal Property                        damaged; or
               to apply to such property while
                                                                        (2) The increased costs incurred to
               temporarilystored in a portable
                                                                            comply with an ordinance or law in
               storage unit (including a detached
                                                                            the course of construction, repair,
               trailer) located within 100 feet of the
                                                                            renovation, remodeling or demolition
               described premises.
                                                                            of property or removal of its debris,
           (2) The limitation under Paragraph                               following a physical loss to that
               A.4.a.(3) also applies to property in a                      property.
               portable storage unit.
                                                                   b. Earth Movement
           (3) Coverage under this Extension:
                                                                        (1) Earthquake, including any earth
                (a) Will end 90 days after the                              sinking, rising, or shifting related to
                    Business Personal Property has                          such an event;
                    been placed in the storage unit
                                                                        (2) Landslide, including any earth sinking,
                (b) Does not apply if the storage unit                      rising or shifting related to such event;
                    itself has been in use at the
                                                                        (3) Mine      subsidence,     meaning
                    described premises for more than
                                                                            subsidence of a man-made mine,
                    90 consecutive days, even if the
                                                                            whether or not mining activity has
                    Business Personal Property has
                                                                            ceased;
                    been stored there for 90 or fewer
                    days as of the time of loss or
                    damage.

                                                                                       Exhibit C 00063




Page 16 of 32                             © Society Insurance, Inc., 2015.                            TBP2 (05-15)
          (4) Earth sinking (other than sinkhole                 d. Nuclear Hazard
              collapse), rising or shifting including
              soil conditions which cause settling,                   Nuclear reaction or radiation, or radioactive
              cracking or other disarrangement of                     contamination, however caused.
              foundations or other parts of realty.                   But if nuclear reaction or radiation, or
              Soil conditions include contraction,                    radioactive contamination, results in fire,
              expansion, freezing, thawing, erosion,                  we will pay for the loss or damage caused
              improperly compacted soil and the                       by that fire.
              action of water under the ground                   e. Utility Services
              surface.
                                                                      The failure of power, communication,
               But if Earth Movement, as described                    water or other utility service supplied to the
               in Paragraphs (1) through (4) above,                   described premises, however caused, if
               results in fire or explosion, we will                  the failure originates away from the
               pay for the loss or damage caused                      described premises; or originates at the
               by that fire or explosion.                             described premises, but only if such failure
          (5) Volcanic eruption, explosion or                         involves equipment used to supply the
              effusion. But if volcanic eruption,                     utility service to the described premises
              explosion or effusion results in fire,                  from a source away from the described
              building glass breakage or volcanic                     premises. Failure of any utility service
              action, we will pay for the loss or                     includes lack of sufficient capacity and
              damage caused by that fire, building                    reduction in supply.
              glass breakage or volcanic action.                      Loss or damage caused by a surge of
               Volcanic action means direct loss or                   power is also excluded if the surge would
               damage resulting from the eruption of                  not have occurred but for an event causing
               a volcano when the loss or damage is                   a failure of power.
               caused by:                                             But if the failure or surge of power, or the
               (a) Airborne    volcanic  blast     or                 failure of communication, water or other
                   airborne shock waves;                              utility service results in a Covered Cause of
               (b) Ash, dust, or particulate matter;                  Loss, we will pay for the loss or damage
                   or                                                 caused by that Covered Cause of Loss.
               (c) Lava flow.                                         Communication services include but are
                                                                      not limited to service relating to Internet
               With respect to coverage for volcanic                  access or access to any electronic cellular
               action as set forth in 5(a), (5)(b) and                or satellite network.
               5(c) all volcanic eruptions that occur
               within any 168-hour period will                   f.   War And Military Action
               constitute a single occurrence.                         (1) War, including undeclared or civil war;
               Volcanic action does not include the                    (2) Warlike action by a military force,
               cost to remove ash, dust or                                 including action in hindering or
               particulate matter that does not cause                      defending against an actual or
               direct physical loss of or damage to                        expected attack, by any government,
               Covered Property.                                           sovereign or other authority using
               This exclusion applies regardless of                        military personnel or other agents; or
               whether any of the above, in                            (3) Insurrection, rebellion, revolution,
               Paragraphs (1) through (5), is caused                       usurped power, or action taken by
               by an act of nature or is otherwise                         governmental authority in hindering or
               caused.                                                     defending against any of these.
      c. Governmental Action                                     g. Water
         Seizure or destruction of property by order                   (1) Flood,      surface     water,    waves
         of governmental authority.                                        (including tidal wave and tsunami),
         But we will pay for loss or damage caused                         tides, tidal water, overflow of any body
         by or resulting from acts of destruction                          of water, or spray from any of these,
         ordered by governmental authority and                             all whether or not driven by wind
         taken at the time of a fire to prevent its                        (including storm surge);
         spread, if the fire would be covered under                    (2) Mudslide or mudflow;
         this policy.                                                  (3) Water that backs up or overflows or is
                                                                           otherwise discharged from a sewer,
                                                                           drain, sump, sump pump or related
                                                                           equipment;Exhibit
                                                                                      or     C 00064




TBP2 (05-15)                            © Society Insurance, Inc., 2015.                            Page 17 of 32
           (4) Water under the ground surface pressing                        (b) Any other products and any
               on, or flowing or seeping through:                                 services, data or functions that
                (a) Foundations, walls, floors or paved                           directly or indirectly use or rely
                    surfaces;                                                     upon, in any manner, any of the
                                                                                  items listed in Paragraph (a)
                (b) Basements, whether paved or not; or                           above; due to the inability to
                (c) Doors, windows or other openings.                             correctly recognize, distinguish,
           (5) Waterborne material carried or                                     interpret or accept one or more
               otherwise moved by any of the water                                dates or times. An example is the
               referred to in Paragraphs B.1.g.(1),                               inability of computer software to
               B.1.g. (3), or B.1.g. (4), or material                             recognize the year 2000.
               carried or otherwise moved by                             (2) Any advice, consultation, design,
               mudslide or mudflow.                                          evaluation, inspection, installation,
                This exclusion applies regardless of                         maintenance, repair, replacement or
                whether any of the above, in                                 supervision provided or done by you
                Paragraphs B.1.g.(1) through (5), is                         or for you to determine, rectify or test
                caused by an act of nature or is                             for any potential or actual problems
                otherwise caused. An example of a                            described in Paragraph (1) above.
                situation to which this exclusion                       However, if excluded loss or damage, as
                applies is the situation where a dam,                   described in Paragraph (1) above results in
                levee, sea wall or other boundary or
                containment system fails in whole or                    only for the loss or damage caused by
                in part, for any reason, to contain the
                water.                                                  We will not pay for repair, replacement or
                But if any of the above in B.1.g.(1)                    modification of any items in Paragraphs
                through B.1.g.(5), results in fire,                     (1)(a) or (1)(b) to correct any deficiencies
                explosion or sprinkler leakage, we will                 or change any features.
                pay for the loss or damage caused by            2. We will not pay for loss or damage caused by
                that fire, explosion or sprinkler                  or resulting from any of the following:
                leakage.
                                                                    a. Consequential Losses
      h. Certain Computer-Related Losses
                                                                        Delay, loss of use or loss of market.
           (1) The failure, malfunction or inadequacy of:
                                                                    b. Smoke, Vapor, Gas
                (a) Any of the following, whether
                    belonging to any insured or to                      Smoke, vapor or gas from agricultural
                    others:                                             smudging or industrial operations.
                    (i)                                             c. Frozen Plumbing
                            including microprocessors or                Water, other liquids, powder or molten
                            other       electronic  data                material that leaks or flows from plumbing
                            processing equipment as                     (including laterals and septic systems),
                            may be described elsewhere                  heating, air conditioning or other equipment
                            in this policy;                             (except fire protective systems) caused by
                    (ii)                                                or resulting from freezing, unless:
                                                                         (1) For plumbing within a building or
                                                                             structure, you do your best to maintain
                            be described elsewhere in                        heat in the building or structure; or
                            this policy;                                 (2) You drain the equipment and shut off
                    (iii)                                                    the supply if the heat is not maintained.
                            systems     and      related            d. Dishonesty
                            software;
                                                                        Dishonest or criminal acts (including theft) by
                    (iv)                                                you, anyone else with an interest in the
                    (v) Microprocessors (                               property, or any of your or their partners,
                        chips) not part         of   any
                                                                        (including temporary or leased employees),
                    (vi) Any other computerized or                      directors,     trustees,      or     authorized
                         electronic  equipment  or                      representatives whether acting alone or in
                         components; or                                 collusion with each other or with any other
                                                                        party; or theft by any person to whom you
                                                                        entrust the property  for any
                                                                                         Exhibit      purpose, whether
                                                                                                  C 00065
                                                                        acting alone or in collusion with another party.



Page 18 of 32                              © Society Insurance, Inc., 2015.                             TBP2 (05-15)
           This exclusion:                                                         (iii) Weight of rain that collects on
                                                                                         a roof; or
             (1) Applies whether or not an act occurs
                 during your normal hours of operation                             (iv) Weight of people or personal
                                                                                        property
             (2) Does not apply to acts of destruction
                 by   your    employees     (including              h. Pollution
                 temporary or leased employees) or                       We will not pay for loss or damage caused
                 authorized representatives; but theft                   by or resulting from the discharge,
                 by   your    employees     (including                   dispersal, seepage, migration, release or
                 temporary or leased employees) or                       escape of "pollutants" unless the
                 authorized representatives is not                       discharge, dispersal, seepage, migration,
                 covered.                                                release or escape is itself caused by any of
                 With respect to accounts receivable                     the "specified causes of loss". But if the
                 and "valuable papers and records",                      discharge, dispersal, seepage, migration,
                 this exclusion does not apply to                        release or escape of "pollutants" results in
                 carriers for hire.                                      a "specified cause of loss", we will pay for
                                                                         the loss or damage caused by that
                 This exclusion does not apply to                        "specified cause of loss".
                 coverage that is provided under the
                 Employee     Dishonesty    Optional                i.   Neglect
                 Coverage.                                               Neglect of an insured to use all reasonable
      e. False Pretense                                                  means to save and preserve property from
                                                                         further damage at and after the time of
           Voluntary parting with any property by you                    loss.
           or anyone else to whom you have
           entrusted the property if induced to do so               j.   Other Types Of Loss
           by any fraudulent scheme, trick, device or                     (1) Wear and tear;
           false pretense.                                                (2) Rust or other corrosion,               ,
      f.   Exposed Property                                                   decay, deterioration, hidden or latent
           Rain, snow, ice or sleet to personal                               defect or any quality in property that
           property in the open.                                              causes it to damage or destroy itself;
      g. Collapse                                                         (3) Smog;
             (1) Collapse, including any of the                           (4) Settling, cracking,       shrinking    or
                 following conditions of property or any                      expansion;
                 part of the property;                                    (5) Nesting or infestation, or discharge or
                 (a) An abrupt falling down or caving                         release of waste products or
                     in                                                       secretions, by insects, birds, rodents
                                                                              or other animals;
                 (b) Loss of structural integrity,
                     including separation of parts of                     (6) The following causes of loss to
                     the property or property in danger                       personal property:
                     of falling down or                                        (a) Dampness    or        dryness     of
                 (c) Any cracking, bulging, sagging,                               atmosphere;
                     bending,        leaning, settling,                        (b) Changes in or         extremes    of
                     shrinkage, or expansion as such                               temperature; or
                     condition relates to paragraphs                           (c) Marring or scratching.
                     i.(1)(a) or i.(1)(b)
                                                                         But if an excluded cause of loss that is
           But if collapse results in a Covered Cause                    listed in Paragraphs (1) through (6) results
           of Loss at the described premises, we will                    in a "specified cause of loss" or building
           pay for the loss or damage caused by that                     glass breakage, we will pay for the loss or
           Covered Cause of Loss                                         damage caused by that "specified cause of
           (2) This Exclusion i. does not apply:                         loss" or building glass breakage.
               (a) To the extent that coverage is                   k. Errors Or Omissions
                   provided under the Additional                         Errors or omissions in:
                   Coverage Collapse; or
                                                                          (1) Programming, processing or storing
               (b) To collapse caused by one or more                          data, as
                   of the following:                                          data
                     (i)                                                      or
                                                                                         Exhibit C 00066
                     (ii) Breakage of building glass



TBP2 (05-15)                               © Society Insurance, Inc., 2015.                             Page 19 of 32
            (2)                                                         of part or all of any property on or off the
                                                                        described premises.
           However, we will pay for direct physical              4. Business Income           And    Extra   Expense
           loss or damage caused by resulting fire or               Exclusions
           explosion if these causes of loss would be               a. We will not pay for:
           covered by this coverage form.                                (1) Any Extra Expense, or increase of
      l.   Installation, Testing, Repair                                     Business Income loss, caused by or
           Errors or deficiency in design, installation,                     resulting from:
           testing, maintenance, modification or                              (a) Delay in rebuilding, repairing or
                                                                                  replacing     the     property   or
           electronic data                                                        resuming "operations", due to
           However, we will pay for direct physical                               interference at the location of the
           loss or damage caused by resulting fire or                             rebuilding, repair or replacement
           explosion if these causes of loss would be                             by strikers or other persons; or
           covered by this coverage form.                                     (b) Suspension, lapse or cancellation
      m. Electrical Disturbance                                                   of any license, lease or contract.
                                                                                  But if the suspension, lapse or
           Electrical or magnetic injury, disturbance,                            cancellation is directly caused by
           virus                         data                                     the suspension of "operations",
           as provided for under A.5 Additional                                   we will cover such loss that
           Coverages.                                                             affects your Business Income
           However, we will pay for direct loss or                                during the "period of restoration"
           damage caused by lightning.
      n. Continuous Or Repeated Seepage Or
         Leakage of Water                                                         the terms of the           Extended
                                                                                  Business  Income           Additional
           Continuous or repeated seepage or                                      Coverage.
           leakage of water, or the presence or
           condensation of humidity, moisture or                         (2) Any other consequential loss.
           vapor, that occurs over a period of 14 days              b. With respect to this exclusion, suspension
           or more.                                                    means:
  3. We will not pay for loss or damage caused by                        (1) The partial slowdown or complete
     or resulting from any of the following B.3.a.                           cessation of your business activities;
     through B.3.c. But if an excluded cause of loss                         and
     that is listed in B.3.a. through B.3.c. results in                  (2) That a part or all of the described
     a Covered Cause of Loss, we will pay for the                            premises is rendered untenantable, if
     loss or damage caused by that Covered Cause                             coverage for Business Income
     of Loss.                                                                applies.
      a. Weather Conditions                                     5. Accounts Receivable Exclusion
           Weather conditions. But this exclusion only              The following additional exclusion applies to the
           applies if weather conditions contribute in              Accounts Receivable Extension:
           any way with a cause or event excluded in
           Paragraph 1. above to produce the loss or                We will not pay for:
           damage.                                                  a. Loss or damage caused by or resulting
      b. Acts Or Decisions                                             from alteration, falsification, concealment
                                                                       or destruction of records of accounts
           Acts or decisions, including the failure to                 receivable done to conceal the wrongful
           act or decide, of any person, group,                        giving, taking or withholding of "money",
           organization or governmental body.                          "securities" or other property.
      c. Negligent Work                                                 This exclusion applies only to the extent of
           Faulty, inadequate or defective:                             the wrongful giving, taking or withholding.
            (1) Planning,      zoning,     development,             b. Loss or damage caused by or resulting
                surveying, siting;                                     from bookkeeping, accounting or billing
            (2) Design, specifications, workmanship,                   errors or omissions.
                repair,  construction,    renovation,               c. Any loss or damage that requires any audit
                remodeling, grading, compaction;                       of records or any inventory computation to
            (3) Materials used in repair, construction,                prove its factual existence.
                renovation or remodeling; or                                               Exhibit C 00067
            (4) Maintenance;


Page 20 of 32                              © Society Insurance, Inc., 2015.                             TBP2 (05-15)
  6. Additional Exclusion                                               (2) Multiply the number calculated in
                                                                            accordance with b.(1) by the number of
     The following applies only to the property                             days since the beginning of the current
     specified in this Additional Exclusion                                 policy year or the effective date of the
     Loss or Damage to Products                                             most recent policy change amending
     We will not pay for loss or damage to any                              the Building and Business Personal
     merchandise goods or other product caused by or                        Property limits, divided by 365.
     resulting from error or omission by any person or                      Example:
     entity (including those having possession under                        If:The applicable Building limit is
     an arrangement where work or a portion of the                          $100,000. The annual percentage
     works is outsourced) in any stage of the                               increase is 8%. The number of days
     development, production or use of the product                          since the beginning of the policy year
     including planning testing, processing, packaging,                     (or last policy change) is 146.
     installation, maintenance or repair. This exclusion
     applies to any effect that compromises the form,                       The amount of increase is
     substance or quality of the product. But if such                       $100,000 x .08 x 146     365 = $3,200.
     error or omission results in a Covered Cause of          4. Business Personal           Property      Limit
     Loss, we will pay for the loss or damage caused             Seasonal Increase
     by that Covered Cause of Loss.
                                                                  a. Subject to Paragraph 4.b., The Limit of
      C. Limits Of Insurance                                         Insurance for Business Personal Property
      1. The most we will pay for loss or damage in                  is automatically increased by:
         any one occurrence is the applicable Limit                     (1) The Business Personal Property-
         of Insurance shown in the Declarations.                            Seasonal Increase percentage shown
      2. The amounts of insurance applicable to                             in the Declarations; or
         the Coverage Extensions and the following                      (2) 25% if no Business Personal Property-
         Additional Coverages apply in accordance                           Seasonal Increase percentage is shown
         with the terms of such coverages are in                            in the Declarations;
         addition to the Limits of Insurance:
                                                                       to provide for seasonal variances
               a. Fire Department Service Charge
                                                                  b. The increase described in Paragraph 4.a
               b. Contamination                                      will apply only if the Limit of Insurance
               c. Ordinance or Law                                   shown for Business Personal Property in
               d. Debris Removal                                     the Declarations is at least 100% of your
                                                                     average monthly values during the lesser
               e. Pollutant Cleanup and Removal                      of:
  3. Automatic Increase                                                 (1) The 12 months immediately preceding
      a. In accordance with Paragraph C.3.b. the                            the date the loss or damage occurs; or
         Limit of Insurance for Buildings and Business                  (2) The period of time you have been in
         Personal Property will automatically increase                      business as of the date the loss or
         by 4% unless a different percentage of                             damage occurs.
         annual increase is shown in the Declarations.
                                                           D. Deductibles
      b. The amount of increase will be calculated as
         follows:                                             1. We will not pay for loss or damage in any one
                                                                 occurrence until the amount of loss or damage
           (1) Multiply the Building and Business
                                                                 exceeds the Deductible shown in the
               Personal Property limits that applied on
                                                                 Declarations. We will then pay the amount of
               the most recent of the policy inception
                                                                 loss or damage in excess of the Deductible up
               date, the policy anniversary date, or any
                                                                 to the applicable Limit of Insurance of
               other policy change amending the
               Building and Business Personal                 2. No deductible applies          to   the   following
               Property limits, by                               Additional Coverages:
               (a) The percentage of annual increase              a.   Fire Department Service Charge;
                   shown      in   the Declarations,              b.   Business Income;
                   expressed as a decimal (example:               c.   Extra Expense;
                   3% is .03), times                              d.   Civil Authority;
               (b) .04 if no percentage of annual                 e.   Customer Expense Reimbursement; and
                   increase is shown in the                       f.   Fire Extinguishing Equipment
                   Declarations; and
                                                                  g.   Service Interruption
                                                                                       Exhibit C 00068




TBP2 (05-15)                             © Society Insurance, Inc., 2015.                            Page 21 of 32
E. Property Loss Conditions                                                   Also permit us to take samples of
  1. Abandonment                                                              damaged and undamaged property
                                                                              for inspection, testing and analysis,
      There can be no abandonment of any property                             and permit us to make copies from
      to us.                                                                  your books and records.
  2. Appraisal                                                           (7) Send us a signed, sworn proof of loss
      If we and you disagree on the amount of loss,                          containing the information we request
      either may make written demand for an                                  to investigate the claim. You must do
      appraisal of the loss. In this event, each party                       this within 60 days after our request.
      will select a competent and impartial appraiser.                       We will supply you with the necessary
      The two appraisers will select an umpire. If they                      forms.
      cannot agree, either may request that selection                    (8) Cooperate with us in the investigation
      be made by a judge of a court having                                   or settlement of the claim.
      jurisdiction. The appraisers will state separately
      the amount of loss. If they fail to agree, they will               (9) Resume all or part of your
      submit their differences to the umpire. A                              "operations" as quickly as possible.
      decision agreed to by any two will be binding.                b. We may examine any insured under oath,
      Each party will:                                                 while not in the presence of any other
      a. Pay its chosen appraiser; and                                 insured and at such times as may be
                                                                       reasonably required, about any matter
      b. Bear the other expenses of the appraisal                      relating to this insurance or the claim,
         and umpire equally.                                           including an insured's books and records.
      If there is an appraisal, we will still retain our               In the event of an examination, an
      right to deny the claim.                                         insured's answers must be signed.
  3. Duties In The Event Of Loss Or Damage                       4. Legal Action Against Us
      a. You must see that the following are done                   No one may bring a legal action against us
         in the event of loss or damage to Covered                  under this insurance unless:
         Property:                                                  a. There has been full compliance with all of
           (1) Notify the police if a law may have                     the terms of this insurance; and
               been broken.                                         b. The action is brought within 2 years after
           (2) Give us prompt notice of the loss or                    the date on which the direct physical loss
               damage. Include a description of the                    or damage occurred.
               property involved.                                5. Loss Payment
           (3) As soon as possible, give us a                       In the event of loss or damage covered by this
               description of how, when and where                   policy:
               the loss or damage occurred.
                                                                    a. At our option, we will either:
           (4) Take all reasonable steps to protect the
               Covered Property from further damage,                     (1) Pay the value of lost or damaged
               and keep a record of your expenses                            property;
               necessary to protect the Covered                          (2) Pay the cost of repairing or replacing
               Property, for consideration in the                            the lost or damaged property;
               settlement of the claim. This will not                    (3) Take all or any part of the property at
               increase the Limit of Insurance.                              an agreed or appraised value; or
               However, we will not pay for any
               subsequent loss or damage resulting                       (4) Repair, rebuild or replace the property
               from a cause of loss that is not a                            with other property of like kind and
               Covered Cause of Loss. Also, if                               quality, subject to d.(1) below.
               feasible, set the damaged property                   b. We will give notice of our intentions within
               aside and in the best possible order for                30 days after we receive the sworn proof of
               examination.                                            loss.
           (5) At our request, give us complete                     c. We will not pay you more than your
               inventories of the damaged and                          financial interest in the Covered Property.
               undamaged property. Include quantities,              d. Except as provided in (2) through (9)
               costs, values and amount of loss                        below, we will determine the value of
               claimed.                                                Covered Property as follows:
           (6) As often as may be reasonably                             (1) At     replacement    cost    without
               required, permit us to inspect the                            deduction for depreciation, subject to
               property proving the loss or damage                           the following:
               and examine your books and records.                                      Exhibit C 00069




Page 22 of 32                              © Society Insurance, Inc., 2015.                             TBP2 (05-15)
               (a) You may make a claim for loss or                         (a) Used or second-hand merchandise
                   damage       covered       by    this                        held in storage or for sale;
                   insurance on an actual cash                              (b) Property of others. However, if
                   value basis instead of on a                                  property of others is subject to a
                   replacement cost basis. In the                               written contract which governs your
                   event you elect to have loss or                              liability for loss or damage to that
                   damage settled on an actual cash                             item(s), then valuation of that item(s)
                   value basis, you may still make a                            will be based on the amount for
                   claim on a replacement cost                                  which you are liable under such
                   basis if you notify us of your intent                        contract, but not to exceed the lesser
                   to do so within 180 days after the                           of the valuation option indicated in
                   loss or damage.                                              the      Declarations    (replacement
               (b) We will not pay on a replacement                             cost/actual cash value) of the
                   cost basis for any loss or                                   property or the applicable Limit of
                   damage:                                                      Insurance.
                   (i) Until the lost or damaged                            (c) Household      contents,     except
                       property is actually repaired                            personal property in apartments or
                       or replaced; and                                         rooms furnished by you as landlord;
                   (ii) Unless the repairs are made                         (d) Manuscripts;
                        as soon as reasonably                               (e) Works of art; collectibles, antiques
                        possible after the loss or                              or rare articles, including etchings,
                        damage.                                                 pictures, statuary, marbles, bronzes
                       However, if the cost to repair                           porcelains and bric-a-brac.
                       or replace the damaged                          (4) Glass at the cost of replacement with
                       property is $2,500 or less, we                      safety glazing material if required by
                       will settle the loss whether or                     law.
                       not      actual     repair   or
                       replacement is complete.                        (5) Tenants'     Improvements              and
                                                                           Betterments at:
               (c) We will not pay more for loss or
                   damage on a replacement cost                             (a) Replacement cost if you make
                   basis than the least of:                                     repairs promptly.
                   (i) The Limit of Insurance that                          (b) A proportion of your original cost
                       applies to the lost or                                   if you do not make repairs
                       damaged property.                                        promptly. We will determine the
                                                                                proportionate value as follows:
                   (ii) The cost to replace, on the
                        same premises, the lost or                              (i) Multiply the original cost by
                        damaged property with other                                 the number of days from the
                        property:                                                   loss or damage to the
                                                                                    expiration of the lease; and
                       1. Of comparable material
                          and quality; and                                      (ii) Divide        the       amount
                                                                                     determined in (i) above by the
                       2. Used    for      the    same                               number of days from the
                          purpose; or                                                installation of improvements
                   (iii) The amount you actually                                     to the expiration of the lease.
                         spend that is necessary to                             If your lease contains a renewal
                         repair or replace the lost or                          option, the expiration of the
                         damaged property.                                      renewal option period will replace
                       If a building is rebuilt at a new                        the expiration of the lease in this
                       premises, the cost is limited to                         procedure.
                       the cost which would have been                       (c) Nothing if others pay for repairs
                       incurred had the building been                           or replacement.
                       built at the original premises
                                                                       (6) Applicable only        to   the   Optional
          (2) If the Actual Cash Value option                              Coverages:
              applies, as shown in the Declarations,
              paragraph (1) above does not apply                            (a) "Money" at its face value; and
              to property specified. Instead, we will                       (b) "Securities" at their value at the
              determine the value of property at                                close of business on the day the
              actual cash value.                                                loss is discovered.
          (3) The following property at actual cash                                    Exhibit C 00070
              value:


TBP2 (05-15)                             © Society Insurance, Inc., 2015.                              Page 23 of 32
           (7) The     value     of   United    States                  e. Our payment for loss of or damage to
               Government Internal Revenue taxes                           personal property of others will only be for
               and custom duties and refundable                            the account of the owners of the property.
               state and local taxes paid or fully                         We may adjust losses with the owners of
               determined on the following property                        lost or damaged property if other than you.
               held for sale will not be considered in                     If we pay the owners, such payments will
               determining the value of Covered                            satisfy your claims against us for the
               Property:                                                   owners' property. We will not pay the
                (a) Distilled spirits;                                     owners more than their financial interest in
                                                                           the Covered Property.
                (b) Wines;
                                                                        f.   We may elect to defend you against suits
                (c) Rectified products; or                                   arising from claims of owners of property.
                (d) Beer                                                     We will do this at our expense.
           (8) Applicable        only     to      Accounts              g. We will pay for covered loss or damage
               Receivable:                                                 within 30 days after we receive the sworn
                (a) If you cannot accurately establish                     proof of loss, provided you have complied
                    the     amount     of    accounts                      with all of the terms of this policy, and
                    receivable outstanding as of the                         (1) We have reached agreement with you
                    time of loss or damage:                                      on the amount of loss; or
                      (i) We will determine the total of                     (2) An appraisal award has been made.
                          the average monthly amounts                   h. A party wall is a wall that separates and is
                          of accounts receivable for the                   common to adjoining buildings that are
                          12    months      immediately                    owned by different parties. In settling
                          preceding the month in which                     covered losses involving a part wall, we will
                          the loss or damage occurs;                       pay a proportion of the loss to the party
                          and                                              wall based on your interest in the wall in
                      (ii) We will adjust that total for                   proportion to the interest of the owner of
                           any normal fluctuations in the                  the adjoining building. However, if you
                           amount       of       accounts                  elect to repair or replace your building and
                           receivable for the month in                     the owner of the adjoining building elects
                           which the loss or damage                        not to repair or replace that building, we
                           occurred     or     for    any                  will pay you the full value of the loss to the
                           demonstrated variance from                      party wall, subject to all applicable policy
                           the average for that month.                     provisions including Limits of Insurance
                (b) The following will be deducted                         and all other provisions of this Loss
                    from the total amount of accounts                      Payment Condition. Our payment under
                    receivable, however that amount                        the provisions of this paragraph does not
                    is established:                                        alter any right of subrogation we may have
                                                                           against any entity, including the owner or
                      (i) The amount of the accounts                       insurer of the adjoining building and does
                          for which there is no loss or                    not alter the terms of the Transfer Of
                          damage;                                          Rights Of Recovery Against Others To Us
                      (ii) The amount of the accounts                      Condition in this policy
                           that you are able to re-                  6. Recovered Property
                           establish or collect;
                                                                        If either you or we recover any property after
                      (iii) An amount to allow for                      loss settlement, that party must give the other
                            probable bad debts that you                 prompt notice. At your option, you may retain
                            are normally unable to collect;             the property. But then you must return to us the
                            and                                         amount we paid to you for the property. We will
                      (iv) All unearned interest        and             pay recovery expenses and the expenses to
                           service charges.                             repair the recovered property, subject to the
                                                                        Limit of Insurance.
           (9) Applicable only to Spoilage:
                                                                     7. Resumption Of Operations
                (a)
                      sold but not delivered, at the                    We will reduce the amount of your:
                      selling price less discounts and                  a. Business Income loss, other than Extra
                      expenses you otherwise would                         Expense, to the extent you can resume
                      have had; and                                        your "operations", in whole or in part, by
                (b)                                                        using damaged or undamaged property
                                                                                          Exhibit C 00071
                                                                           (including merchandise    or stock) at the
                      Actual Cash Value.
                                                                           described premises or elsewhere.


Page 24 of 32                                  © Society Insurance, Inc., 2015.                           TBP2 (05-15)
      b. Extra Expense loss to the extent you can         F. Property General Conditions
         return "operations" to normal and                    1. Control Of Property
         discontinue such Extra Expense.
                                                                 Any act or neglect of any person other than you
  8. Vacancy                                                     beyond your direction or control will not affect
      a. Description Of Terms                                    this insurance.
          (1) As used in this Vacancy Condition,                 The breach of any condition of this Coverage
              the term building and the term vacant              Form at any one or more locations will not
              have the meanings set forth in                     affect coverage at any location where, at the
              Paragraphs (a) and (b) below:                      time of loss or damage, the breach of condition
               (a) When this policy is issued to a               does not exist.
                   tenant, and with respect to that           2. Mortgageholders
                   tenant's interest in Covered                  a. The term "mortgageholder" includes trustee.
                   Property, building means the unit
                   or suite rented or leased to the              b. We will pay for covered loss of or damage to
                   tenant. Such building is vacant                  buildings     or    structures    to   each
                   when it does not contain enough                  mortgageholder shown in the Declarations in
                   business personal property to                    their order of precedence, as interests may
                   conduct customary operations.                    appear.
               (b) When this policy is issued to the             c. The mortgageholder has the right to receive
                   owner or general lessee of a                     loss payment even if the mortgageholder has
                   building, building means the                     started foreclosure or similar action on the
                   entire building. Such building is                building or structure.
                   vacant unless at least 31% of its             d. If we deny your claim because of your acts or
                   total square footage:                            because you have failed to comply with the
                   (i) Rented to a lessee or sub-                   terms of this policy, the mortgageholder will
                       lessee and used by the                       still have the right to receive loss payment if
                       lessee or sub-lessee to                      the mortgageholder:
                       conduct      its customary                      (1) Pays any premium due under this
                       operations; or                                      policy at our request if you have failed
                   (ii) Used by the building owner to                      to do so;
                        conduct customary operations.                  (2) Submits a signed, sworn proof of loss
          (2) Buildings under construction or                              within 60 days after receiving notice
              renovation are not considered vacant.                        from us of your failure to do so; and
      b. Vacancy Provisions                                            (3) Has notified us of any change in
                                                                           ownership, occupancy or substantial
         If the building where loss or damage                              change in risk known to the
         occurs has been vacant for more than 60                           mortgageholder.
         consecutive days before that loss or
         damage occurs:                                                    All of the terms of this policy will then
                                                                           apply directly to the mortgageholder.
          (1) We will not pay for any loss or damage
              caused by any of the following even if             e. If we pay the mortgageholder for any loss
              they are Covered Causes of Loss:                      or damage and deny payment to you
                                                                    because of your acts or because you have
               (a) Vandalism;                                       failed to comply with the terms of this
               (b) Sprinkler leakage, unless you have               policy:
                   protected the system against                        (1) The mortgageholder's rights under the
                   freezing;                                               mortgage will be transferred to us to the
               (c) Building glass breakage;                                extent of the amount we pay; and
               (d) Water damage;                                       (2) The mortgageholder's right to recover
               (e) Theft; or                                               the full amount of the mortgageholder's
                                                                           claim will not be impaired.
               (f) Attempted theft.
                                                                      At our option, we may pay to the
          (2) With respect to Covered Causes of                       mortgageholder the whole principal on the
              Loss other than those listed in                         mortgage plus any accrued interest. In this
              b.(1)(a) through b.(1)(f) above, we will                event, your mortgage and note will be
              reduce the amount we would                              transferred to us and you will pay your
              otherwise pay for the loss or damage                    remaining mortgage debt to us.
              by 15%.
                                                                 f.   If we cancel this policy,Cwe
                                                                                      Exhibit      will give written
                                                                                                00072
                                                                      notice to the mortgageholder at least:



TBP2 (05-15)                            © Society Insurance, Inc., 2015.                            Page 25 of 32
           (1) 10 days before the effective date of                     (4) Corrosion.
               cancellation if we cancel for your                  d. The most we will pay for loss or damage in
               nonpayment of premium; or                              any one occurrence is the Limit of
           (2) 30 days before the effective date of                   Insurance for Outdoor Signs shown in the
               cancellation if we cancel for any other                Declarations.
               reason.                                             e. The provisions of this Optional Coverage
      g. If we elect not to renew this policy, we will                supersede all other references to outdoor
         give written notice to the mortgageholder                    signs in this policy.
         at least 10 days before the expiration date            2. Crime
         of this policy.
                                                                   a. Money and Securities
  3. No Benefit To Bailee
                                                                        (1)
          No person or organization, other than you,
          having custody of Covered Property will                             a bank or savings institution, within your
          benefit from this insurance.                                        living quarters or the living quarters of
  4. Policy Period, Coverage Territory                                        your partners or any employee (including
      Under this form:                                                        a temporary or leased employee) having
                                                                              use and custody of the property, at the
      a. We cover loss or damage commencing:                                  described premises, or in transit between
           (1) During the policy period shown in the                          any of these places, resulting directly
               Declarations; and                                              from:
           (2) Within the coverage territory or, with                         (a) Theft, meaning any act of stealing;
               respect to property in transit, while it                       (b) Disappearance; or
               is between points in the coverage
               territory.                                                     (c) Destruction.
      b. The coverage territory is:                                     (2) In addition to the Limitations and
                                                                            Exclusions applicable to property
           (1) The United States of America                                 coverage, we will not pay for loss:
               (including    its territories and
               possessions);                                                  (a) Resulting from accounting or
                                                                                  arithmetical errors or omissions;
           (2) Puerto Rico; and
                                                                              (b) Due to the giving or surrendering
           (3) Canada.                                                            of property in any exchange or
G. Optional Coverages                                                             purchase; or
   If shown as applicable in the Declarations, the                            (c) Of property contained in any
   following Optional Coverages also apply. These                                                          less
   coverages are subject to the terms and conditions
   applicable to property coverage in this policy,                                in it is recorded by a continuous
   except as provided below.                                                      recording instrument in the
                                                                                  device.
  1. Outdoor Signs
                                                                              (d) Of property involved in the course
      a. We will pay for direct physical loss of or                               of illegal transportation or trade;
         damage to all outdoor signs at the                                       contraband.
         described premises:
                                                                        (3) The most we will pay for loss in any
           (1) Owned by you; or                                             one occurrence is:
           (2) Owned by others but in your care,                              (a) The limit shown in the Declarations
               custody or control.                                                for Money and Security - Inside the
      b. Paragraph A.3., Covered Causes Of                                        Premises while:
         Loss, and Section B., Exclusions, do not                                 (i) In or on         the   described
         apply to this Optional Coverage, except for:                                 premises; or
           (1) Paragraph B.1.c., Governmental Action;                             (ii) Within a bank or savings
           (2) Paragraph B.1.d., Nuclear Hazard; and                                   institution; and
           (3) Paragraph B.1.f., War And Military                             (b) The limit shown in the Declarations
               Action.                                                            for Money and Security - Outside
                                                                                  the Premises while anywhere else.
      c. We will not pay for loss or damage caused
         by or resulting from:                                           (4) All loss:
           (1) Wear and tear;                                                 (a) Caused by one or more persons;
                                                                                  or   Exhibit C 00073
           (2) Hidden or latent defect;
                                                                              (b) Involving a single act or series or
           (3) Rust; or
                                                                                  related acts;

Page 26 of 32                             © Society Insurance, Inc., 2015.                              TBP2 (05-15)
                is considered one occurrence.                              (a) Loss resulting from any dishonest
          (5)                                                                  or criminal act committed by any of
                                                                               your employees, directors, trustees,
                amount of any loss or damage.                                  or authorized representatives:
      b. Money Orders and Counterfeit Money                                    (i) Acting alone or in collusion with
                                                                                   other persons; or
         We will pay for loss resulting directly from
         your having accepted in good faith, in                                (ii) While performing services for
                                                                                    you or otherwise.
         services:                                                         (b) Loss or property surrendered before
          (1) Money orders issued by any post                                  a reasonable effort has been made
              office, express company or bank that
              are not paid upon presentation; or                               all the following:
          (2)                money                                             (i) An associate;
                during the regular course of business.                         (ii) The Federal Bureau              of
         The most we will pay for any one                                           Investigation; and
         occurrence under this Optional Coverage                               (iii) Local law enforcement authorities.
         is the Limit of Insurance for Money Orders                   (4) Loss is covered only if the threat to do
         and Counterfeit Money shown in the                               bodily harm is first communicated to
         Declarations.                                                    you during the Policy Period.
      c. Forgery and Alteration                                       (5) Loss is covered only if the capture or
          (1) We will pay for loss resulting directly                     alleged capture takes place within the
              from forgery or alteration of, any                          United States of America, U.S. Virgin
              check, draft, promissory note, bill of                      Islands, Puerto Rico or Canada.
              exchange or similar written promise of                       The Coverage Territory            General
                                                                           Conditions does not apply.
                agent has issued, or that was issued
                by someone who impersonates you or               e. Computer Fraud
                your agent.                                           (1) We will pay for loss of or damage to
          (2) If you are sued for refusing to pay the                     Business Personal Property and
              check, draft, promissory note, bill of
              exchange or similar written promise of                       theft (meaning any act of stealing)
                                                                           following and directly related to the use
                it has been forged or altered, and you                     of any computer to fraudulently cause a
                have our written consent to defend                         transfer of property from inside the
                against the suit, we will pay for any                      described premises or bank or savings
                reasonable legal expenses that you                         institution to a person (other than you,
                incur in that defense.                                     any of your partners or any employee)
                                                                           outside the described premises.
          (3) For the purpose of this coverage,
              check includes a substitute check as                    (2) The most we will pay for loss in any
              defined in the Check Clearing for the                       one occurrence is the Limit of
                 st
              21 Century Act, and will be treated                         Insurance for Computer Fraud shown
              the same as the original it replaced.                       in the Declarations.
          (4) The most we will pay for any one                        (3) We will not pay for loss as specified
              occurrence, including legal expenses,                       below:
              under this Optional Coverage is the                          (a) Loss resulting from any dishonest
              Limit of Insurance for Forgery and                               or criminal act committed by any
              Alterations shown in the Declarations.                           of your employees, directors
      d. Extortion                                                             trustees       or      authorized
                                                                               representatives:
          (1) We will pay for loss of Business
                                                                               (i) Acting alone or in collusion
                                                  rom                              with other persons; or
                                                                               (ii) While performing services for
          (2) The most we will pay for loss in any                                  you or otherwise.
              one occurrence is the applicable Limit                       (b) Loss, or that part of any loss, the
              of Insurance for Extortion shown in                              proof of which as to its existence
              the Declarations.                                                or amount is dependent upon:
          (3) We will not pay for loss as specified                             (i) AnExhibit C 00074
                                                                                       inventory computation; or
              below:                                                           (ii) A profit and loss computation.


TBP2 (05-15)                            © Society Insurance, Inc., 2015.                              Page 27 of 32
           (4) Duties in the Event of Loss: If you                       (5) The most we will pay for loss in any
               have reason to believe that any loss                          one occurrence is the applicable Limit
               of, or damage to, property involves a                         of Insurance for Funds Transfer
               violation of law, you must notify law                         Fraud shown in the Declarations.
               enforcement authorities.                          3. Employee Dishonesty
      f.   Funds Transfer Fraud                                          (1) We will pay for direct loss of or
           (1) We will pay for loss of "funds"                               damage to Business Personal
               resulting directly from a "fraudulent
               instruction" directing a financial                             resulting   from     dishonest     acts
               institution to transfer, pay or deliver                        committed by any of your employees
               "funds" from your "transfer account".                          acting alone or in collusion with other
           (2) "Fraudulent instruction" means:                                persons (except you or your partner)
                                                                              with the manifest intent to:
                (a) An electronic, telegraphic, cable,
                    teletype,     telefacsimile     or                        (a) Cause you to sustain loss or
                    telephone     instruction   which                             damage; and also;
                    purports to have been transmitted                         (b) Obtain financial benefit (other
                    by you, but which was in fact                                 than salaries, commissions, fees,
                    fraudulently    transmitted    by                             bonuses, promotions, awards,
                    someone else without your                                     profit sharing, pensions or other
                    knowledge or consent;                                         employee benefits earned in the
                (b) A written instruction (other than                             normal course of employment)
                    those described in 2.c. Forgery                               for:
                    and Alteration) issued by you,                                (i) Any employee; or
                    which was forged or altered by                                (ii) Any    other     person     or
                    someone other than you without                                     organization.
                    your knowledge or consent, or
                    which purports to have been                          (2) We will not pay for loss or damage:
                    issued by you, but was in fact                            (a) Resulting from any dishonest or
                    fraudulently issued without your                              criminal act that you or any of
                    knowledge or consent; or
                (c) An electronic, telegraphic, cable,                            commit whether acting alone or in
                    teletype, telefacsimile, telephone or                         collusion with other persons.
                    written instruction initially received                    (b) Resulting from any dishonest act
                    by you which purports to have been                            committed by any or your
                    transmitted by an "employee" but                              employees (except as provided in
                    which was in fact fraudulently                                Paragraph (1)
                    transmitted by someone else                                   directors:
                    without your or the "employee's"                              (i) Whether acting alone or in
                    knowledge or consent.                                             collusion with other persons;
           (3) "Funds"       means       "money"      and                             or
               "securities".                                                      (ii) While performing services for
           (4) "Transfer account" means an account                                     you or otherwise.
               maintained by you at a financial                               (c) The only proof of which as to its
               institution from which you can initiate the                        existence or amount is:
               transfer, payment or delivery of "funds":
                                                                                  (i) An inventory computation; or
                (a) By      means     of    electronic,
                    telegraphic,    cable,    teletype,                           (ii) A profit and loss computation
                    telefacsimile     or    telephone                         (d) Caused by an employee if the
                    instructions        communicated                              employee had also committed
                    directly through an electronic                                theft or any other dishonest act
                    funds transfer system; or                                     prior to the effective date of this
                (b) By means of written instructions                              policy and you or any of your
                    (other than those described in 2.c.
                    Forgery        and        Alteration)                         officers, directors or trustees, not
                    establishing the conditions under                             in collusion with the employee,
                    which such transfers are to be                                learned of that theft of dishonest
                    initiated by such financial institution                       act prior to the policy period
                    through an electronic funds transfer                          shown in the Declarations
                    system.                                                             Exhibit C 00075




Page 28 of 32                              © Society Insurance, Inc., 2015.                            TBP2 (05-15)
          (3) The most we will pay for loss or                               (b) The loss or damage would have
              damage in any one occurrence is the                                been covered by this Optional
              Limit of Insurance for Employee                                    Coverage had it been in effect
              Dishonesty    shown      in     the                                when the acts or events causing
              Declarations.                                                      the loss or damage were
          (4) All loss or damage:                                                committed or occurred.
               (a) Caused by one or more persons;                       (9) The Insurance under paragraph (8)
                   or                                                       above is part of, not in addition to, the
                                                                            Limit of Insurance applying to this
               (b) Involving a single act or series of                      Optional Coverage and is limited to
                   acts; is      considered       one                       the lesser of the amount recoverable
                   occurrence.                                              under:
          (5) If any loss is covered:                                        (a) This Optional Coverage as if its
               (a) Partly by this insurance; and                                 effective date; or
               (b) Partly by any prior cancelled or                          (b) The prior insurance          had    it
                   terminated insurance that we or                               remained in effect.
                   any affiliate had issued to you or                   (10) With respect to Employee Dishonesty
                   any predecessor in interest;                              Coverage in Paragraph G.3., employee
               the most we will pay is the larger of the                     means:
               amount     recoverable      under     this                    (a) Any natural person;
               insurance or the prior insurance.
                                                                                 (i) While in your service or for 30
               We will pay only for loss or damage you                               days after termination of
               sustain through acts committed or                                     service;
               events occurring during the Policy
               Period. Regardless of the number of                               (ii) Who you compensate directly
               years this policy remains in force or the                              by salary,     wages    or
               number of premiums paid, no Limit of                                   commissions; and
               Insurance cumulates from year to year                             (iii) Who you have the right to
               or period to period.                                                    direct and control while
          (6) This Optional Coverage is cancelled                                      performing services for you:
              as to any employee immediately upon                            (b) Any natural person who              is
              discovery by:                                                      furnished temporarily to you:
               (a) You; or                                                        (i) To substitute for a permanent
               (b)                                                                    employee as defined in
                                                                                      Paragraph (1) above, who is
                     not in collusion        with    the                              on leave; or
                     employee;                                                (ii) To meet seasonal or short-term
                                                                                   work load conditions:
               of any dishonest act committed by
               that employee before or after being                           (c) Any natural person who is leased to
               hired by you.                                                     you under a written agreement
                                                                                 between you and a labor leasing
          (7) We will pay only for covered loss or                               firm, to perform duties related to the
              damage sustained during the policy                                 conduct of your business, but does
              period and discovered no later than                                not mean a temporary employee as
              one year from the end of the policy                                defined in Paragraph (b) above;
              period.
                                                                             (d) Any natural person who is a
          (8) If you (or any predecessor in interest)                            former     employee,      director,
              sustained loss or damage during the                                partner,    member,      manager,
              period of any prior insurance that you                             representative or trustee retained
              could have recovered under that                                    as a consultant while performing
              insurance except that the time within                              services for you; or
              which to discover loss of damage had
              expired, we will pay for it under this                         (e) Any natural person who is a guest
              Optional Coverage, provided:                                       student or intern pursuing studies
                                                                                 or duties, excluding, however, any
               (a) This Optional Coverage became                                 such person while having care
                   effective    at   the   time    of                            and custody of property outside
                   cancellation or termination of the                            any building you occupy in
                   prior insurance; and                                          conducting your business
                                                                                        Exhibit C 00076




TBP2 (05-15)                              © Society Insurance, Inc., 2015.                             Page 29 of 32
                  But employee does not mean:                                       (iii) Water piping forming part of a
                                                                                          refrigerating      or      air
                      (i) Any agent, broker, factor,                                      conditioning system used for
                          commission merchant,                                            cooling, humidifying or space
                          consignee, independent                                          heating purposes
                          contractor or representative of
                          the same general character; or                    (2) All mechanical, electrical, electronic
                                                                                or fiber optic equipment: and
                      (ii) Any "manager", director or trustee
                           except while performing acts                b. Caused by, resulting from, or consisting of:
                           coming within the usual duties of                (1) Mechanical breakdown; or
                           an employee.                                     (2) Electrical or electronic breakdown; or
H. Property Definitions                                                     (3) Rupture, bursting, bulging, implosion,
   1.                                                                           or steam explosion.
        a.   Programmable electronic equipment that is
             used to store, retrieve and process data; and             mean:
        b. Associated peripheral equipment that provides               Physical loss or damage caused by or resulting
           communication, including input and output                   from any of the following; however if loss or
           functions such as printing and auxiliary                    damage not otherwise excluded results, then
           functions such as data transmission.                        we will pay for such resulting damage.
                                                                            (1) Wear and Tear;
        production type machinery or equipment.                             (2) Rust or other corrosion, decay,
   2.                                                                           deterioration, hidden or latent defect,
                                                                                mold or any other quality in property
        taken as genuine.                                                       that causes it to damage or destroy
                                                                                itself;
   3. "Electronic data" means information, facts or
      computer programs stored as or on, created or                         (3) Smog;
      used on, or transmitted to or from computer                           (4) Settling, cracking,       shrinking    or
      software (including systems and applications                              expansion;
      software), on hard or floppy disks, CD-ROMs,
                                                                            (5) Nesting or infestation, or discharge or
      tapes, drives, cells, data processing devices or any
                                                                                release of waste products or
      other repositories of computer software which are
                                                                                secretions, by birds, rodents or other
      used with electronically controlled equipment. The
                                                                                animals.
      term computer programs, referred to in the
      foregoing description of electronic data, means a                     (6) Scratching and marring
      set of related electronic instructions which direct                   (7) Any loss, damage, cost or expense
      the operations and functions of a "computer" or                           directly caused by, contributed to by,
      device connected to it, which enable the                                  resulting from or arising out of the
      "computer" or device to receive, process, store,                          following;
      retrieve or send data.
                                                                                Fire, lightning, combustion explosion,
   4.                                                                           windstorm or hail, weight of snow, ice or
        a. Physical loss or damage both originating                             sleet, falling objects, smoke, aircraft or
            within:                                                             vehicles, riot or civil commotion,
                                                                                vandalism, sinkhole collapse, volcanic
              (1) Boilers, fired or unfired pressure
                                                                                action, leakage from fire extinguishing
                  vessels, vacuum       vessels, and
                                                                                equipment, water damage, earth
                  pressure piping, all normally subject
                                                                                movement and flood."
                  to vacuum or internal pressure other
                  than static pressure of contents,               5.
                  excluding:                                           from the premises as a result of a threat
                                                                       communicated to you to do bodily harm to you or
                  (a) Waste disposal piping;
                                                                       an employee or to a relative or invitee of either,
                  (b) Any piping forming part of a fire                who is, or allegedly is being held captive.
                      protective system; and
                                                                  6. "Fungi" means any type or form of fungus,
                  (c) Any water piping other than:                   including mold or mildew, and any mycotoxins,
                      (i) Boiler feed water piping                   spores, scents or by-products produced or
                          between the feed pump and                  released by fungi.
                          the boiler;                             7.
                      (ii) Boiler condensate          return           other than ammonia that has been declared to be
                           piping; or                                  hazardous to health Exhibit C 00077 agency.
                                                                                           by a governmental




Page 30 of 32                                © Society Insurance, Inc., 2015.                             TBP2 (05-15)
  8.                   ans a person serving in a directorial          a. Tokens, tickets, revenue and other stamps
        capacity for a limited liability company.                        (whether represented by actual stamps or
  9.                                                                     unused value in a meter) in current use; and
        company represented by its membership interest,               b. Evidences of debt issued in connection
                                                                         with credit or charge cards, which cards
  10. "Money" means:                                                     are not issued by you;
        a. Currency, coins and bank notes in current                  but does not include "money".
           use and having a face value; and                        17. "Specified Causes of Loss" means the following:
        b. Travelers checks, register checks and money                Fire; lightning; explosion, windstorm or hail;
           orders held for sale to the public.                        smoke; aircraft or vehicles; riot or civil
  11. "Operations" means your business activities                     commotion; vandalism; leakage from fire
      occurring at the described premises.                            extinguishing equipment; sinkhole collapse;
                                                                      volcanic action; falling objects; weight of snow,
  12. "Period of restoration" means the period of                     ice or sleet; water damage.
      time that:
                                                                      a. Sinkhole collapse means the sudden
        a. Begins immediately after the time of direct                   sinking or collapse of land into
           physical loss or damage for Business Income                   underground empty spaces created by the
           or Extra Expense coverage caused by or                        action of water on limestone or dolomite.
           resulting from any covered Cause of Loss at                   This cause of loss does not include:
           the described premises; and
                                                                            (1) The cost of filling sinkholes; or
        b. Ends on the earlier of:
                                                                            (2) Sinking or collapse of land into man-
             (1) The date when the property at the                              made underground cavities.
                 described premises should be repaired,
                 rebuilt or replaced with reasonable                  b. Falling objects does not include loss of or
                 speed and similar quality; or                           damage to:
             (2) The date when business is resumed                          (1) Personal property in the open; or
                 at a new permanent location.                               (2) The interior of a building or structure,
            "Period of restoration" includes any increased                      or property inside a building or
            period required to repair or reconstruct the                        structure, unless the roof or an
            property to comply with the minimum                                 outside wall of the building or
            standard of, or compliance with any                                 structure is first damaged by a falling
            ordinance or law, in force at the time of loss,                     object.
            that regulates the construction or repair, or             c. Water damage means:
            requires the tearing down of property.                          (1) Accidental discharge or leakage of
            The expiration date of this policy will not                         water or steam as the direct result of
            cut short the "period of restoration".                              the breaking apart or cracking of any
  13. "Perishable Stock" means property:                                        part of a system or appliance (other
                                                                                than a sump system including its
        a. Maintained under controlled temperature                              related    equipment    and    parts)
           or humidity conditions for preservation; and                         containing water or steam and
        b. Susceptible to loss or damage if the                             (2) Accidental discharge or leakage of
           controlled   temperature or  humidity                                water or waterborne material as the
           conditions change.                                                   direct result of the breaking apart of
        Property located on buildings, in the open or in                        cracking of a water or sewer pipe that is
                                                                                located off the described premises and
  14. "Pollutants" means any solid, liquid, gaseous or                          is part of a municipal potable water
      thermal irritant or contaminant, including smoke,                         supply system or municipal sanitary
      vapor, soot, fumes, acids, alkalis, chemicals and                         sewer system, if the breakage or
      waste. Waste includes materials to be recycled,                           cracking is caused by wear and tear.
      reconditioned or reclaimed.                                               But water damage does not include loss
                                                                                or damage otherwise excluded under
  15.                                                                           the terms of the Water Exclusion.
        of temporary repair and of expediting the repair                        Therefore, for example, there is no
        of such damaged equipment of the insured,                               coverage in the situation in which
        including overtime and the extra cost of                                discharge or leakage of water results
        express or other rapid means of transportation,                         from the breaking apart or cracking of a
        This will be a part of and not an addition to the                       pipe which was caused by or related to
        limit per loss.                                                         weather-inducted flooding, even if wear
                                                                                           Exhibit C 00078
                                                                                and tear contributed to the breakage or
  16. "Securities" means negotiable and non-negotiable
      instruments or contracts representing either                              cracking. As another example, and also
      "money" or other property and includes:                                   in accordance with the terms of the

TBP2 (05-15)                                 © Society Insurance, Inc., 2015.                            Page 31 of 32
                Water Exclusion, there is no coverage           18.
                for loss or damage caused by or                       for sale, raw materials and in-process or
                related to weather-induced flooding                   finished goods, including supplies used in their
                which follows or is exacerbated by                    packing or shipping.
                pipe breakage or cracking attributable
                to wear and tear. To the extent that           19. "Valuable papers and records" means
                accidental discharge or leakage of                 inscribed, printed, or written:
                water falls within the criteria set forth                      (a) Documents;
                in c.(1) or c.(2) of this definition of                        (b) Manuscripts; and
                is not subject to the provisions of the                        (c) Records;
                Water Exclusion which preclude                        including abstracts books, deeds, drawings,
                coverage for surface water or water                   films, maps or mortgages.
                under the ground surface.
                                                                      But "valuable papers and records" does not
                                                                      mean "money" or "securities".




                                                                                         Exhibit C 00079




Page 32 of 32                             © Society Insurance, Inc., 2015.                              TBP2 (05-15)
                                                                                             BUSINESSOWNERS
                                                                                                   TBP6 (05-15)



        BUSINESSOWNERS LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and
what is and is not covered.
Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations. The
words "we”,” us" and "our" refer to the Company providing this insurance.
The word "insured" means any person or organization qualifying as such under SECTION C – WHO IS AN
INSURED.
Other words and phrases that appear in quotation marks have special meaning. Refer to SECTION F – LIABILITY
AND MEDICAL EXPENSES DEFINITIONS.

A. Coverages                                                                c) Prior to the policy period, no
                                                                                 insured listed under Paragraph C.1.
   1. Business Liability
                                                                                 Who Is An Insured and no
       a. We will pay those sums that the insured                                "employee" authorized by you to
          becomes legally obligated to pay as                                    give or receive notice of an
          damages because of "bodily injury",                                    "occurrence" or claim, knew that
          "property damage" or "personal and                                     the "bodily injury" or "property
          advertising injury" to which this insurance                            damage" had occurred, in whole or
          applies. We will have the right and duty to                            in part. If such a listed insured or
          defend the insured against any "suit"                                  authorized "employee" knew, prior
          seeking those damages. However, we will                                to the policy period, that the "bodily
          have no duty to defend the insured against                             injury" or "property damage"
          any "suit" seeking damages for "bodily                                 occurred, then any continuation,
          injury", "property damage" or "personal and                            change or resumption of such
          advertising injury", to which this insurance                           "bodily injury" or "property damage"
          does not apply. We may at our discretion,                              during or after the policy period will
          investigate any "occurrence" or any                                    be deemed to have been known
          offense and settle any claim or "suit" that                            before the policy period.
          may result. But:                                               2) To "personal and advertising injury"
            1) The amount we will pay for damages                           caused by an offense arising out of
               is limited as described in Paragraph D                       your business, but only if the offense
               – Liability And Medical Expenses                             was committed in the "coverage
               Limits Of Insurance in Section II –                          territory" during the policy period.
               Liability; and                                       c. "Bodily injury" or "property damage" which
            2) Our right and duty to defend end                        occurs during the policy period and was
               when we have used up the applicable                     not, prior to the policy period, known to
               limit of insurance in the payment of                    have occurred by any insured listed under
               judgments or settlements or medical                     Paragraph C.1. Who Is An Insured or any
               expenses.                                               "employee" authorized by you to give or
           No other obligation or liability to pay sums                receive notice of an "occurrence" or claim,
           or perform acts or services is covered                      includes any continuation, change or
           unless explicitly provided for under                        resumption of "bodily injury" or "property
           Paragraph f. Coverage Extension –                           damage" after the end of the policy period.
           Supplementary Payments.                                  d. "Bodily injury" or "property damage" will be
       b. This insurance applies:                                      deemed to have been known to have
                                                                       occurred at the earliest time when any
            1) To "bodily injury" and "property                        insured listed under Paragraph C.1. Who
               damage" only if:                                        Is An Insured or any "employee" authorized
               a) The "bodily injury" or "property                     by you to give or receive notice of an
                  damage" is caused by an                              "occurrence" or claim:
                  "occurrence" that takes place in the                   1) Reports all, or any part, of the "bodily
                  "coverage territory";                                     injury" or "property damage" to us or
                b) The "bodily injury" or "property                                    Exhibit C 00080
                                                                            any other insurer;
                   damage" occurs during the policy
                   period; and
TBP6 (05-15)                          © Society Insurance, Inc., 2015.                                  Page 1 of 16
           2) Receives a written or verbal demand or                    2) If we defend an insured against a
              claim for damages because of the                             "suit" and an indemnitee of the
              "bodily injury" or "property damage"; or                     insured is also named as a party to
           3) Becomes aware by any other means                             the "suit", we will defend that
              that "bodily injury" or "property damage"                    indemnitee if all of the following
              has occurred or has begun to occur.                          conditions are met:
      e. Damages because of "bodily injury" include                         a) The "suit" against the indemnitee
         damages claimed by any person or                                      seeks damages for which the
         organization for care, loss of services or                            insured has assumed the liability of
         death resulting at any time from the "bodily                          the indemnitee in a contract or
         injury".                                                              agreement that is an "insured
                                                                               contract";
      f.   Coverage Extension – Supplementary
           Payments                                                         b) This insurance applies to such
                                                                               liability assumed by the insured;
           1) We will pay, with respect to any claim
              we investigate or settle, or any "suit"                       c) The obligation to defend, or the
              against an insured we defend:                                    cost of the defense of, that
                                                                               indemnitee,   has    also  been
               a) All expenses we incur.                                       assumed by the insured in the
               b) Up to $250 for cost of bail bonds                            same "insured contract";
                  required because of accidents or                          d) The allegations in the "suit" and the
                  traffic law violations arising out of                        information we know about the
                  the use of any vehicle to which                              "occurrence" are such that no
                  Business Liability Coverage for                              conflict appears to exist between
                  "bodily injury" applies. We do not                           the interests of the insured and the
                  have to furnish these bonds.                                 interests of the indemnitee:
               c) The cost of bonds to release                              e) The indemnitee and the insured
                  attachments, but only for bond                               ask us to conduct and control the
                  amounts within our Limit of                                  defense of that indemnitee against
                  Insurance. We do not have to                                 such "suit" and agree that we can
                  furnish these bonds.                                         assign the same counsel to defend
               d) All reasonable expenses incurred                             the insured and the indemnitee;
                  by the insured at our request to                             and
                  assist us in the investigation or                         f)   The indemnitee:
                  defense of the claim or "suit",
                  including actual loss of earnings                              i)   Agrees in writing to:
                  up to $250 a day because of time                                    i. Cooperate with us in the
                  off from work.                                                         investigation, settlement or
               e) All court costs taxed against the                                      defense of the "suit";
                  insured in the "suit". However,                                     ii. Immediately send us copies
                  these payments do not include                                           of any demands, notices,
                  attorneys’ fees or attorneys’                                           summonses or legal papers
                  expenses taxed against the                                              received in connection with
                  insured.                                                                the "suit";
               f)   Prejudgment interest awarded                                      iii. Notify any other insurer
                    against the insured on that part of                                    whose       coverage      is
                    the judgment we pay. If we make                                        available to the indemnitee;
                    an offer to pay the Limit of                                           and
                    Insurance, we will not pay any                                    iv. Cooperate with us with
                    prejudgment interest based on                                         respect to coordinating
                    that period of time after the offer.                                  other applicable insurance
               g) All interest on the full amount of                                      available to the indemnitee;
                  any judgment that accrues after                                         and
                  entry of the judgment and before                               ii) Provides us with           written
                  we have paid, offered to pay, or                                   authorization to:
                  deposited in court the part of the
                  judgment that is within our Limit                                   i. Obtain records and other
                  of Insurance.                                                          information related to the
                                                                                         "suit"; and
               These payments will not reduce the                                       Exhibit C 00081
               limit of liability

Page 2 of 18                             © Society Insurance, Inc., 2015.                              TBP6 (05-15)
               ii. Conduct and control the
                   defense of the indemnitee
                   in such "suit".




                                                                  Exhibit C 00082



TBP6 (05-15)                   © Society Insurance, Inc., 2015.                Page 3 of 18
           3) So long as the conditions in Paragraph                    4) Preventative treatment, medication or
              2. are met, attorneys' fees incurred by                      inoculations made necessary due to
              us in the defense of that indemnitee,                        discovery of, suspicion of, or exposure to
              necessary litigation expenses incurred                       communicable disease or contaminated
              by us and necessary litigation expenses                      products at the described premises.
              incurred by the indemnitee at our            B. Exclusions
              request will be paid as Supplementary
              Payments.         Notwithstanding   the          1. Applicable To Business Liability Coverage
              provisions of Paragraph B.1.b.(2)                   This insurance does not apply to:
              Exclusions in Section II – Liability,                a. Expected Or Intended Injury
              such payments will not be deemed to
              be damages for "bodily injury" and                       "Bodily injury" or "property damage"
              "property damage" and will not reduce                    expected or intended from the standpoint
              the limits of insurance.                                 of the insured. This exclusion does not
                                                                       apply to "bodily injury" resulting from the
               Our obligation to defend an insured's                   use of reasonable force to protect persons
               indemnitee and to pay for attorneys' fees               or property.
               and necessary litigation expenses as
               Supplementary Payments ends when:                   b. Contractual Liability
               a) We have used up the applicable                       "Bodily injury" or "property damage" for
                  limit of insurance in the payment                    which the insured is obligated to pay
                  of judgments or settlements; or                      damages by reason of the assumption of
                                                                       liability in a contract or agreement. This
               b) The conditions set forth above, or                   exclusion does not apply to liability for
                  the terms of the agreement                           damages:
                  described in Paragraph 2.f. above
                  are no longer met.                                    1) That the insured would have in the
                                                                           absence    of   the   contract  or
  2. Medical Expenses                                                      agreement; or
      a. We will pay medical expenses as                                2) Assumed in a contract or agreement
         described below for "bodily injury" caused                        that is an "insured contract", provided
         by an accident:                                                   the "bodily injury" or "property
           1) On premises you own or rent;                                 damage" occurs subsequent to the
                                                                           execution of the contract or
           2) On ways next to premises you own or
                                                                           agreement. Solely for the purposes of
              rent; or
                                                                           liability assumed in an "insured
           3) Because of your operations;                                  contract", reasonable attorney fees
           provided that:                                                  and necessary litigation expenses
                                                                           incurred by or for a party other than
               a) The accident takes place in the                          an insured are deemed to be
                  "coverage territory" and during
                                                                           damages because of "bodily injury" or
                  the policy period;
                                                                           "property damage", provided:
               b) The expenses are incurred and
                                                                            a) Liability to such party for, or for
                  reported to us within one year of                            the cost of, that party's defense
                  the date of the accident; and
                                                                               has also been assumed in the
               c) The injured person submits to                                same "insured contract"; and
                  examination, at our expense, by
                                                                            b) Such attorney fees and litigation
                  physicians of our choice as often                            expenses are for defense of that
                  as we reasonably require.
                                                                               party against a civil or alternative
      b. We will make these payments regardless                                dispute resolution proceeding in
         of fault. These payments will not exceed                              which damages to which this
         the Limits of Insurance of Section II –                               insurance applies are alleged.
         Liability. We will pay reasonable
                                                                   c. Liquor Liability
         expenses for:
                                                                       "Bodily injury" or "property damage" for
           1) First aid administered at the time of
                                                                       which any insured may be held liable by
              an accident;                                             reason of:
           2) Necessary medical, surgical, x-ray                        1) Causing or contributing          to   the
              and    dental    services, including
                                                                           intoxication of any person;
              prosthetic devices; and
                                                                        2) The furnishing of alcoholic beverages
           3) Necessary    ambulance, hospital,
                                                                           to a personExhibit C 00083
                                                                                       under the  legal drinking age
              professional nursing and funeral                             or under the influence of alcohol; or
              services.

Page 4 of 18                             © Society Insurance, Inc., 2015.                             TBP6 (05-15)
          3) Any statute, ordinance or regulation                           This exclusion does not apply to
             relating to the sale, gift, distribution or                    liability assumed by the insured under
             use of alcoholic beverages.                                    an "insured contract".
               This exclusion applies even if the
               claims allege negligence or other
               wrongdoing in:
               a) The supervision, hiring, employment
                  training or monitoring of others by
                  an insured; or
               b) Providing or failing to provide
                  transportation with respect to any
                  person that may be under the
                  influence of alcohol if the
                  “occurrence” which caused the
                  “bodily    injury”   or   “property
                  damage”, involved that which is
                  described in Paragraph (1), (2) or
                  (3) above.
         This exclusion applies only if you:
          1) Manufacture, sell or distribute alcoholic
             beverages;
          2) Serve or furnish alcoholic beverages
             for a charge whether or not such
             activity:
               a) Requires a license;
               b) Is for the purpose of financial gain
                  or livelihood; or
          3) Serve or furnish alcoholic beverages
             without a charge, if a license is
             required for such activity.
          4) Permit any person to bring any
             alcoholic beverages on your premises
               for consumption on your premises.
      d. Workers' Compensation And Similar Laws
         Any obligation of the insured under a
         workers' compensation, disability benefits
         or unemployment compensation law or any
         similar law.
      e. Employer's Liability
         "Bodily Injury" to:
          1) An "employee" of the insured arising
             out of and in the course of:
               a) Employment by the insured; or
               b) Performing duties related to the
                  conduct of the insured's business;
                  or
          2) The spouse, child, parent, brother or
             sister of that "employee" as a
             consequence of Paragraph (1) above.
               This exclusion applies whether the
               insured may be liable as an employer
               or in any other capacity and to any
               obligation to share damages with or
               repay someone else who must pay                                        Exhibit C 00084
               damages because of the injury.


TBP6 (05-15)                             © Society Insurance, Inc., 2015.                           Page 5 of 18
      f.   Pollution                                                          d) At or from any premises, site or
           1) "Bodily injury" or "property damage" arising                       location on which any insured or
              out of the actual, alleged or threatened                           any contractors or subcontractors
              discharge, dispersal, seepage, migration,                          working directly or indirectly on any
              release or escape of "pollutants":                                 insured's behalf are performing
                                                                                 operations if the "pollutants" are
               a) At or from any premises, site or                               brought on or to the premises, site
                  location which is or was at any                                or location in connection with such
                  time owned or occupied by, or                                  operations by such insured,
                  rented or loaned to, any insured.                              contractor     or     subcontractor.
                  However, this subparagraph does                                However, this subparagraph does
                  not apply to:                                                  not apply to:
                    i)   "Bodily injury" if sustained                             i)   "Bodily injury" or "property
                         within a building and caused by                               damage" arising out of the
                         smoke, fumes, vapor or soot                                   escape of fuels, lubricants or
                         produced by or originating from                               other operating fluids which are
                         equipment that is used to heat                                needed to perform the normal
                         cool or dehumidify the building,                              electrical,       hydraulic       or
                         or equipment that is used to                                  mechanical                 functions
                         heat water for personal use, by                               necessary for the operation of
                         the building’s occupants or                                   "mobile equipment" or its parts,
                         their guests;                                                 if such fuels, lubricants or other
                    ii) "Bodily injury" or "property                                   operating fluids escape from a
                        damage" for which you may be                                   vehicle part designed to hold,
                        held liable, if you are a                                      store or receive them. This
                        contractor and the owner or                                    exception does not apply if the
                        lessee of such premises, site                                  "bodily injury" or "property
                        or location has been added to                                  damage" arises out of the
                        your policy as an additional                                   intentional discharge, dispersal
                        insured with respect to your                                   or release of the fuels,
                        ongoing operations performed                                   lubricants or other operating
                        for that additional insured at                                 fluids, or if such fuels, lubricants
                        that premises, site or location                                or other operating fluids are
                        and such premises, site or                                     brought on or to the premises,
                        location is not and never was                                  site or location with the intent
                        owned or occupied by, or                                       that they be discharged,
                        rented or loaned to, any                                       dispersed or released as part of
                        insured, other than that                                       the operations being performed
                        additional insured; or                                         by such insured, contractor or
                    iii) "Bodily injury" or "property                                  subcontractor;
                         damage" arising out of heat,                             ii) "Bodily injury" or "property
                         smoke or fumes from a "hostile                               damage" sustained within a
                         fire";                                                       building and caused by the
               b) At or from any premises, site or                                    release of gases, fumes or
                                                                                      vapors from materials brought
                  location which is or was at any
                                                                                      into that building in connection
                  time used by or for any insured or
                  others for the handling, storage,                                   with      operations      being
                                                                                      performed by you or on your
                  disposal, processing or treatment
                                                                                      behalf by a contractor or
                  of waste;
                                                                                      subcontractor; or
               c) Which are or were at any time
                  transported,    handled,    stored,                             iii) "Bodily injury" or "property
                                                                                       damage" arising out of heat,
                  treated, disposed of, or processed
                                                                                       smoke or fumes from a "hostile
                  as waste by or for:
                                                                                       fire".
                    i)   Any insured; or
                                                                              e) At or from any premises, site or
                    ii) Any person or organization                               location on which any insured or
                        for whom you may be legally                              any contractors or subcontractors
                        responsible; or                                          working directly or indirectly on
                                                                                 any     insured's     behalf    are
                                                                                        Exhibit operations
                                                                                 performing     C 00085       if the
                                                                                 operations are to test for, monitor,
                                                                                 clean up, remove, contain, treat,
Page 6 of 18                               © Society Insurance, Inc., 2015.                               TBP6 (05-15)
                   detoxify or neutralize, or in any                       4) Liability assumed under any "insured
                   way respond to, or assess the                              contract"     for  the   ownership,
                   effects of, "pollutants".                                  maintenance or use of aircraft or
          2) Any loss, cost or expense arising out                            watercraft; or
             of any:                                                       5) "Bodily injury" or "property damage"
               a) Request, demand, order or statutory                         arising out of:
                  or regulatory requirement that any                            a) The operation of machinery or
                  insured or others test for, monitor,                             equipment that is attached to, or
                  clean up, remove, contain, treat,                                part of, a land vehicle that would
                  detoxify or neutralize, or in any way                            qualify under the definition of
                  respond to, or assess the effects of,                            "mobile equipment" if it were not
                  "pollutants"; or                                                 subject to a compulsory or
               b) Claim or "suit" by or on behalf of a                             financial responsibility law or
                  governmental authority for damages                               other motor vehicle insurance or
                  because of testing for, monitoring,                              motor vehicle registration law
                  cleaning up, removing, containing,                               where it is licensed or principally
                  treating, detoxifying or neutralizing, or                        garaged; or
                  in any way responding to, or                                  b) The operation of any of the following
                  assessing the effects of, "pollutants".                          machinery or equipment:
               However, this paragraph does not                                     i)   Cherry pickers and similar
               apply to liability for damages because                                    devices mounted on automobile
               of "property damage" that the insured                                     or truck chassis and used to
               would have in the absence of such                                         raise or lower workers; and
               request, demand, order or statutory or                               ii) Air compressors, pumps and
               regulatory requirement or such claim                                     generators, including spraying,
               or "suit" by or on behalf of a                                           welding, building cleaning,
               governmental authority.                                                  geophysical exploration, lighting
      g. Aircraft, Auto Or Watercraft                                                   and well servicing equipment.
         "Bodily injury" or "property damage" arising                h. Mobile Equipment
         out of the ownership, maintenance, use or                        "Bodily injury" or "property damage" arising
         entrustment to others of any aircraft, "auto"                    out of:
         or watercraft owned or operated by or
         rented or loaned to any insured. Use                              1) The    transportation of    "mobile
         includes operation and "loading or                                   equipment" by an "auto" owned or
         unloading".                                                          operated by or rented or loaned to
                                                                              any insured; or
         This exclusion applies even if the claims
         allege negligence or other wrongdoing in                          2) The use of "mobile equipment" in, or
         the supervision, hiring, employment,                                 while in practice for, or while being
         training or monitoring of others by an                               prepared for, any prearranged racing,
         insured, if the "occurrence" which caused                            speed, demolition or stunting activity.
         the "bodily injury" or "property damage"                    i.   War
         involved the ownership, maintenance, use
                                                                          "Bodily injury", "property damage" or
         or entrustment to others of any aircraft,                        "personal and advertising injury", however
         "auto" or watercraft that is owned or
                                                                          caused, arising, directly or indirectly, out of:
         operated by or rented or loaned to any
         insured.                                                          1) War, including undeclared or civil war;
         This exclusion does not apply to:                                 2) Warlike action by a military force,
                                                                              including action in hindering or
          1) A watercraft while ashore                 on                     defending against an actual or
             premises you own or rent;
                                                                              expected attack, by any government,
          2) A watercraft you do not own that is:                             sovereign or other authority using
               a) Less than 51 feet long; and                                 military personnel or other agents; or
               b) Not being used to carry persons                          3) Insurrection, rebellion, revolution,
                  or property for a charge;                                   usurped power, or action taken by
                                                                              government authority in hindering or
          3) Parking an "auto" on, or on the ways                             defending against any of these.
             next to, premises you own or rent,
             provided the "auto" is not owned by or
             rented or loaned to you or the                                                Exhibit C 00086
             insured;

TBP6 (05-15)                               © Society Insurance, Inc., 2015.                                Page 7 of 18
      j.   Professional Services                                            3) Property loaned to you;
           "Bodily injury", "property damage", or                           4) Personal property in the care, custody or
           "personal and advertising injury" caused by                         control of the insured;
           the rendering or failure to render any
           professional service. This includes but is                       5) That particular part of real property on
           not limited to:                                                     which you or any contractor or
                                                                               subcontractor working directly or indirectly
            1) Legal, accounting       or     advertising                      on your behalf is performing operations, if
               services;                                                       the "property damage" arises out of those
            2) Preparing, approving, or failing to                             operations; or
               prepare or approve maps, drawings,                           6) That particular part of any property that
               opinions, reports, surveys, change                              must be restored, repaired or replaced
               orders, designs or specifications;                              because "your work" was incorrectly
            3) Supervisory,       inspection           or                      performed on it.
               engineering services;                                       Paragraphs (1), (3) and (4) of this
            4) Medical, surgical, dental, x-ray or                         exclusion do not apply to "property
               nursing services treatment, advice or                       damage" (other than damage by fire) to
               instruction;                                                premises, including the contents of such
            5) Any health or therapeutic service                           premises, rented to you for a period of 7 or
               treatment, advice or instruction;                           fewer consecutive days. A separate limit of
                                                                           insurance applies to Damage To Premises
            6) Any service, treatment, advice or                           Rented To You as described in Paragraph
               instruction for the purpose of                              D. Liability And Medical Expenses Limit Of
               appearance or skin enhancement,                             Insurance in Section II – Liability.
               hair removal or replacement or
               personal grooming;                                          Paragraph (2) of this exclusion does not
                                                                           apply if the premises are "your work" and
            7) Optometry or optical or hearing aid                         were never occupied, rented or held for
               services including the prescribing,                         rental by you.
               preparation, fitting, demonstration or
               distribution of ophthalmic lenses and                       Paragraphs (3), (4), (5) and (6) of this
               similar products or hearing aid                             exclusion do not apply to liability assumed
               devices;                                                    under a sidetrack agreement.
            8) Body piercing services; and                                 Paragraph (6) of this exclusion does not
                                                                           apply to "property damage" included in the
            9) Services in the practice of pharmacy.                       "products – completed operations hazard".
                This exclusion applies even if the                    l.   Damage To Your Product
                claims allege negligence or other
                wrongdoing in the supervision, hiring,                     "Property damage" to "your             product"
                employment, training or monitoring of                      arising out of it or any part of it.
                others by an insured, if the                          m. Damage To Your Work
                “occurrence” which caused the “bodily                      "Property damage" to "your work" arising
                injury’ or “property damage” or the                        out of it or any part of it and included in the
                offense which caused the “personal                         "products – completed operations hazard".
                and advertising injury” involved the
                rendering of failure to render of any                      This exclusion does not apply if the
                professional service.                                      damaged work or the work out of which the
                                                                           damage arises was performed on your
      k. Damage To Property                                                behalf by a subcontractor.
           "Property damage" to:                                      n. Damage To Impaired Property                   Or
            1) Property you own, rent or occupy,                         Property Not Physically Injured
               including any costs or expenses                             "Property damage" to "impaired property"
               incurred by you, or any other person,                       or property that has not been physically
               organization or entity, for repair,                         injured, arising out of:
               replacement, enhancement, restoration
               or maintenance of such property for any                      1) A defect, deficiency, inadequacy or
               reason, including prevention of injury to                       dangerous condition in "your product"
               a person or damage to another's property;                       or "your work"; or
            2) Premises you sell, give away or
               abandon, if the "property damage"
               arises out of any part of those                                             Exhibit C 00087
               premises;

Page 8 of 18                                © Society Insurance, Inc., 2015.                               TBP6 (05-15)
          2) A delay or failure by you or anyone
             acting on your behalf to perform a
             contract or agreement in accordance
             with its terms.
               This exclusion does not apply to the
               loss of use of other property arising
               out of sudden and accidental physical
               injury to "your product" or "your work"
               after it has been put to its intended
               use.
      o. Recall Of Products, Work Or Impaired
         Property
         Damages claimed for any loss, cost or
         expense incurred by you or others for the
         loss of use, withdrawal, recall, inspection,
         repair, replacement, adjustment, removal
         or disposal of:
          1) "Your product";
          2) "Your work"; or
          3) "Impaired property";
         if such product, work or property is
         withdrawn or recalled from the market or
         from use by any person or organization
         because of a known or suspected defect,
         deficiency, inadequacy or dangerous
         condition in it.
      p. Personal And Advertising Injury
         "Personal and advertising injury":
          1) Caused by or at the direction of the
             insured with the knowledge that the act
             would violate the rights of another and
             would inflict "personal and advertising
             injury";
          2) Arising out of oral or written publication,
             in any manner, of material, if done by
             or at the direction of the insured with
             knowledge of its falsity;
          3) Arising out of oral or written publication,
             in any manner, of material whose first
             publication took place before the
             beginning of the policy period;
          4) For which the insured has assumed
             liability in a contract or agreement. This
             exclusion does not apply to liability for
             damages that the insured would have
             in the absence of the contract or
             agreement;
          5) Arising out of a breach of contract,
             except an implied contract to use
             another's advertising idea in your
             "advertisement";
          6) Arising out of the failure of goods,
             products or services to conform with
             any statement of quality or performance
             made in your "advertisement";
                                                                            Exhibit C 00088



TBP6 (05-15)                             © Society Insurance, Inc., 2015.                Page 9 of 18
           7) Arising out of the wrong description of                     13) Arising out of the unauthorized use of
              the price of goods, products or services                        another's name or product in your e-mail
              stated in your "advertisement";                                 address, domain name or metatags, or
                                                                              any other similar tactics to mislead
           8) Committed by an           insured   whose                       another's potential customers.
              business is:
                                                                    q. Electronic Data
                a) Advertising, broadcasting, publishing
                   or telecasting;                                       Damages arising out of the loss of, loss of
                                                                         use of, damage to, corruption of, inability to
                b) Designing or determining content of                   access, or inability to manipulate electronic
                   web-sites for others; or                              data.
                c) An Internet search, access, content                   However this exclusion does not apply to
                   or service provider.                                  liability for damages because of “bodily
                However, this exclusion does not                         injury”.
                apply to Paragraphs 14.a., b. and c.                     As used in this exclusion, electronic data
                of "personal and advertising injury"                     means information, facts or computer
                under Paragraph F. Liability And                         programs stored as or on, created or used
                Medical Expenses Definitions.                            on, or transmitted to or    from     computer
                For the purposes of this exclusion,                      software,      (including     systems      and
                the placing of frames, borders or                        applications software), on hard or floppy
                links, or advertising, for you or others                 disks, CD-ROMS, tapes, drives, cells, data
                anywhere on the Internet, by itself, is                  processing devices or any other repositories
                not considered the business of                           of computer software which are used with
                advertising, broadcasting, publishing                    electronically controlled equipment. The term
                or telecasting.                                          computer programs, referred to in the
           9) Arising out of the actual, alleged or                      foregoing description of electronic data,
                                                                         means a set of related electronic instructions
              threatened    discharge,     dispersal,
                                                                         which direct the operations and functions of a
              seepage, migration, release or
              escape of "pollutants" at any time.                        computer or device to receive, process,
                                                                         store, retrieve or send data
           10) With respect to any loss, cost or
                                                                    r.   Criminal Acts
               expense arising out of any:
                                                                         "Personal and advertising injury" arising
                a) Request, demand or order that any
                                                                         out of a criminal act committed by or at the
                   insured or others test for, monitor,
                   clean-up, remove, contain, treat,                     direction of the insured.
                   detoxify or neutralize or in any way             s. Recording And Distribution Of Material
                   respond to, or assess the effects of,               Or Information In Violation Of Law
                   "pollutants"; or                                      "Personal and advertising injury" arising
                b) Claim or "suit" by or on behalf of a                  directly or indirectly out of any action or
                   governmental authority for damages                    omission that violates or is alleged to
                   because of testing for, monitoring,                   violate:
                   cleaning up, removing, containing,                     1) The Telephone Consumer Protection
                   treating, detoxifying or neutralizing                     Act (TCPA), including any amendment
                   or in any way responding to, or                           of or addition to such law; or
                   assessing      the     effects     of,
                   "pollutants".                                          2) The CAN-SPAM Act of 2003, including
                                                                             any amendment of or addition to such
           11) Arising out of an electronic chatroom or                      law; or
               bulletin board the insured hosts, owns
               or over which the insured exercises                        3) The Fair Credit Reporting Act (FCRA),
               control.                                                      and any amendment of or addition to
                                                                             such law, including the Fair and
           12) Arising out of the infringement of                            Accurate Credit Transaction Act (FACTA);
               copyright, patent, trademark, trade                           or
               secret or other intellectual property
               rights. Under this exclusion, such other                   4) Any federal, state, or local statute,
               intellectual property rights do not                           ordinance or regulation, other than
               include the use of another’s advertising                      the TCPA CAN-SPAM Act of 2003 or
               idea in your “advertisement”.                                 FCRA and their amendments and
                                                                             additions, that addresses, prohibits,
                However, this exclusion does not                             or limits the printing, dissemination,
                apply to infringement, in your                               disposal, collecting,
                                                                                          Exhibit C recording,
                                                                                                      00089        sending,
                "advertisement", of copyright, trade                         transmitting,        communicating          or
                dress or slogan.                                             distribution of material or information.
Page 10 of 18                             © Society Insurance, Inc., 2015.                                TBP6 (05-15)
               Exclusions c., d., e., f., g., h., i., k., l.,               1) With respect to which an insured
               m., n. and o. in Section II – Liability                         under the policy is also an insured
               do not apply to damage by fire to                               under a nuclear energy liability policy
               premises while rented to you, or                                issued by the Nuclear Energy Liability
               temporarily occupied by you with                                Insurance Association, Mutual Atomic
               permission of the owner. A separate                             Energy Liability Underwriters or
               Damage To Premises Rented To You                                Nuclear Insurance Association of
               Limit of Insurance applies to this                              Canada, or would be an insured
               coverage as described in Paragraph                              under any such policy but for its
               D. Liability And Medical Expenses                               termination upon exhaustion of its
               Limits of Insurance in Section II –                             limit of liability; or
               Liability.                                                   2) Resulting from the "hazardous
  2. Applicable To Medical Expenses Coverage                                   properties" of "nuclear material" and
     We will not pay expenses for "bodily injury":                             with respect to which:
      a. To any        insured,      except     "volunteer                      a) Any person or organization is
         workers".                                                                 required to maintain financial
                                                                                   protection pursuant to the Atomic
      b. To a person hired to do work for or on                                    Energy Act of 1954, or any law
         behalf of any insured or a tenant of any                                  amendatory thereof; or
         insured.
                                                                                b) The insured is, or had this policy
      c. To a person injured on that part of                                       not been issued would be, entitled
         premises you own or rent that the person                                  to indemnity from the United
         normally occupies.                                                        States of America, or any agency
      d. To a person, whether or not an "employee"                                 thereof, under any agreement
         of any insured, if benefits for the "bodily                               entered into by the United States
         injury" are payable or must be provided                                   of America, or any agency
         under a workers' compensation or disability                               thereof, with any person or
         benefits law or a similar law.                                            organization.
      e. To a person injured while practicing,                         b. Under Medical Expenses Coverage, to
         instructing or participating in any physical                     expenses incurred with respect to "bodily
         exercises or games, sports, or athletic                          injury" resulting from the "hazardous
         contests.                                                        properties" of "nuclear material" and
                                                                          arising out of the operation of a "nuclear
      f.   Included within the "products – completed
           operations hazard".                                            facility" by any person or organization.

      g. Excluded       under       Business        Liability          c. Under Business Liability Coverage, to
                                                                          "bodily injury" or "property damage"
         Coverage.
                                                                          resulting from the "hazardous properties"
      h. To the extent that medical or dental                             of the "nuclear material"; if:
         expenses are payable under:
                                                                            1) The "nuclear material":
           1) Any    other         medical       payments
              insurance                                                         a) Is at any "nuclear facility" owned
                                                                                   by, or operated by or on behalf of,
           2) Any form of accident, sickness or                                    an insured; or
              health insurance; or
                                                                                b) Has     been     discharged      or
           3) Any form of welfare benefit plan                                     dispersed therefrom;
              including Federal and State plans and
              plans     established   under      the                        2) The "nuclear material" is contained in
                                                                               "spent fuel" or "waste" at any time
              Employee       Retirement      Income
                                                                               possessed,       handled,        used,
              Security Act (ERISA).
                                                                               processed, stored, transported or
  3. Applicable To Both Business Liability                                     disposed of by or on behalf of an
     Coverage And Medical Expenses Coverage                                    insured; or
     – Nuclear Energy Liability Exclusion
     This insurance does not apply:
      a. Under Business Liability Coverage, to
         "bodily injury" or "property damage":


                                                                                          Exhibit C 00090



TBP6 (05-15)                                 © Society Insurance, Inc., 2015.                            Page 11 of 18
           3) The "bodily injury" or "property                           5) "Nuclear reactor" means any apparatus
              damage" arises out of the furnishing                          designed or used to sustain nuclear
              by an insured of services, materials,                         fission in a self-supporting chain
              parts or equipment in connection with                         reaction or to contain a critical mass of
              the       planning,         construction,                     fissionable material;
              maintenance, operation or use of any                       6) "Property damage" includes all forms of
              "nuclear facility"; but if such facility is                   radioactive contamination of property.
              located within the United States of
              America, its territories or possessions                    7) "Source material" has the meaning
              or Canada, this Exclusion (3) applies                         given it in the Atomic Energy Act of
              only to "property damage" to such                             1954 or in any law amendatory thereof;
              "nuclear facility" and any property                        8) "Special nuclear material" has the
              thereat.                                                      meaning given it in the Atomic Energy
      d. As used in this exclusion:                                         Act of 1954 or in any law amendatory
                                                                            thereof;
           1) "By-product    material"   has    the
              meaning given it in the Atomic Energy                      9) "Spent fuel" means any fuel element
              Act of 1954 or in any law amendatory                          or fuel component, solid or liquid,
              thereof;                                                      which has been used or exposed to
                                                                            radiation in a "nuclear reactor";
           2) "Hazardous        properties"   include
              radioactive,     toxic   or   explosive                    10) "Waste" means any waste material:
              properties;                                                    a) Containing "by-product material"
           3) "Nuclear facility" means:                                         other than the tailings or wastes
                                                                                produced by the extraction or
                a) Any "nuclear reactor";                                       concentration of uranium or
                b) Any    equipment      or      device                         thorium from any ore processed
                   designed or used for:                                        primarily for its "source material"
                    i)   Separating the isotopes of                             content; and
                         uranium or plutonium;                               b) Resulting from the operation by
                    ii) Processing or utilizing "spent                          any person or organization of any
                        fuel"; or                                               "nuclear facility" included under
                                                                                Paragraphs (a) and (b) of the
                    iii) Handling,   processing       or                        definition of "nuclear facility".
                         packaging "waste";
                                                            C. Who Is An Insured
                c) Any equipment or device used for
                   the processing, fabricating or               1. If you are designated in the Declarations as:
                   alloying of "special nuclear                     a. An individual, you and your spouse are
                   material" if at any time the total                  insureds, but only with respect to the
                   amount of such material in the                      conduct of a business of which you are the
                   custody of the insured at the                       sole owner.
                   premises where such equipment
                                                                    b. A partnership or joint venture, you are an
                   or device is located consists of or
                                                                       insured. Your members, your partners and
                   contains more than 25 grams of
                   plutonium or uranium 233 or any                     their spouses are also insureds, but only
                                                                       with respect to the conduct of your
                   combination thereof, or more than
                                                                       business.
                   250 grams of uranium 235;
                                                                    c. A limited liability company, you are an
                d) Any structure, basin, excavation,
                   premises or place prepared or                       insured. Your members are also insureds,
                                                                       but only with respect to the conduct of your
                   used for the storage or disposal
                                                                       business. Your managers are insureds, but
                   of "waste";
                                                                       only with respect to their duties as your
                and includes the site on which any of                  managers.
                the foregoing is located, all operations
                                                                    d. An organization other than a partnership,
                conducted on such site and all
                                                                       joint venture or limited liability company,
                premises used for such operations;
                                                                       you are an insured. Your "executive
           4) "Nuclear material" means "source                         officers" and directors are insureds, but
              material", "special nuclear material" or                 only with respect to their duties as your
              "by-product material";                                   officers or directors. Your stockholders are
                                                                       also insureds, but only with respect to their
                                                                       liability as stockholders.
                                                                                       Exhibit C 00091



Page 12 of 18                             © Society Insurance, Inc., 2015.                            TBP6 (05-15)
      e. A trust, you are an insured. Your trustees                c. Any person or organization having proper
         are also insureds but only with respect to                   temporary custody of your property if you
         their duties as trustees                                     die, but only:
  2. Each of the following is also an insured:                          1) With respect to liability arising out of
      a. Your "volunteer workers" only while                               the maintenance or use of that
         performing duties related to the conduct of                       property; and
         your business, or your "employees", other                      2) Until your legal representative has
         than either your "executive officers" (if you                     been appointed.
         are an organization other than a                          d. Your legal representative if you die, but
         partnership, joint venture or limited liability              only with respect to duties as such. That
         company) or your managers (if you are a                      representative will have all your rights and
         limited liability company), but only for acts                duties under this policy.
         within the scope of their employment by
         you or while performing duties related to                No person or organization is an insured with
         the conduct of your business. However,                   respect to the conduct of any current or past
         none of these "employees" or "volunteer                  partnership, joint venture or limited liability
         workers" are insureds for:                               company that is not shown as a Named
                                                                  Insured in the Declarations.
           1) "Bodily injury" or       "personal   and
              advertising injury":                         D. Liability And Medical Expenses Limits Of
               a) To you, to your partners or                 Insurance
                  members (if you are a partnership            1. The Limits of Insurance of Section II –
                  or joint venture), to your members              Liability shown in the Declarations and the
                  (if you are a limited liability                 rules below fix the most we will pay regardless
                  company), or to a co-"employee"                 of the number of:
                  while in the course of his or her                a. Insureds;
                  employment or performing duties
                  related to the conduct of your                   b. Claims made or "suits" brought; or
                  business, or to your other                       c. Persons or organizations making claims or
                  "volunteer      workers"      while                 bringing "suits".
                  performing duties related to the             2. The most we will pay for the sum of all
                  conduct of your business;                       damages because of all:
               b) To the spouse, child, parent,                    a. "Bodily injury", "property damage" and
                  brother or sister of that co-                       medical expenses arising out of any one
                  "employee" as a consequence of                      "occurrence"; and
                  Paragraph (a) above;
                                                                   b. "Personal and advertising injury" sustained
               c) For which there is any obligation to                by any one person or organization;
                  share damages with or repay
                  someone else who must pay                       is the Liability and Medical Expenses limit
                  damages because of the injury                   shown in the Declarations. But the most we will
                  described in Paragraphs (a) or (b);             pay for all medical expenses because of "bodily
                  or                                              injury" sustained by any one person is the
                                                                  Medical Expenses limit shown in the
               d) Arising out of his or her providing or          Declarations.
                  failing to provide professional
                  health care services.                        3. The most we will pay under Business Liability
                                                                  Coverage for damages because of "property
           2) "Property damage" to property:                      damage" to a premises while rented to you or
               a) Owned, occupied or used by,                     in the case of fire while rented to you or
               b) Rented to, in the care, custody or              temporarily occupied by you with permission of
                  control of, or over which physical              the owner, is the applicable Damage To
                  control is being exercised for any              Premises Rented To You limit shown for that
                  purpose by you, any of your                     premises in the Declarations. For a premises
                  "employees", "volunteer workers",               temporarily occupied by you, the applicable
                  any partner or member (if you are               limit will be the highest Damage To Premises
                  a partnership or joint venture), or             Rented To You limit shown in the Declarations.
                  any member (if you are a limited             4. Aggregate Limits
                  liability company).                             The most we will pay for:
      b. Any person (other than your "employee" or
         "volunteer worker"), or any organization                                     Exhibit C 00092
         while acting as your real estate manager.


TBP6 (05-15)                             © Society Insurance, Inc., 2015.                           Page 13 of 18
      a. All "bodily injury" and "property damage"             2. Duties In The Event          Of   Occurrence,
         that is included in the "products-completed              Offense, Claim Or Suit
         operations hazard" is the Products/                       a. You must see to it that we are notified as
         Completed Operations Aggregate shown in                      soon as practicable of an "occurrence" or
         the Declarations.                                            an offense which may result in a claim. To
      b. All:                                                         the extent possible, notice should include:
           1) "Bodily injury" and "property damage"                     1) How,    when      and    where     the
              except damages because of "bodily                            "occurrence" or offense took place;
              injury" or "property damage" included                     2) The names and addresses of any
              in the "products-completed operations                        injured persons and witnesses; and
              hazard";
                                                                        3) The nature and location of any injury
           2) Plus medical expenses;                                       or damage arising out of the
           3) Plus all "personal and advertising injury"                   "occurrence" or offense.
              caused by offenses committed;                        b. If a claim is made or "suit" is brought
          is the Other Than Products/Completed                        against any insured, you must:
          Operations Aggregate shown in the                             1) Immediately record the specifics of
          Declarations.                                                    the claim or "suit" and the date
      c. Aggregate limits apply separately to:                             received; and
           1) Each of your projects away from                           2) Notify us as soon as practicable.
              premises owned by or rented to you;                      You must see to it that we receive written
              and                                                      notice of the claim or "suit" as soon as
           2) Each of your “locations” owned or                        practicable.
              rented to you.                                       c. You and any other involved insured must:
          “Location” means premises involving the                       1) Immediately send us copies of any
          same or connecting lots, or premises                             demands, notices, summonses or
          whose connection is interrupted only by a                        legal papers received in connection
          street, roadway or right-of-way of a                             with the claim or "suit";
          railroad.
                                                                        2) Authorize us to obtain records and
          Subject to Paragraph a. or b. above,                             other information;
          whichever applies, the Damage To
          Premises Rented To You Limit is the most                      3) Cooperate with us in the investigation,
          we will pay for damages because of                               or settlement of the claim or defense
          "property damage" to any one premises,                           against the "suit"; and
          while rented to you, or in the case of fire,                  4) Assist us, upon our request, in the
          while rented to you or temporarily occupied                      enforcement of any right against any
          by you with permission of the owner.                             person or organization that may be
          The Limits of Insurance of Section II –                          liable to the insured because of injury
          Liability apply separately to each                               or damage to which this insurance
          consecutive annual period and to any                             may also apply.
          remaining period of less than 12 months,                 d. No insured will, except at that insured's
          starting with the beginning of the policy                   own cost, voluntarily make a payment,
          period shown in the Declarations, unless                    assume any obligation, or incur any
          the policy period is extended after                         expense, other than for first aid, without
          issuance for an additional period of less                   our consent.
          than 12 months. In that case, the additional
                                                               3. Legal Action Against Us
          period will be deemed part of the last
          preceding period for purposes of                        No person or organization has a right under this
          determining the Limits of Insurance.                    policy:
E. Liability And Medical Expenses General                          a. To join us as a party or otherwise bring us
   Conditions                                                         into a "suit" asking for damages from an
                                                                      insured; or
  1. Bankruptcy
                                                                   b. To sue us on this policy unless all of its
      Bankruptcy or insolvency of the insured or of                   terms have been fully complied with.
      the insured's estate will not relieve us of our
      obligations under this policy.

                                                                                      Exhibit C 00093



Page 14 of 18                            © Society Insurance, Inc., 2015.                           TBP6 (05-15)
            A person or organization may sue us to                   c. All other parts of the world if the injury or
            recover on an agreed settlement or on a                     damage arises out of:
            final judgment against an insured; but we                     1) Goods or products made or sold by
            will not be liable for damages that are not                      you in the territory described in
            payable under the terms of this policy or                        Paragraph a. above;
            that are in excess of the applicable limit of
            insurance. An agreed settlement means a                       2) The activities of a person whose
            settlement and release of liability signed by                    home is in the territory described in
            us, the insured and the claimant or the                          Paragraph a. above, but is away for a
            claimant's legal representative.                                 short time on your business; or
  4. Separation Of Insureds                                               3) "Personal and advertising injury"
                                                                             offenses that take place through the
      Except with respect to the Limits of Insurance                         Internet or similar electronic means of
      of Section II – Liability, and any rights or                           communication;
      duties specifically assigned in this policy to the
      first Named Insured, this insurance applies:                       provided the insured's responsibility to pay
                                                                         damages is determined in a "suit" on the
      a. As if each Named Insured were the only                          merits in the territory described in
         Named Insured; and                                              Paragraph a. above or in a settlement we
      b. Separately to each insured against whom                         agree to.
         claim is made or "suit" is brought.                     5. "Employee" includes a "leased worker".
F. Liability And Medical Expenses Definitions                       "Employee" does not include a "temporary
                                                                    worker".
  1. "Advertisement" means a notice that is
     broadcast or published to the general public or             6. "Executive officer" means a person holding any
     specific market segments about your goods,                     of the officer positions created by your charter,
     products or services for the purpose of                        constitution, by-laws or any other similar
     attracting customers or supporters. For the                    governing document.
     purposes of this definition:                                7. "Hostile fire" means one which becomes
      a. Notices that are published include material                uncontrollable or breaks out from where it was
         placed on the Internet or on similar                       intended to be.
         electronic means of communication; and                  8. "Impaired property" means tangible property,
      b. Regarding web-sites, only that part of a                   other than "your product" or "your work", that
         web-site that is about your goods, products                cannot be used or is less useful because:
         or services for the purposes of attracting                  a. It incorporates "your product" or "your
         customers or supporters is considered an                       work" that is known or thought to be
         advertisement.                                                 defective,   deficient, inadequate   or
  2. “Auto" means:                                                      dangerous; or
       a.     A land motor vehicle, trailer or semitrailer           b. You have failed to fulfill the terms of a
              designed for travel on public roads,                      contract or agreement;
              including any attached machinery or                   if such property can be restored to use by:
              equipment.; or
                                                                          1) The repair, replacement, adjustment
       b.     Any other land vehicle that is subject to a                    or removal of "your product" or "your
              compulsory or financial responsibility law                     work"; or
              or other motor vehicle insurance law in
                                                                          2) Your fulfilling the terms of the contract
              the state where it is licensed or
              principally garaged.                                           or agreement.
       However, “auto" does not include "mobile                  9. "Insured contract" means:
       equipment"                                                    a. A contract for a lease of premises.
                                                                        However, that portion of the contract for a
  3. "Bodily injury" means bodily injury, sickness or
                                                                        lease of premises that indemnifies any
     disease sustained by a person, including death
     resulting from any of these at any time.                           person or organization for damage by fire
                                                                        to premises while rented to you or
  4. "Coverage territory" means:                                        temporarily occupied by you with
      a. The United States of America (including its                    permission of the owner is not an "insured
         territories and possessions), Puerto Rico                      contract";
         and Canada;                                                 b. A sidetrack agreement;
      b. International waters or airspace, but only if               c. Any easement or license agreement,
         the injury or damage occurs in the course                      except in connection
                                                                                       Exhibit with construction or
                                                                                               C 00094
         of travel or transportation between any                        demolition operations on or within 50 feet
         places included in Paragraph a. above; or                      of a railroad;

TBP6 (05-15)                               © Society Insurance, Inc., 2015.                           Page 15 of 18
      d. An obligation, as required by ordinance, to                c. While it is being moved from an aircraft,
         indemnify a municipality, except in                           watercraft or "auto" to the place where it is
         connection with work for a municipality;                      finally delivered;
      e. An elevator maintenance agreement;                        but "loading or unloading" does not include the
      f.   That part of any other contract or                      movement of property by means of a
           agreement pertaining to your business                   mechanical device, other than a hand truck,
           (including an indemnification of a                      that is not attached to the aircraft, watercraft or
           municipality in connection with work                    "auto".
           performed for a municipality) under which            12. "Mobile equipment" means any of the following
           you assume the tort liability of another                 types of land vehicles, including any attached
           party to pay for "bodily injury" or "property            machinery or equipment:
           damage" to a third person or organization.               a. Bulldozers, farm machinery, forklifts and
           Tort liability means a liability that would be              other vehicles designed for use principally
           imposed by law in the absence of any                        off public roads;
           contract or agreement.
                                                                    b. Vehicles maintained for use solely on or
           Paragraph f. does not include that part of                  next to premises you own or rent;
           any contract or agreement:
                                                                    c. Vehicles that travel on crawler treads;
            1) That indemnifies a railroad for "bodily
               injury" or "property damage" arising                 d. Vehicles, whether self-propelled or not, on
               out of construction or demolition                       which are permanently mounted:
               operations, within 50 feet of any                          1) Power cranes, shovels,          loaders,
               railroad property and affecting any                           diggers or drills; or
               railroad bridge or trestle, tracks, road
                                                                          2) Road construction or resurfacing
               beds, tunnel, underpass or crossing;
                                                                             equipment such as graders, scrapers
            2) That   indemnifies     an architect,                          or rollers;
               engineer or surveyor for injury or                   e. Vehicles not described in Paragraphs a.,
               damage arising out of:
                                                                       b., c. or d. above that are not self-
                a) Preparing, approving or failing to                  propelled and are maintained primarily to
                   prepare or approve maps,                            provide mobility to permanently attached
                   drawings,      opinions, reports,                   equipment of the following types:
                   surveys, change orders, designs
                                                                          1) Air    compressors,      pumps    and
                   or specifications; or
                                                                             generators,      including   spraying,
                b) Giving directions or instructions,                        welding,        building     cleaning,
                   or failing to give them, if that is                       geophysical exploration, lighting and
                   the primary cause of the injury or                        well servicing equipment; or
                   damage; or
                                                                          2) Cherry pickers and similar devices
            3) Under which the insured, if an                                used to raise or lower workers;
               architect, engineer or surveyor,                     f.   Vehicles not described in Paragraphs a.,
               assumes liability for an injury or
                                                                         b., c. or d. above maintained primarily for
               damage arising out of the insured's
                                                                         purposes other than the transportation of
               rendering or failure to render                            persons or cargo.
               professional services, including those
               listed in Paragraph (2) above and                         However, self-propelled vehicles with the
               supervisory, inspection or engineering                    following types of permanently attached
               services.                                                 equipment are not "mobile equipment" but
                                                                         will be considered "autos":
  10. "Leased worker" means a person leased to you
      by a labor leasing firm under an agreement                          1) Equipment designed primarily for:
      between you and the labor leasing firm, to                              a) Snow removal;
      perform duties related to the conduct of your
                                                                              b) Road maintenance, but not
      business. "Leased worker" does not include a
                                                                                 construction or resurfacing; or
      "temporary worker".
                                                                              c) Street cleaning;
  11. "Loading or unloading" means the handling of
      property:                                                           2) Cherry pickers and similar devices
      a. After it is moved from the place where it is                        mounted on automobile or truck
                                                                             chassis and used to raise or lower
         accepted for movement into or onto an
                                                                             workers; and
         aircraft, watercraft or "auto";
      b. While it is in or on an aircraft, watercraft or                                Exhibit C 00095
         "auto"; or

Page 16 of 18                             © Society Insurance, Inc., 2015.                             TBP6 (05-15)
            3) Air    compressors,      pumps      and                       a) When all of the work called for in
               generators, including spraying, welding,                         your    contract    has     been
               building      cleaning,     geophysical                          completed.
               exploration, lighting and well servicing
               equipment.                                                    b) When all of the work to be done
                                                                                at the job site has been
           However, “mobile equipment” does not                                 completed if your contract calls
           include land vehicles that are subject to a                          for work at more than one job
           compulsory or financial responsibility law or                        site.
           other motor vehicle insurance law in the state
           where it is licensed or principally garaged.                      c) When that part of the work done
           Land vehicles subject to a compulsory or                             at the job site has been put to its
           financial responsibility law or motor vehicle                        intended use by any other person
           insurance law are considered “autos”.                                or organization other than another
                                                                                contractor     or    subcontractor
  13. "Occurrence" means an accident, including                                 working on the same project.
      continuous    or  repeated exposure    to
      substantially the same general harmful                                 Work that may need service,
      conditions.                                                            maintenance, correction, repair or
                                                                             replacement, but which is otherwise
  14. "Personal and advertising injury" means injury,                        complete, will be treated as completed.
      including consequential "bodily injury", arising
      out of one or more of the following offenses:                          The "bodily injury" or "property damage"
                                                                             must occur away from premises you
      a. False arrest, detention or imprisonment;                            own or rent, unless your business
      b. Malicious prosecution;                                              includes the selling, handling or
      c. The wrongful eviction from, wrongful entry                          distribution of "your product" for
         into, or invasion of the right of private                           consumption on premises you own or
         occupancy of a room, dwelling or premises                           rent.
         that a person occupies, committed by or on                 b. Does not include "bodily injury" or "property
         behalf of its owner, landlord or lessor;                      damage" arising out of:
      d. Oral or written publication, in any manner,                     1) The transportation of property, unless
         of material that slanders or libels a person                       the injury or damage arises out of a
         or organization or disparages a person's or                        condition in or on a vehicle not owned
         organization's goods, products or services;                        or operated by you, and that condition
      e. Oral or written publication, in any manner,                        was created by the "loading or
         of material that violates a person's right of                      unloading" of that vehicle by any
         privacy;                                                           insured; or
      f.   The use of another's advertising idea in                      2) The existence of tools, uninstalled
           your "advertisement"; or                                         equipment or abandoned or unused
                                                                            materials.
      g. Infringing upon another's copyright, trade
         dress or slogan in your "advertisement".               17. "Property damage" means:
  15. "Pollutants" mean any solid, liquid, gaseous or               a. Physical injury to tangible property,
      thermal irritant or contaminant, including                       including all resulting loss of use of that
      smoke, vapor, soot, fumes, acids, alkalis,                       property. All such loss of use shall be
      chemicals and waste. Waste includes                              deemed to occur at the time of the physical
      materials to be recycled, reconditioned or                       injury that caused it; or
      reclaimed.                                                    b. Loss of use of tangible property that is not
  16. "Products – completed operations hazard":                        physically injured. All such loss of use shall
                                                                       be deemed to occur at the time of the
      a. Includes all "bodily injury" and "property                    "occurrence" that caused it.
         damage" occurring away from premises
         you own or rent and arising out of "your                  For the purposes of this insurance, electronic
         product" or "your work" except:                           data is not tangible property.
            1) Products that are still in your physical            As used in this definition, electronic data
               possession; or                                      means information, facts or programs stored
                                                                   as, created or used on, or transmitted to or
            2) Work that has not yet been                          from computer software, including systems and
               completed or abandoned. However,                    applications software, hard or floppy disks, CD-
               "your work" will be deemed completed                ROMs, tapes, drives, cells, data processing
               at the earliest of the following times:             devices or any other media which are used with
                                                                                        Exhibit
                                                                   electronically controlled    C 00096
                                                                                             equipment.


TBP6 (05-15)                              © Society Insurance, Inc., 2015.                           Page 17 of 18
  18. "Suit" means a civil proceeding in which                             c) A person or organization whose
      damages because of "bodily injury", "property                           business or assets you have
      damage", "personal and advertising injury" to                           acquired; and
      which this insurance applies are alleged. "Suit"
      includes:                                                        2) Containers (other than vehicles),
                                                                          materials,   parts or   equipment
      a. An arbitration proceeding in which such                          furnished in connection with such
         damages are claimed and to which the                             goods or products.
         insured must submit or does submit with
         our consent; or                                          b. Includes:
      b. Any other alternative dispute resolution                      1) Warranties or representations made
         proceeding in which such damages are                             at any time with respect to the fitness,
         claimed and to which the insured submits                         quality, durability, performance or use
         with our consent.                                                of "your product"; and
  19. "Temporary worker" means a person who is                         2) The providing of or failure to provide
      furnished to you to substitute for a permanent                      warnings or instructions.
      "employee" on leave or to meet seasonal or                  c. Does not include vending machines or
      short-term workload conditions.                                other property rented to or located for the
  20. "Volunteer worker" means a person who is not                   use of others but not sold.
      your "employee", and who donates his or her             22. "Your work":
      work and acts at the direction of and within the
                                                                  a. Means:
      scope of duties determined by you, and is not
      paid a fee, salary or other compensation by                      1) Work or operations performed by you
      you or anyone else for their work performed for                     or on your behalf; and
      you.                                                             2) Materials,   parts  or  equipment
  21. "Your product":                                                     furnished in connection with such
                                                                          work or operations.
      a. Means:
                                                                  b. Includes:
           1) Any goods or products, other than
              real property, manufactured, sold,                       1) Warranties or representations made
              handled, distributed or disposed of by:                     at any time with respect to the fitness,
                                                                          quality, durability, performance or use
                a) You;
                                                                          of "your work"; and
                b) Others trading under your name;
                                                                       2) The providing of or failure to provide
                   or
                                                                          warnings or instructions.




                                                                                     Exhibit C 00097



Page 18 of 18                           © Society Insurance, Inc., 2015.                           TBP6 (05-15)
                                                                                                        BUSINESSOWNERS
                                                                                                             TBP84 (05-15)

                            PROPERTY ENHANCEMENT ENDORSEMENT
               GREEN ENVIRONMENTAL AND ENERGY EFFICIENCY IMPROVEMENTS

This endorsement modifies insurance provided under the following:
BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
This policy is amended to include the following terms. All other terms of the policy apply, except as amended by this
Endorsement.

A. Property Loss Conditions
                                                                  B. Exclusions
   The following is added to part E.5.d., Property Loss
   Conditions:                                                       The following is added to part B., Exclusions:
        10) For the purpose of improving environmental               7. The Property Enhancement Endorsement -
            quality and energy efficiency of property to be             Green Environmental and Energy Efficiency
            repaired or replaced, we will determine the value           Improvements does not cover any of the
            of Covered Property as follows:                             following:
            a) The lesser of the reasonable and                            a. Covered Property does not include stock, raw
               necessary additional cost incurred by the                      materials,    finished    goods,      production
               Insured to repair or replace physically                        machinery , merchandise, electronic data
               damaged Covered Property with material                         processing equipment not used in the functional
               of like kind and quality which qualifies as                    support of the real property, process water,
                Green . Like kind and quality includes                        molds and dies, property in the open, property
               similar size and capacity.                                     of others for which the Insured is legally liable,
                                                                              or personal property of others.
            b) The additional reasonable and necessary
               fees incurred by the Insured for an                         b. Any loss adjusted on any valuation basis
               accredited professional certified by a                         other than a repair or replacement basis as
                Green Authority to participate in the                         per the Valuation section of this policy.
               repair or replacement of physically                         c.   Any cost incurred due to any law or ordinance
               damaged Covered Property as         .                            with which the Insured was legally obligated to
            c) The additional reasonable and necessary                          comply prior to the time of the Covered Cause
               cost incurred by the Insured for certification                   of Loss.
               or recertification of the repaired or replaced     C. Definitions
               Covered Property as             .
                                                                     The following is added to part H., Property
            d) The additional reasonable and necessary
               cost incurred by the Insured for     in               Definitions:
               the removal, disposal or recycling of                 20.           means products, materials, methods and
               damaged Covered Property.                                   processes certified by a Green Authority that
                                                                           conserve natural resources, reduce energy or
            e) The business interruption loss during the
               additional time required for repair or                      water consumption, avoid toxic or other polluting
                                                                           emissions or otherwise minimize environmental
               replacement of Covered Property,
                                                                           impact.
               consistent with         in the coverages
               above.                                                21.                     means an authority on
                                                                           buildings, products, materials, methods or
            We will not pay more than 125%, to a
                                                                           processes certified and accepted by Leadership
            maximum limit of $100,000, of what the cost
                                                                           in Energy and Environmental Design (LEED®),
            would have been to repair or replace with
            material of like kind and quality inclusive of                           Building Initiative Green Globes®,
                                                                           Energy Star Rating System or any other
            fees, costs, and any business interruption
                                                                           recognized          rating system.
            loss incurred as stated above.
            These Property Loss Conditions will be a                 22. Production machinery means any machine
            part of, and not an addition to, the Limits Of               which processes, forms, shapes, or transports
                                                                         raw materials, materials in process, waste
            Insurance or any other sub-limits, Additional
                                                                         materials or finished products.
            Coverages or Coverage Extensions applicable
            to this Policy.                                          All other terms and conditions of this policy remain
                                                                     unchanged.
                                                                                              Exhibit C 00098




TBP84 (05-15)                                                                                                     Page 1 of 1
                                                                                         BUSINESSOWNERS
                                                                                              TBP12 (05-15)

This endorsement modifies insurance provided under the following:

BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM



                                  PRODUCT SPOILAGE
                                                    SCHEDULE

Spoilage

                                                Limit of
Prem. No.        Bldg. No.                                                              Deductible
                                               Insurance
1            1                $50,000                                       $10,000

Spoilage in Vehicles

                                         Limit of                                     Deductible
                                        Insurance
 Per Vehicle       $                                                 $


Information required to complete the Schedule, if not shown in this endorsement, will be shown in the
Declarations.


I. SPOILAGE                                                              coverage is extended to cover
                                                                         “perishable stock” in your vehicles
    A. Coverage
                                                                         which you own or operate and are
                                                                         equipped with refrigerating, cooling or
       1. We will pay for your loss of “perishable                       humidity control apparatus.
          stock” due to spoilage caused by a
          Spoilage Covered Cause of Loss, as
          provided by this endorsement.                        B. Spoilage Covered Causes of Loss
                                                                    Subject to the exclusions described in
       2. Subject to all the provisions and                         Item C. of this section, Spoilage Covered
          conditions under the Businessowners                       Cause of Loss means the following:
          Special Property Coverage Form, we                        1. Spoilage caused by or resulting from:
          will also pay for loss of Business
                                                                         a. Change in temperature or humidity
          Income or Extra Expense at the                                    resulting       from      mechanical
          described premises resulting from loss                            breakdown or mechanical failure
          of “perishable stock” due to spoilage                             of refrigerating, cooling or humidity
          caused by a Spoilage Covered Cause                                control apparatus or equipment,
          of Loss, as provided by this                                      only while such apparatus or
          endorsement.                                                      equipment is at the described
                                                                            location; or
           We cover only the location(s) and limits                      b. Contamination by a refrigerant, only
           specified in the Declarations or that is                         while the refrigerating apparatus or
           indicated on the Schedule.                                       equipment is at the described
                                                                            location; or
        3. If a limit for Spoilage in Vehicles is
          shown in the Schedule, Spoilage


                                                                                       Exhibit C 00099
TBP12 (05-15)                        © ISO Properties, Inc., 2013                          Page 1 of 2
                                                                                       BUSINESSOWNERS
                                                                                            TBP12 (05-15)

          c. Power Outage, meaning change in                      4. The inability of a power source at the
             temperature or humidity at the                          described     premises    to   provide
             described location resulting from                       sufficient power due to lack of
             complete or partial interruption of                     generating capacity to meet demand.
             electrical power, either on or off the
             described     premises,     due      to              5. Breaking of any glass that is a
             conditions beyond your control.                         permanent part of any refrigerating,
                                                                     cooling or humidity control unit.
        2. Spoilage coverage applies to
           “perishable stock” at the described            II. LIMITS
            premises which is:
            a. Owned by you and used in your                 The most we will pay for loss or damage in
               business; or                                  any one occurrence is the applicable Limit of
            b. Owned by others and in your care,             Insurance shown in the Schedule.
               custody or control except as
               otherwise provided in Loss                 III. DEDUCTIBLE
               Payment Property Loss Condition
               E.5.d.(3)(b).                                 We will not pay for loss in any one occurrence
                                                             until the amount of the adjusted loss exceeds
       3. We will also pay any necessary                     the deductible shown in the Schedule. We will
            expenses you incur to reduce the                 then pay the amount of the adjusted loss in
            amount of loss under this coverage.              excess of the deductible, up to the applicable
            We will pay for such expenses to the             Limit of Insurance.
            extent that they do not exceed the
            amount of loss that otherwise would           IV. SALVAGE
            have been payable under this
            coverage.                                        You will take all necessary precautions to
                                                  .          preserve the salvage and reduce the loss.
      4. Exclusions B.1.a. Ordinance or Law
         and B.1.e. Utility Services do not apply
          to Spoilage Coverage.

      5. Paragraphs A.6. Coverage Extensions
        and G. Optional Coverages do not
         apply to Spoilage Coverage.

  C. Spoilage Exclusions
      We will not pay for loss or damage caused
      by or resulting from:
      1. The disconnection of any refrigerating,
         cooling or humidity control system from
         the source of power.
      2. The deactivation of electrical power
         caused by the manipulation of any
         switch or other device used to control
         the flow of electrical power or current.
      3. The inability of an electrical utility
         company or other power source to
         provide sufficient power due to:
         a. Lack of fuel; or
         b. Governmental order.




Page 2 of 2                        © ISO Properties, Inc., 2013                    TBP12 (05-15)
                                                                                 Exhibit C 000100
                                                                               BUSINESSOWNERS LIABILITY
                                                                                         TBP2109 (12-15)

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                         EXCLUSION                UNMANNED AIRCRAFT
This endorsement modifies insurance provided under the following:

   BUSINESSOWNERS LIABILITY COVERAGE FORM


1. Exclusion 1.g. Aircraft, Auto Or Watercraft under                     This Paragraph g.(2) applies even if
   Businessowners Liability Coverage Form is                             the claims against any insured allege
   replaced by the following:                                            negligence or other wrongdoing in the
                                                                         supervision,      hiring,   employment,
   B. Exclusions                                                         training or monitoring of others by that
      This insurance does not apply to:                                  insured, if the "occurrence" which
      g. Aircraft, Auto Or Watercraft                                    caused the "bodily injury" or "property
                                                                         damage" involved the ownership,
          (1) Unmanned Aircraft                                          maintenance, use or entrustment to
              "Bodily injury" or "property damage"                       others of any aircraft (other than
              arising out of the ownership,                              "unmanned       aircraft"),  "auto"   or
              maintenance, use or entrustment to                         watercraft that is owned or operated by
              others of any aircraft that is an                          or rented or loaned to any insured.
              "unmanned aircraft". Use includes                          This Paragraph g.(2) does not apply to:
              operation      and     "loading   or
              unloading".                                            (a) A watercraft while ashore on premises
                                                                         you own or rent;
              This Paragraph g.(1) applies even if
              the claims against any insured                         (b) A watercraft you do not own that is:
              allege     negligence      or   other                      (i) Less than 51 feet long; and
              wrongdoing in the supervision,
                                                                         (ii) Not being used to carry persons or
              hiring, employment, training or                                 property for a charge;
              monitoring of others by that insured,
              if the "occurrence" which caused the                   (c) Parking an "auto" on, or on the ways
              "bodily injury" or "property damage"                       next to, premises you own or rent,
              involved         the       ownership,                      provided the "auto" is not owned by or
              maintenance, use or entrustment to                         rented or loaned to you or the insured;
              others of any aircraft that is an                      (d) Liability assumed under any "insured
              "unmanned aircraft".                                       contract"      for the    ownership,
          (2) Aircraft (Other Than Unmanned                              maintenance or use of aircraft or
              Aircraft), Auto Or Watercraft                              watercraft; or
              "Bodily injury" or "property damage"
              arising out of the ownership,
              maintenance, use or entrustment to
              others of any aircraft (other than
              "unmanned aircraft"), "auto" or
              watercraft owned or operated by or
              rented or loaned to any insured. Use
              includes operation and "loading or
              unloading".




                                                                                   Exhibit C 000101



TBP2109 (12-15)                     © Insurance Services Office, Inc., 2015.                          Page 1 of 2
        (e) "Bodily injury" or "property damage"                           This exclusion applies even if the claims
            arising out of:                                                against any insured allege negligence or
              (i)    The operation of machinery or                         other wrongdoing in the supervision,
                     equipment that is attached to, or                     hiring, employment, training or monitoring
                     part of, a land vehicle that would                    of others by that insured, if the offense
                     qualify under the definition of                       which caused the "personal and
                     "mobile equipment" if it were not                     advertising injury" involved the ownership,
                     subject to a compulsory or                            maintenance, use or entrustment to others
                     financial responsibility law or other                 of any aircraft that is an "unmanned
                     motor vehicle insurance law where                     aircraft".
                     it is licensed or principally                         This exclusion does not apply to:
                     garaged; or                                             a. The use of another's advertising
              (ii)   The operation of any of the                                idea in your "advertisement"; or
                     machinery or equipment listed in                        b. Infringing upon another's copyright,
                     Paragraph f.(2) or f.(3) of the                            trade dress or slogan in your
                     definition of "mobile equipment".                          "advertisement".
2. The following exclusion is added to Exclusions                   C. The following definition is added to the
   Item p. - Personal And Advertising Injury:                          Definitions section:
  This insurance does not apply to:                                     "Unmanned aircraft" means an aircraft that is
    14) Unmanned Aircraft                                               not:
         "Personal and advertising injury" arising                      1. Designed;
         out of the ownership, maintenance, use or                      2. Manufactured; or
         entrustment to others of any aircraft that is
         an "unmanned aircraft". Use includes                           3. Modified after manufacture;
         operation and "loading or unloading".                       to be controlled directly by a person from within
                                                                     or on the aircraft.




                                                                                         Exhibit C 000102



Page 2 of 2                              © Insurance Services Offices, Inc., 2015.                  TBP2109 (12-15)
                                                                                           BUSINESSOWNERS
                                                                                               GSP611 (05-15)

                    SOCIETY INSURANCE, a mutual company
               ILLINOIS GRO-SURE EXTENSION ENDORSEMENT
SUBJECT TO ALL TERMS AND CONDITIONS (INCLUDING DEDUCTIBLE) APPLICABLE TO THE
BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM AND THE BUSINESSOWNERS LIABILITY
COVERAGE FORM OF THIS POLICY, COVERAGE IS EXTENDED TO INCLUDE THE FOLLOWING.

A. Crime                                                   F.Outdoor Property
   The following Optional Coverages and limits are             The most we will pay under Coverage Extension
   included:                                                   A.6.c., Outdoor Property, is increased to $20,000
     G.2.a. Money and Securities      $5,000 Limit             at each described premises, unless a higher limit
                                                               is shown in the Declarations.
     G.2.b. Money Orders and
                                                           G. Pollutant Clean Up And Removal
            Counterfeit Money         $5,000 Limit
                                                               The most we will pay under Additional Coverages
     G.2.c. Forgery and Alteration $5,000 Limit
                                                               Extension A.5.j., Pollutant Clean Up And Removal, is
     G.2.d. Extortion                 $5,000 Limit             increased to $50,000 at each described premises.
     G.2.e. Computer Fraud            $5,000 Limit         H. Broadened Building Coverage
     G.2.f. Funds Transfer Fraud      $5,000 Limit             The following is added to Paragraph A.1.a.,
                                                               Covered Property, Buildings:
   unless a higher limit is shown in the Declarations.
                                                                        7) Canopies, fuel tanks, pumps and their
B. Employee Dishonesty                                                     contents whether or not attached to
                                                                           the building.
   Optional Coverage G.3., Employee Dishonesty, is
   included for the limit of $50,000, unless a higher      I. Personal Property of Others
   limit is shown in the Declarations.                         1. Coverage
C. Fine Arts                                                      We will pay those sums that you become
   You may extend the insurance that applies to                   legally obligated to pay as damages because
   Business Personal Property to apply to your fine               of direct physical loss or damage, including
   arts and fine arts in your care, custody or control            loss of use, to Covered Property caused by
   at the described premises. Special Form                        accident and arising out of any Covered Cause
   Coverage limitation A.4.b. does not apply to this              of Loss. We will have the right and duty to
   Extension.
                                                                  a. The amount we will pay for damages is
   Fine arts as used in this endorsement means
                                                                     limited as described in Limit of Insurance
   property having rare, historic or artistic value.
                                                                     section;
   The most we will pay under this Extension is                   b. We may investigate and settle any claim or
   $10,000 but not more than $500 any one item.
D. Accounts Receivable                                            c. Our right and duty to defend end when
   The most we will pay under Coverage Extension                     we have used up the Limit of Insurance
   A.6.g., Accounts Receivable is increased to                       in the payment of judgments or
   $20,000 at each described premises, unless a                      settlements.
   higher limit is shown in the Declarations.                  2. Covered Property
E. Valuable Papers and Records                                    Covered Property, as used in this Coverage
                                                                  Extension, means tangible property of others,
   The most we will pay under Coverage Extension                  including personal effects of guests, customers
   A.6.f., Valuable Papers and Records - Cost of                  and employees, in your care, custody or
   Research, is increased to $20,000 at each                      control.
   described premises, unless a higher limit is shown
   in the Declarations.

                                                                                     Exhibit C 000103



GSP611 (05-15)                           © Society Insurance, Inc., 2015.                               Page 1 of 2
   3. Additional     Coverage      -   Supplementary               a. The event is away from the premises owned
      Payments                                                        or controlled by you.
                                                                   b. The majority of the participants representing
      we defend:                                                      you are not your employees.
      a. All expenses we incur.                                    c. There is no charge other than for charitable
      b. The cost of bonds to release attachments,                    purposes.
         but only for bond amounts within our Limit            2. Special Events
         of Insurance. We do not have to furnish                  43424
         these bonds.
                                                                  Exhibitions - no stadiums or grandstands -
      c. All reasonable expenses incurred by you                  events not to exceed 14 days held on or off
         at our request, including actual loss of                 premises owned or controlled by you for
         earnings up to $100 a day because of time                purposes related to the operation of your
         off from work.                                           business.
      d.
                                                               The following endorsements also apply to this
      e. Prejudgment interest awarded against you              ILLINOIS GRO-SURE Extension Endorsement:
         on that part of the judgment we pay. If we
         make an offer to pay the Limit of                     1. Product Spoilage
         Insurance, we will not pay any                           Unless a higher Limit of Insurance is
         prejudgment interest based on that period                purchased for an additional premium, the Limit
         of time after the offer.                                 of Insurance shown in the Schedule of the
                                                                  Product Spoilage endorsement is the limit
      f.   All interest on the full amount of any
           judgment that accrues after entry of the               provided by this extension endorsement or the
                                                                  Limit of Insurance for Business Personal
           judgment and before we have paid, offered
                                                                  Property, whichever is less.
           to pay, or deposited in court the part of the
           judgment that is within our Limit of                    a.
           Insurance.
                                                                        types of property:
  4. Limit of Insurance
                                                                         1) Vehicles, trailers and temporary
      The most we will pay in damages as the result
                                                                            structures located at the described
      of any one accident is $10,000.
                                                                            premises; and
      Payments under the Additional Coverage are
      in addition to the Limit of Insurance.                             2) Designed to provide a controlled
                                                                            temperature environment.
  5. Definition
                                                                   b. Property Definitions H.12., definition of
             includes an arbitration proceeding to
      which you must submit or submit with our
      consent.                                                           1) Maintained      under      controlled
                                                                            temperature or humidity conditions for
J. Products Recall Expense                                                  preservation; and
   We will pay up to $5,000 to cover expenses you                        2) Susceptible to loss or damage if the
   may incur if your product or merchandise is                              controlled temperature or humidity
   withdrawn or recalled from the market or from use                        conditions change.
   by governmental authority because of a known or                 c. The most we will pay in damages as the
   suspected defect, deficiency, inadequacy or                        result of any one accident is $25,000.
   dangerous condition in it.
                                                                  This endorsement does not amend or alter the
K. THE FOLLOWING CODES APPLY TO                                   coverage or limits provided in the endorsements
   BUSINESSOWNERS LIABILITY COVERAGE                              shown above.
   FOR
   1. Sponsored Athletic Events
      40059
      Athletic games sponsored,          managed     or
      supervised by you providing:
                                                                                      Exhibit C 000104



Page 2 of 2                              © Society Insurance, Inc., 2015.                        GSP611 (05-15)
                                                                           BUSINESSOWNERS LIABILITY
                                                                                  TBP440 (08-17)


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           ASBESTOS                  EXCLUSION

This endorsement modifies insurance provided under the following:

       BUSINESSOWNERS LIABILITY COVERAGE FORM

The following exclusion is added to paragraph B., Exclusions 1. Applicable To Business Liability
Coverage and Exclusion 1. p. Personal And Advertising Injury:

This insurance does not apply to:


1.                                       or             2. Any loss, cost or expense arising out of,
                                    arising out         in whole or in part, by any:
of, in whole or in part by the actual, alleged
or threatened:                                                      a. Request, demand, order or
                                                                       statutory or regulatory
            a. Inhalation of, ingestion of or                          requirement that any insured
               physical exposure to                                    or others test for, monitor,
               asbestos;                                               clean up, remove, contain,
            b. Use of asbestos in                                      treat, detoxify or neutralize,
               construction or manufacture                             or in any way respond to, or
               of any goods, products or                               assess the effects of
               structures;                                             asbestos; or
            c. Removal of asbestos from                             b. Claim or suit by or on behalf
               any goods, products or                                  of a governmental authority
               structures;                                             for damages because of
            d. Manufacture, sale, transport,                           testing for, monitoring,
               storage or disposal of                                  cleaning up, removing,
               asbestos;                                               containing, treating,
            e. Discharge, dispersal,                                   detoxifying or neutralizing, or
               seepage, migration, release                             in any way responding to or
               or escape of asbestos.                                  assessing the effects of
                                                                       asbestos.


Definition
silicate but, also, any material, good, product or structure of which it is a part.




                                                                               Exhibit C 000105


TBP440 (08-17)                © Society Insurance, Inc., 2017                              Page 1 of 1
KEEP THIS NOTICE WITH YOUR INSURANCE PAPERS
This notice is to advise you that should any complaints arise
regarding this insurance, you may contact the following:

                   Society Insurance, a mutual company
                               PO BOX 1029
                    Fond du Lac Wisconsin 54936-1029
                 920-922-1220 or Toll Free: 1-888-576-2438

If you are not satisfied with the results you receive, Part 919 of
the Rules of the Illinois Department of Insurance requires that
our company advise you that, if you wish to take this matter up
with the Illinois Department of Insurance, it maintains a
Consumer Division at the following two addresses:

122 S Michigan Ave                        320 West Washington St
19th Floor                                Springfield Illinois 62767
Chicago Illinois 60603


You may also contact them at the following website:
http://insurance.illinois.gov/ or at the following phone numbers:
312-814-2420, 217-782-4515 or toll-free: 1-866-445-5364.



Notice 08/16IL



                                                        Exhibit C 000106
                                                                                                        IL N 175 11 11

                  ILLINOIS NOTICE TO POLICYHOLDERS
                  REGARDING THE RELIGIOUS FREEDOM
                    PROTECTION AND CIVIL UNION ACT
Dear Policyholder:


This is to provide notice that, pursuant to Illinois Department of Insurance Company Bulletin 2011-06 (CB 2011-
06), this policy is in compliance with the Illinois Religious Freedom Protection and Civil Union Act ("the Act", 750
ILL. COMP. STAT. 75/1). The Act, which became effective on June 1, 2011, creates a legal relationship between
two persons of either the same or opposite sex who establish a civil union.


The Act provides that parties to a civil union are entitled to the same legal obligations, responsibilities, protections
and benefits that are afforded or recognized by the law of Illinois to spouses, whether they are derived from
statute, administrative rule, policy, common law or any source of civil or criminal law. In addition, this law requires
recognition of a same-sex civil union, marriage, or other substantially similar legal relationship, except for
common law marriage, legally entered into in other jurisdictions. The Act further provides that "party to a civil
union" shall be included in any definition or use of the terms "spouse", "family", "immediate family", "dependent",
"next of kin" and other terms descriptive of spousal relationships as those terms are used throughout the law.
According to CB 2011-06, this includes the terms "marriage" or "married" or any variations thereof. CB 2011-06
also states that if policies of insurance provide coverage for children, the children of civil unions must also be
provided coverage.




                                                                                         Exhibit C 000107



IL N 175 11 11                         © Insurance Services Office, Inc., 2011                             Page 1 of 1
